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AUG 17 2020



Message to all SGA
Student Organizations o
20192020



                                   o3

                                                                                 USA00091 5
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     we addressed earlier the Executive
Board       will   not sanction                any SGA Student
Organizations              StuOrg until we resume
safe   in   person learning and when                                    it   is   100
for large gatherings to continue                                    However            i




a   StuOrg wants                to    be virtually active

throughout the semester that                                   is   a decision

the StuOrg           will     have        to    make for itself
Since sanctioning                    will     be not be

happening you are not bound by SGA
rules and          procedures

                                      Wi


                                                                                           USA00091 6
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   S   Thursday StuOrgs will have                                 a   chance

  advertise and interact with incoming

students at a        Zoom meet and greet                                  If
                                                                               your

StuOrg    is   interested please email

Dr Freda Gipp fgippihaskelledu




                                  3 0      3


                                                                                      USA00091 7
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  BUREAU OF INDIAN AFFAIRS MANUAL                                                                 62 BIAM 86

                      EDUCATION
  POST SECONDARY APPENDIX FOR BIE STUDENT BANKS




         IPOST SECONDARY WITHDRAWAL                             REQUESTS

  A withdrawal request    a form that a club organization or committee can pick up at the
                                is


  Student Bank for the purpose of withdrawing funds from their account   Each withdrawal
  is   numbered and can be used for either a cash withdrawal or check                   withdrawal or both     If

  more than one check          is   requested attach another      sheet of paper and list   all   additional

  checks needed



  All withdrawals require            TWO signatures One signature           is   the sponsor and the other

  signature is an authorized signer per the signature card or plan of operations                     Campus
                        will require two      authorized signers per their signature     card
  organizations




  If   your club organization or committee fills             out a withdrawal      request for a check   the

  check    will   be available the NEXT business day Invoices                should accompany        these

  requests



  If   a check    is   being requested for reimbursement purposes the receipts must accompany
  the withdrawal         request     Reimbursements are done by check             ONLY

  Purchases should          NOT be made prior to requesting a withdrawal form from the Student
  Bank The proper procedure              is   to   get the withdrawal   request for funds and then if those
  funds are exceeded a reimbursement will be deemed necessary



  IMPORTANT

  ANY WITHDRAWAL   REQUEST THAT HAS NOT BEEN CLEARED WITHIN 30
  DAYS WILL CAUSE THE CLUB ORGANIZATION OR COMMITIEE ACCOUNT
  TO BE SUSPENDED AND NO ACTIVITY WILL BE ALLOWED
  NO EXCEPTIONS if




                                                                                                                    USA00091 8
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 BUREAU OF INDIAN AFFAIRS MANUAL                                                                 e BIAM 86
                      EDUCATION
 POST SECONDARY APPENDIX FOR BIB STUDENT                                    BANKS

        J Post Secondary Receipts


 When a withdrawal is made from a club organization or committee account                               the person

 that   signs for the cash or checks         will   be held accountable     for supplying       the

 receiptsinvoices that prove      the funds were used for the purpose                intended   as stated on the
 withdrawal     request    The date and purchased items on the receipts                MUST correspond
 with the information on the withdrawal              request



 If there   are several   receipts they   MUST be neatly taped onto a sheet of paper to ensure
 proper verification       The bank   will NOT accept them otherwise If receipts are lost the
 person that signed the withdrawal request will be held accountable                     for either obtaining               ii

 another    receipt   or paying the cash to clear the withdrawal             NO HANDWRITTEN
 RECEIPTS WIT              BE ACCEPTED


 Receiptsinvoices should equal the amount withdrawn from the account                            If    the

 receiptsinvoices       equal less than is stated on the withdrawal request then the remaining
 cash needs to be deposited back into the club organization or committee account                            If the


 receiptsinvoices       equal more than stated on the withdrawal                 the club organization or

 committee can request another         withdrawal         for a reimbursement




 All receipts presented to the Student Bank               must be for the purpose       stated on the

 withdrawal request       ie if a gas receipt       is   presented and it   is   not listed as the purpose for

 the use of the funds then this receipt will             NOT be accepted




                                                                                                                     USA000919
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Re      Indian            Leader Funding


Byington Steve                    K <stevebyingtonBIEEDU>

Tue 10272020               1035   AM

To     Prue    Stephen         C <stephenprueBIEEDU>

Jeri   says they have              access to their funding           but   no   payroll   has been      submitted since the

sumnner



Steve     Byington

Finance Specialist

Haskell       Indian Nations                 University

Office        7858302780                     Fax 7858302760

stevebyingtonbieedu




From Byington                  Steve       K <stevebyingtonBIEEDU>

Sent Tuesday October 27 2020 1032 AM

To Prue Stephen                  C <stephenprueBIEEDU>

Subject        Re Indian Leader Funding



Jeri   and     I   are separating             the $35 Activity     Fee this semester       so the funding        will    be transferred

into their         account             I
                                           am not aware of any restrictions to their account                I   will    check   with Jeri to

see    when         the    last   batch       of checks     was written    for their   writers   They are not sanctioned              this

semester because                  SGA decided             against sanctioning    any groups      this   semester



Steve     Byington

Finance Specialist

Haskell       Indian Nations                 University

Office        7858302780                     Fax   7858302760
stevebyingtonbieedu




From Prue Stephen                  C <stephenprueBIEEDU>

Sent Tuesday October 27 2020 1027 AM

To Byington Steve                 K <stevebyingtonBIEEDU>


Subject       Indian       Leader Funding




Steve



Please    update               me on the Indian Leaders funding                 Are they sanctioned        and funded           The

article   in       the    LJ   World indicates they are not funded




                                                                                                                                         USA000920
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    Fw Indian Leader                             Payroll       and Financial Document                       Request

    Steven             Byington            <sbyingtonHASKELLedu>
Thu 20210401                    324 PM

To            Byington       Steve    K   <stevebyingtonBIEEDU>                     Melanie Daniel    <mdanielHASKELLedu>



          1    attachments      262 KB

    ILA       Fall   2020 Expense         Report   pdf



Attached                is   the last withdrawal                  request      from Indian Leader for            Fall   2020




    From Jared Nally <jarednallyHASKELLedu>
Sent             Friday January             8 2021 1244 PM
To jerisleddbieedu <jerisleddbieedu>                                                Jeri   Sledd <jsleddFIASKELLedu>

Cc Ronald Graham <rgraharnHASKELLedu>                                                 Rhonda    Levaldo    <rlevaldoHASKELLedu>                 Steven      Byington

<sbyingtonHASKELLedu>                                      Mona   Franklin      <monafranklinbieedu>

Subject                Indian    Leader Payroll and               Financial     Document        Request




aya Jed



    Ive attached                the       Indian          Leader Associations              pay roil to   this   email Please     let    me know        if   I
                                                                                                                                                                need   to

    provide            anything           else   to       have our writers and photographers paid for their work                               for   the    fall   semester



Several               times this semester                    September 3rd September                      10th and October          19th       Ive   attempted to

engage you and the student                                    bank to receive              balance statements of the           Indian        Leader Associations

student                bank     account               I
                                                          am attempting             again to ask you to please provide                 all   past statements           for   our

account                for    last
                                      year 2020 This                 is   crucial   information      for the     planning   of Indian          leader Association

activities




    I   would          also   like    to affirm whether or not                      HINU     approved      and acknowledged              the    Indian      Leader

Associations                    Plan of Operations sent to you on September                                     3rd



I

        appreciate            your cooperation                  in   assisting       the Indian      Leader Association        in   their financial             operations



Jared Nally Editor In Chief



Get Outlook for iOS




                                                                                                                                                                        USA000921
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            Re Indian           Leader Payroll and                    Financial       Document Request

    Jeri           Sledd     <jsleddHASKELLedu>
        Mon 1112021              209     PM

    To            Jared Nally   <jarednallyHASKELLedu>                 jerisleddbieedu          <jerisleddbieedu>
        Cc        Ronald   Graham       <rgrahamHASKELLedu>                 Rhonda    Levaldo   <rlevaldoHASKELLedu>                  Steven       Byington

            <sbyingtonHASKELLedu>                 Mona   Franklin      <monafranklinbieedu>



    0         1   attachments         595 KB

        ILA 2020       statement0001pdf



    Jared



        I   have received your request                   for checks         to cut for the ILA staff        I   will   just   need to have both you and
        Rhonda          concur to the withdrawal of funds so that                          I   can attach the email to a withdrawal                            slip   in   lieu of


    signatures



    I       have      also   attached         your 2020 statement of account                     Please   let   me know         if    you have questions


    I       am on campus daily now and                     I   will   read the plan of operations and forward                              them to the appropriate
    signers Once                  it   has been    signed       I   will   forward you a copy



    Let           me know        if
                                       you need further assistance


    Jeri          Sledd

    Haskell            Indian Nations           University

    7857498435
    Student             Bank



    From Jared Nally ciarednallyHASKELLedu>
    Sent            Friday January         8 2021 644 PM
    To jerisleddbleedu <jerisleddbieedu> Jeri Sledd <jsleddHASKELLedu>
    Cc Ronald              Graham <rgrahamHASKELLedu>                           Rhonda     Levaldo    <rlevaldoHASKELLedu>                          Steven Byington

    <sbyingtonHASKELLedu>                           Mona       Franklin     <monafranklinbieedu>

    Subject            Indian         Leader Payroll and       Financial    Document       Request




    aya Jeri



    Ive attached                the      Indian   Leader Associations pay roll                   to this email Please                let    me know       if    I   need to

    provide            anything          else to have      our writers and photographers paid for their work for the                                           fall   semester



Several                times this semester           September 3rd September                         10th and October                  19th Ive attempted to

engage you and the student                               bank to receive             balance statements of the Indian                            Leader Associations

student                bank accountI               am attempting              again to ask you to please provide                           all   past statements            for   our

account for last year 2020 This                                is   crucial   information for the          planning           of Indian            leader Association

activities




I           would also          like    to affirm whether or not               HINU approved          and acknowledged                       the    Indian     Leader

Associations                     Plan of Operations             sent to
                                                                              you on September            3rd




                                                                                                                                                                           USA000922
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11121      at   13145345                                                                                                           Page   1



                                                                           Student Bank
                                                                          Vendor Ledgers
                                             For the PeHod                From Jan 1 2020 to Dec 31 2020
Filter   Criteria   includes   1 IDs 23258 Report    order is   by   ID


 Vendor ID                            Date          Trans No                Type   Paid    Debit   Amt   Credit   Amt    Balance
 Vendor


 23258                                1120          Balance     Fwd                                                      560171
 INDIAN LEADER ASSOC                  2620          053006                  CDJ                7000                      553171
                                      22120         0417347                 CRJ                               3000       656171
                                      22420         68432                   CDJ               10020                      546151
                                      22420         68433                   CDJ               14500                      531651
                                      22420         68434                   CDJ                6650                      525001
                                      22420         68435                   CDJ               34320                      490681
                                      22420         68436                   CDJ                5000                      485681
                                      22420         68437                   CDJ                5500                      480181
                                      22420         68438                   CDJ                2950                      477231
                                      22420         68439                   CDJ                2110                      475121
                                      22420         68440                   CDJ               39848                      435273
                                      22420         72JDSTRF224             CRJ                            353167        788440
                                      22620         053027                  CDJ               10000                      778440
                                      22820         0417384                 CRJ                                   2647   781087
                                      3420          053033                  CDJ                8000                      773087
                                      3520          68579                   CDJ                4000                      769087
                                      3520          68580                   CDJ               19270                      749817
                                      3520          68581                   CDJ                9770                      740047
                                      3520          68582                   Ca                15450                      724597
                                      3520          68583                   CDJ               16690                      707907
                                      3520          68584                   CDJ                9560                      698347
                                      3520          68585                   CDJ                4480                      693867
                                      3520          68586                   CDJ                6370                      687497
                                      31020         0417418                 CRJ                                   1564   689061
                                      52620         68928                   CDJ                 500                      688561
                                      52620         68929                   CDJ                5440                      683121
                                      52620         68930                   CDJ                6230                      676891
                                      52620         68931                   CDJ               19210                      657681
                                       52620        68932                   CDJ              28640                       629041
                                       52620        68933                   CDJ               5000                       624041
                                       52620        68934                   CDJ               5000                       619041
                                       52620        68935                   CDJ               2710                       616331
                                       52620        68936                   CDJ                 500                      615831
                                       52620        68937                   CDJ                9530                      606301
                                       52620        68938                   CDJ             147244                       459057
                                       72420        68982                   CDJ               11250                      447807
                                       72420        68983                   CDJ               34020                      413787
                                       72420        68984                   CDJ               13710                      400077
                                       72420        68985                   CDJ                8170                      391907
                                       72420        68986                   CDJ                3220                      388687
                                       72420        68987                   CDJ                2450                      386237
                                       72420        68988                   CDJ                5700                      380637
                                       72420        68989                   CDJ               33810                      346727
                                       72420        68990                   CDJ                6600                      340127
                                       72420        68991                   CDJ                5000                      335127
                                       72420        68992                   Clif               6000                      330127
                                       72420        68993                   CDJ                3760                      326367
                                       72420        68994                   CDJ                3730                      322637
                                       72420        68996                   CDJ                3690                      318947
                                       73120        69004                   CDJ               43000                      275947
                                       8720         T2JDSTRF080             CRJ                             452600       728547
                                       102920       T2JDSTRF102             CRJ                               65334      793881


  Report Total                                                                               644602         878312       793881




                                                                                                                            U SA000923
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q      Reply   all               11    Delete            Junk     Block




Fail   2020          Pell   Grant Activity Fees




                                                                                                                          6                       >
           Byington           Steve K
 BK
                                        AM
                                                                                                                                        4
           Tue       322021     1151

           To        Graham Ronald J Franklin          Mona


           There was $7280                total   Activity    Fees collected   from   Pell   Grant   in   Fall   2020 so the Indian Leader   Recreation
           and Student Senate                 will   each receive $242667         This will    likely     be completed    this   week




           Steve Byington

           Finance Specialist




           Bureau of Indian Education
           Haskell          Indian Nations      University

           155 Indian          Ave

           Lawrence           KS 66046
           Office       785 8302780
           Fax 785 8302760


           Website wwwhaskelledu




           Reply               Reply    all          Forward




                                                                                                                                               USA000924
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<k   Reply all              Delete
                           ED       J Junk Block


Re Plan of Operation                Haskell       Indian Leader



          Bureau of Indian Education
          US Department of the Interior
          1849 C Street NW MIB3610

          Washington       DC 20240
          Cell   Phone    571 7327004

          Website wwwbieedu
          Facebook       BureauotindianEducation
          Twitter BureanIndianEdu




          From Franklin Mona <monafranklinBIEEDU>
          Sent Tuesday March            2 2021 452 PM
          To Jensen      Klarissa   L   <KLARISSAJENSENBIEEDU>

          Subject Plan of Operation          Haskell   Indian      Leader



          Klarissa



          Iam not sure this will be of any assistance                    to
                                                                              you but I have   included   the newspaper        Indian Leader plan
          of operation for the Haskell Bank

          The allegations       of Haskell    withholding          10K of course      are inaccurate



          The reimbursable          money    is   deposited as payments of fees activity             fees are made throughout          the academic

          year to the Indian Leader account              It   is   not a onetime      deposit Please      let   me know   if
                                                                                                                               you need any
          additional     information from us Thanks                for   your assistance


          Mona      R Franklin MSM
          Special Assistant to the President



          Bureau of Indian Education

          Haskell    Indian Nations University

          Lawrence     KS 66046
          Office    785 8326644
          Cell   785 7660039
          Fax 785 7498411



          Website wwwhaskelledu

          Facebetok      HaskellUniversity

          Twitter     HaskellUniversity




          Reply          Forward




                                                                                                                                              USA000925
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FALL 2020 EXPENSE REPORT                                                  1




               Fall 2020 Indian Leader Association       Expense Report




                                Jared   E Nally Editor

                        Jayde   Lanham    SecretaryTreasurer




                           The Indian Leader Association



                         Haskell Indian Nations University



                            155 Indian Ave    Box 4999


                                Lawrence KS 66046




                                                                              U SA000926
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FALL 2020 EXPENSE REPORT                                                                                        2




       The following are the fall 2020 semester expenses           for the    Indian Leader Association




ending on December       31 2020   Applicable    receipts   and invoices     are   included in the appendix




                                          Fall   2020 Expenses



Item Description                                                           Qty              Rate          Total




Arquette   Zachary



   Arficle    New Mural Honors Wetlands                                    938             $010         $9380



   Photography         New Mural Honors Wetlands                              3               $5              $15



                                                                                            Total      $10880



Banks Tyran


   Video Interviews with Haskell         Student                           12                $15          $750



                                                                                            Total         $750


Begay Delilah


   Video     HINU      Online Learning                                     13                $15               $5



                                                                                            Total              $5



Bointy Kayla



   Distribution Manager Pay                                                   1              $50              $50



   Article   Graduating HINU       Student                                 485             $010         $4850



                                                                                            Total       $9850


Chickaway     Shayla



   Video     HINU Online Learning                                          13                $15               $5



                                                                                           Total               $5




                                                                                                                    U SA000927
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FALL 2020 EXPENSE REPORT                                                        3




Lanham   Jayde



   SecretaryTreasurer         Pay                             1     $50       $50



   Article Student      Responses to Presidential           320   $010      $3200


                                                                   Total   $8200



MacDonald      Connor



   Assistant Editor Pay                                       1     $50       $50


   Reimbursement Monthly Adobe License           Appendix     3   $3149    $9447


                                                                   Total   $14447


Manygoats     Alexander



   Video Interviews       with Haskell    Student           12      $15     $750


                                                                   Total    $750




Nally Jared



   Editor Pay                                                 1     $50       $50



   Article    Study Body President Steps     Down           203   $010     $2030


   Article    Member     of the Haskell   Family            113   $010     $1130


   Article Curtis Worker Nia        Schexnider              120   $010     $1200



   Article    Change    the   Mascot                        208   $010     $2080



   Article    KC Football Honoree                           217   $010     $2170


   Article Veterans      Day Celebration                    191   $010     $1910



   Article    The Indian Leader Wins                        110   $010     $1100



   Article    6th   Grader Seeks    Help                    396   $010     $3960




                                                                                    U SA000928
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FALL 2020 EXPENSE REPORT                                                            4




   Article Its Not Just      $475                         763         $010      $7630


   Article Native Author         to   Release             270         $010      $2700


   Article Haskell Altunni Involved             in        207         $010      $2070


   Article    President Supports           Athletic       288         $010      $2880


   Article    New Leadership          in   Womens         259         $010      $2590


   Article Haskell Instructor          Honored            301         $010      $3010


   Article Native       Themed    Sports     Mascots      414         $010      $4140



   Photography        KC Football Honoree                   3            $5       $15



   Photography        Veterans Day Celebration              3            $5       $15



   Photography        President Supports       Athletic     1            $5        $5



   Photography        Haskell   Instructor     Honored      2            $5       $10



   Video     KC Football Honoree                            1           $15       $15



                                                                      Total      $519


Sloan Makayla


   Article Quarantine       Creations                     519         $010      $5190



                                                                      Total     $5190



Walters   Christian




   Video     HINU     Online Learning                     13            $15        $5



                                                                      Total        $5



                                                                Grand Total   $103467




                                                                                        U SA000929
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FALL 2020 EXPENSE REPORT                                               5




                                Appendix




                                                                           U SA000930
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                                                                 INVOICE

                                                                                                                               Reprint                               Page   1   of   1



                           Adobe   Inc
                                                                                                                               Invoice      Number        1220905622
                           345 Park Ave
                           San Jose      CA 95110                                                                                           Date         JUL0320
     F471
                                                                                                                               Invoice


                                                                                                                               Payment Terms             Credit   Card



     Adobe                                                                                                                     Due     Date              JUL1020

                                                                                                                               Purchase         Order    ADD051216981


                                                                                                                               Contract       No         00004400


                                                                                                                               Order       Number        7016866901

                                                                                                                               Order       Data          JUL0320

                                                                                                                               Customer         No       1452233

              Bill   To                                                                                                        Bill   to   No            1209578935

             Connor       MacDonald
                                                                                                                               Adobe Contact           Information
             6646W KINSINGTON              AVE
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             AK 996839832




                      Material   NoI Description                                                                                                              fictendedprice
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Cornments




                                                                                                                                                                            USA000931
                    Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 18 of 215

                                                                  INVOICE

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                          Adobe   Inc
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                          345   Park   Ave
                          San Jose      CA 95110                                                                                  Invoice      Date         AUG0320

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    Adobe                                                                                                                         Due Date                  AUG1020

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                                                                                                                                  Order Number              7016866901

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            Bill   To                                                                                                             Bill    to   No           1209578935
           Connor MacDonald
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           AK 996839832




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Comments




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                                                                INVOICE

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                        Adobe   Inc
                                                                                                                              Invoice     Number        1253404678
                        845 Park Ave
                        San Jose      CA 95110                                                                                Invoice     Date         SEP0320

                                                                                                                              Payment       Terms      Credit   Card



    Adobe                                                                                                                     Due Date                 SEP1020

                                                                                                                              Purchase         Order   ADD051216981

                                                                                                                              Contract      No         00004490


                                                                                                                              Order Number             7016866901

                                                                                                                              Order Date               JUL0320

                                                                                                                              Customer         No      1452233

           Bill   To                                                                                                          Bill   to   No           1209578935

           Connor      MacDonald
                                                                                                                              Adobe       Contact    Information
           6646W KINSINGTON AVE
                                                                                                                              httpsheIpxadobecomcontacthtml
           AK 996839832




                                                     7411VZirMPVNe
                             No Description                                                                    Unit   Price                                 Extended      Price




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                    InDesign ALL      MLP DSP    Ret Inv   01   mnth MUN   1   MO DSP




                                                       iI9741ZIKMAKIMIVTItral
 NorthAlneFicP

                                                                                             S     H   Sales   Tax      Currency          Qty Shipped       Invoice    Total

                                                                                                 000           000              USD                     1              3149


Comments




                                                                                                                                                                          U SA000933
            Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 20 of 215




   kSKELL INDIANUNIVERSITY
         NT BANK SffY I
        ENT CLUB ACCifir

Tbe Student     B     must havc             ertt   signature card on file to crldoet



it441Gont   information will he   gi   zi   ONLY to the sfgners listed hkw       Sign     Prtnt Nati



NAME OF STUDENT CLI1



                     NSOR                                                          SPONSOR




                                                                                       REASUIC




                                                                                                       U SA000934
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             HASKELL INDIAN NATIONS UNIVERSITY
             POLICIES AND PROCEDURES FOR


                         STUDENT BANK

                  HOURS SUBJECT TO CHANGE


                        900AM400PM




                                                                         U SA000935
Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 22 of 215




                               PURPOsg


 The Student Bank         shall provide   for the deposit and withdrawal          of

personal and group funds



 Students shall be encouraged        to   open and maintain       personal

accounts    in the   Student   Bank for the purposes of learning how to
use bank services and safekeeping           of personal funds        Students

who may have personal funds in sufficient amount to warrant it
shall   be encouraged to transfer their accounts            to a bank   off campus



All group funds derived from class projects student associations

or other types of group activities        shall   be deposited and expended

through the school        bank These organizations          shall be subject to

the official   supervision of the official        in   charge of the school or a
designated     official   ie sponsor



All clubs organizations         committees and enterprise accounts           shall

be under the official      supervision of the officer in charge of the

school




                                                                                       U SA000936
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                          PLAN OF OPERATIONS

 A plan of operations is required for ALL organizations that have
 an account      at the   Student   Bank   Every   TWO years your
 organization will be responsible for submitting              a new plan of

 operations unless changes          are made    In this case a new plan of

 operations     is   due immediately



 A Plan of operations shall be written and approved by members of
 each organization          This plan shall state the title    the   purpose
membership eligibility          and requirements and     details of operations

 such as election of officers schedule of meetings               fundraising   and

production       activities   exact use of funds or product and the

 accounting      system The plan must include provisions              for payment

 of withdrawals       that are outstanding after the    duly elected     officers

have   left    school     Provision shall also be made for and audit of the

 clubs account       if the sponsorship    changes   during the school year



 The plan of operations once          finalized will then need to be

 approved and signed by the following


 STUDENT CLUBS                                     CAMPUS
 ORGANIZATIONS
University President                               University President
Chief of Finance                                   Chief of Finance

Student       Senate President                     linmediate Supervisor



The Student Bank reserves            the right to request a new plan of

operations      at   any given time




Note A plan of operations                  shall not be required of a

school group which organizes temporarily to raise funds

by means of one project




                                                                                     U SA000937
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                                 SIGNATURE CARDS

 All clubs organizations and committees must have a signature card on file

 at the Student     Bank before any business can be conducted       A student club
 will have four officers       and two sponsors    A Campus
 OrganizationCommittee           will   need to have the minimumrequirement of

 three signers



 If a member resigns a copy of
                               any letters of resignation must be turned into
 the Student      Bank    If any other changes   occur such as adding a member
 deleting a member or changing the organization          name or closing the
 account    then a new signature card needs to be signed and meeting minutes

 must be provided        stating the   new information


 A new signature card will be submitted every school year regardless of
 changes or no changes


 Only the signers on this card will be given account        information with the
 exception of the official      in charge requesting a balance



 The   official   in charge   of the school has the authority to be the second signer

 on a withdrawal request in an emergency           Exsponsors     are out of town




                                                                                        U SA000938
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                              SPONSOR$

 The sponsorsponsors         shall be responsible for conducting       the

 activities   in conformance       with the plan of operations but     shall

require the students to carry out the operation          The

 sponsorsponsors         shall not   be required to handle or account     for

 activity   funds but should give adequate        instructions   and

 supervision for proper handling and accounting           of funds by the

 designated    student    officers



The sponsorsponsors of a club should be a school employee

However       the official   in   charge of the school has the authority     to

designate a non employee to be a sponsor as long as it            is   stated in

writing and submitted to the Student           Bank




                                                                                   U SA000939
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                        MEETING MINUTES


All Student clubs must provide meeting minutes when presenting a

bank withdrawal request     They should be neatly typed    contain the

names of member present     at the   meeting and outline the
unanimous authorization of funds from the clubs account




                                                                         U SA000940
Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 27 of 215




                      V4ITJjDRAWAL                REQUIE31FS



 A withdrawal request          is   a form that a club organization or

 committee can pick up at the Student               Bank for the purpose of
 withdrawing funds from their account                 Each withdrawal         is


 numbered and can be used for either a cash withdrawal                      or check

 withdrawal or both       If    more than one cheek            is   requested attach
 another sheet of paper and list          all   additional     checks    needed


All withdrawals require             TWO signatures            One signature   is   the

 sponsor and the other signature           is   an authorized signer per the

 signature card or plan of operations              Campus organizations will
require   two authorized signers per their signature card


 If your club organization           or committee     fills    out a withdrawal

request for a check       the check      will be available the          NEXT business
 day   Invoices should     accompany            these requests



 If a check   is   being requested for reimbursement purposes the

receipts must accompany              the withdrawal     request         Reimbursements

 are done by check      ONLY

Purchases should       NOT be made prior to requesting a withdrawal
 form from the Student         Bank The proper procedure is to get the
withdrawal request for funds and then                if those       funds are exceeded

 a reimbursement will be deemed necessary



IMPORTANT

ANY WITHDRAWAL REQUEST THAT HAS NOT BEEN
CLEARED WITHIN 30 DAYS WILL CAUSE THE CLUB
ORGANIZATION OR COMMITTEE ACCOUNT TO BE
SUSPENDED AND NO ACTIVITY WILL BE ALLOWED
NO EXCEPTIONS




                                                                                         USA000941
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                               RECEILSf



When a withdrawal         is   made from a club     organization or

committee account the person that signs             for the   cash or checks

will   be held accountable        for   supplying the receiptsinvoices       that


prove the funds were used for the purpose intended                  as stated on the

withdrawal request         The date and purchased       items on the receipts

MUST correspond with the information on the withdrawal                      request


If there are several             MUST be neatly taped onto a
                         receipts they

sheet of paper to ensure proper verification The bank will NOT

accept    them otherwise         If receipts are lost the person that signed

the withdrawal       request will be held accountable         for either

obtaining another receipt or paying the cash to clear the

withdrawal          NO HANDWRITTEN               RECEIPTS WILL BE
ACCEPTED

Receiptsinvoices        should equal the amount withdrawn from the
account        If the receiptsinvoices      equal less than   is   stated on the

withdrawal       request then the remaining cash needs to be deposited
back     into the   club organization or committee account If the

receiptsinvoices       equal    more than stated on the withdrawal          the

club organization or committee can request another withdrawal                       for

a reimbursement



All receipts presented         to the   Student Bank must be for the purpose

stated on the withdrawal request            ie if a gas receipt is presented
and it   is   not listed as the purpose for the use of the funds then this

receipt will     NOT be accepted




                                                                                          U SA000942
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                                1EbDfENLG


                         must be approved by the clubs
 All fundraising activities

 membership and so stated in the minutes All of the proceeds from
 the fundraising     activity   must be deposited       into the    club

 organization or committees account              at the Student      Bank as soon
 as possible




 The student    activities   authorized     by their approved       plans of

 operation to conduct        entertainments      concerts    athletic   events etc
 shall charge out    pre numbered admission tickets            issued in

numerical sequence          to the   individuals designated        to sell tickets

 Season   tickets   shall   be serially numbered and a record kept of all

 sales    Total proceeds        of such   activities   including    those acquired

 as profits   from enterprise activities       such as sporting events          shall

be deposited as received by the treasurer of the association                  or by

 other individuals    authorized to make deposits




                                                                                        U SA000943
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                              DES SITS


 The    Student   Bank will   fill   out the pre numbered deposit slips for

 ALL clubs organizations and committees Make sure that
 whoever    is   presenting the deposit has counted           the deposit items

 and is aware of how      much is being deposited             The bank     will retain

 the original white copy and the duplicate yellow copy will be

 returned to the club organization or committee for their records



 Any funds being deposited            into the   Student   Bank must have a
 credit   reason    This means the source in which the funds came

 from Extaco sale donation etcThis                     information will be

 documented       on the deposit      slip for audit   and referral purposes


 The    Student   Bank does NOT accept            personal checks        If a club

 organization      or committee accepts          personal checks       and said check

 is   returned as unpaid for any reason the club organization or

 committee will be charged for the amount of the check                    and any fee

 associated with the transaction           The check       will then   be returned to
 the club for collection



 If   you have    an abundance       of coin that will be deposited the club

 organization      or committee will be responsible for rolling the coin

 in the
          proper increments The bank has coin wrappers available




                                                                                        U SA000944
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                            usIALILLEAccIluALrs


Accounts which do not reflect any activity        for   a period of one year

are considered   inactive   and the funds will be transferred upon

approval of the official    in   charge of the school   to   an activity

account



The exception to this rule would be if the approved plan of

operations for said club organization or committee has stated

contrary provisions




                                                                               U SA000945
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             MONTHLY BANK STATEMENTS

  Statements will be sent to the sponsor and their respective

  managers each      month The managers     will be responsible for

  reviewing club bark statements     in   which   their employees    are

  sponsors andor signers



  Managers   will be responsible for periodically reviewing

  withdrawals   to   maintain accountability   of their respective

  department


  A statement will be available upon request at any time


             CREDIT LINES ARE PROHIBITED




                                                                           U SA000946
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                               ENTERPRISE ACCOUNTS

Enterprise accounts         must follow     all   policiesprocedures       set forth   by the Student
Bank The day to day management                    of any enterprise     account   shall   be under the
direction of the official       in charge   of the school or a designated          official    Care shall

be taken      to ensure that   such enterprises do not interfere with the designated                  mission
of the school the education         program          Each program shall comply with applicable
health and safety standards



It   is   the responsibility of the person in charge of the enterprise account                to provide

monthly operations          statements to the Chief of Finance             These reports will be

reviewed then retained in the appropriate file                in the   Student   Bank


Monthly credit card receipts will be turned into the Student Bank                        for credit




Cash drawers        will   be dual controlled      at the   end of each business day and a balance

sheet will be submitted with the daily deposit to the Student                     Bank


An inventory tracking log must be maintained to reflect all inventory received
Inventory balances         must be performed monthly and confirmed                 via inspection       Two
signatures      ARE required to maintain integrity of internal controls




                               CREDIT LINES ARE PROHIBITED




                                                                                                U SA000947
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                         PERSONAL STUDENT ACCOUNTS




All students are encouraged             to    open and maintain an account with the
Student       Bank


A signature card is required to open an account                  The purpose of the
signature      card   is to   have the information needed to contact a student of

monies not claimed at the end of each school year                   Immediate and

aggressive      action   shall   be taken to locate the depositor and forward the

balance of the account            For amounts         of $100 or less one attempt     shall    be

made to locate the depositor             If the depositor is not located        the account

may be closed by transferring the balance to the general student                    activity

fund subject to claim and payment any time requested by the student                         For

amounts of more than             $100   locator action      shall be actively   pursued for a
reasonable period in relation to the                amount after which    the balances of

such accounts         may be disposed of in the same manner as those of less
than a $100           Payment of all    claims from individual depositors against

this   fund    shall be subject    to approval of the official      in   charge of the
school



There    is   no minimum balance             to   open an account This is your money that
the Student      Bank is responsible for safekeeping There are NO fees
minimum balance           or   ATM cards You can take your account to a zero
balance       and it will remain open for deposits and withdrawals throughout

the school year



You will receive monthly statements and you can request a statement                       at

any time


NOTE The Student Bank does NOT accept personal checks




                                                                                                U SA000948
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                     EXHIBIT 16




                                                                         U SA000949
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                               United              States           Department of the Interior
                                                             BUREAU OF INDIAN EDUCATION
                                            HASKELL INDIAN NATIONS UNIVERSITY
                                                                   Office     of the President
          9737wCY
                                                             Lawrence Kansas                660464800
                                                   Phone          7857498497              Fax 7857498411

MEMORANDUM

To                      Beverly          Fortner       President Haskell                 Student Senate

                        Brenda Sehildt                Acting        Vice President          for University         Services



Cc                      Steve Byington                Finance

                                                                                    r

From                    Dr Venida Chenault

PresidentSubject        Student          Fee Distribution Proposal



Date                    November            7 2014

After conducting           a   review        of the distribution             of the student          fee revenue     it   is   being proposed         that a   change   be

made in the distribution of student                         activity       fees    Currently these funds            are distributed to          Student    Activities     and

the       Indian Leader Association



It   is   recommended          that      student    fees also       be used to properly support student governance                             and leadership by

ensuring the Haskell                 Student      Senate and         its   sanctioned Clubs and Organizations benefit from the student

activity      fees as well as Student                Activities        and the Indian Leader Association



This       memo provides direction for the distribution                             of Student        Fees collected           each semester and changes that

would be required              to    implement        this recommendation                   Student fees are to be used to support student                       activities

that      enrich and enhance              student    life    at    Haskell        These funds would be issued to Student                       Senate    13      Student

Activities          13 and Indian Leader Association                              Currently Student Activities                  receives     23 Indian Leader
Association           13 and Student           Senate receives              zero


The Bursars Office                  is   responsible for the collection                  of student     activity    fees       with monthly disbursements               of fees

collected       throughout          the    year     The amount             distributed     is   based on total student                enrollment     and the student

              fee     Based on           a sample    enrollment            of 750 students per semester and the fee of $3500
activity                                                                                                                                                per student this
would        total   $52500         annually



Upon a favorable vote                    of the Student       Senate this proposal would be implemented and changes would be made

effective Spring 2015




The change would               result in      fee revenue           being divided          equally between          Student       Senate      the Indian Leader

Association          and Student           Activities        The revenue           amounts       will
                                                                                                        vary each semester
                                                                                                                           based on the number of

enrolled       students    and fees collected



This change           in distribution will           provide        needed resources            to   support    student        governance       as   represented    by the
Student       Senate and the clubs                and organizations that comprise the Senate                              It   will    be the responsibility of the

Student       Senate to develop             processes         to   properly administer the funds requesting funds                             and awarding funds and

ensuring these funds                 enhance the experiences                 of all Haskell          students      These processes            are required      and must be

in   place    in order to       implement           this    change

                                                                                        18842014
                                                     Celebrating       130   Years of Indian Education         and Resilience




                                                                                                                                                                    U SA000950
                          Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 37 of 215
<i Reply       all             ED   Delete          Junk    Block




Student Senate                 message




                                     HINU Student Government Association
                                     August          171   2020 at 315 PM          447t




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                                        11pdH                       ell

           Since canctionmg                  will   be not be

           happening                you are not bound         by SGA
           rules and            procedures

                                             2 of                                              3 of




                                     HINU Student Government Association
                                     Auaust 17             2020      it   256 AM
                                                                                                                   USA000951
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Re      Indian            Leader Funding


Byington Steve                    K <stevebyingtonBIEEDU>

Tue 10272020               1035   AM

To     Prue    Stephen         C <stephenprueBIEEDU>

Jeri   says they have              access to their funding           but   no   payroll   has been      submitted since the

sumnner



Steve     Byington

Finance Specialist

Haskell       Indian Nations                 University

Office        7858302780                     Fax 7858302760

stevebyingtonbieedu




From Byington                  Steve       K <stevebyingtonBIEEDU>

Sent Tuesday October 27 2020 1032 AM

To Prue Stephen                  C <stephenprueBIEEDU>

Subject        Re Indian Leader Funding



Jeri   and     I   are separating             the $35 Activity     Fee this semester       so the funding        will    be transferred

into their         account             I
                                           am not aware of any restrictions to their account                I   will    check   with Jeri to

see    when         the    last   batch       of checks     was written    for their   writers   They are not sanctioned              this

semester because                  SGA decided             against sanctioning    any groups      this   semester



Steve     Byington

Finance Specialist

Haskell       Indian Nations                 University

Office        7858302780                     Fax   7858302760
stevebyingtonbieedu




From Prue Stephen                  C <stephenprueBIEEDU>

Sent Tuesday October 27 2020 1027 AM

To Byington Steve                 K <stevebyingtonBIEEDU>


Subject       Indian       Leader Funding




Steve



Please    update               me on the Indian Leaders funding                 Are they sanctioned        and funded           The

article   in       the    LJ   World indicates they are not funded




                                                                                                                                         USA000952
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httpswww21jworldcomnewsgeneralnews2020oct26haskellpresidentwarns
studenteditoragainstattacksthreatensdisciplinegroupsdenounceactionasfirst

amendmentviolation




                                                                Haskell            president warns student

                                                                editor against attacks                                 threatens

                                                                discipline groups                           denounce

                                                                action           as      First     Amendment
                                                                violation


                                                                The   editor       in    chief   of   the student newspaper           at

                                                                Haskell         Indian    Nations       University            the
                                                                                                                       says

                                                                university        president        is
                                                                                                        threatening     his   First


                                                                Amendment               rights    and teaching         Native

                                                                American scholars                that    they dont have voices



                                                                www21jworldcom




Stephen Prue

Special   Assistant

Haskell     Indian    Nations    University




Our Mission at Haskell Indian Nations University                      is   to   build    the   leadership   capacity   of our students     by

serving   as the    leading   institution of academic excellence           cultural      and    intellectual   prominence and holistic
education    that    addresses   the   needs   of Indigenous   communities




                                                                                                                                                USA000953
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    Fw Indian Leader                             Payroll       and Financial Document                       Request

    Steven             Byington            <sbyingtonHASKELLedu>
Thu 20210401                    324 PM

To            Byington       Steve    K   <stevebyingtonBIEEDU>                     Melanie Daniel    <mdanielHASKELLedu>



          1    attachments      262 KB

    ILA       Fall   2020 Expense         Report   pdf



Attached                is   the last withdrawal                  request      from Indian Leader for            Fall   2020




    From Jared Nally <jarednallyHASKELLedu>
Sent             Friday January             8 2021 1244 PM
To jerisleddbieedu <jerisleddbieedu>                                                Jeri   Sledd <jsleddFIASKELLedu>

Cc Ronald Graham <rgraharnHASKELLedu>                                                 Rhonda    Levaldo    <rlevaldoHASKELLedu>                 Steven      Byington

<sbyingtonHASKELLedu>                                      Mona   Franklin      <monafranklinbieedu>

Subject                Indian    Leader Payroll and               Financial     Document        Request




aya Jed



    Ive attached                the       Indian          Leader Associations              pay roil to   this   email Please     let    me know        if   I
                                                                                                                                                                need   to

    provide            anything           else   to       have our writers and photographers paid for their work                               for   the    fall   semester



Several               times this semester                    September 3rd September                      10th and October          19th       Ive   attempted to

engage you and the student                                    bank to receive              balance statements of the           Indian        Leader Associations

student                bank     account               I
                                                          am attempting             again to ask you to please provide                 all   past statements           for   our

account                for    last
                                      year 2020 This                 is   crucial   information      for the     planning   of Indian          leader Association

activities




    I   would          also   like    to affirm whether or not                      HINU     approved      and acknowledged              the    Indian      Leader

Associations                    Plan of Operations sent to you on September                                     3rd



I

        appreciate            your cooperation                  in   assisting       the Indian      Leader Association        in   their financial             operations



Jared Nally Editor In Chief



Get Outlook for iOS




                                                                                                                                                                        USA000954
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FALL 2020 EXPENSE REPORT                                                  1




               Fall 2020 Indian Leader Association       Expense Report




                                Jared   E Nally Editor

                        Jayde   Lanham    SecretaryTreasurer




                           The Indian Leader Association



                         Haskell Indian Nations University



                            155 Indian Ave    Box 4999


                                Lawrence KS 66046




                                                                              U SA000955
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FALL 2020 EXPENSE REPORT                                                                                        2




       The following are the fall 2020 semester expenses           for the    Indian Leader Association




ending on December       31 2020   Applicable    receipts   and invoices     are   included in the appendix




                                          Fall   2020 Expenses



Item Description                                                           Qty              Rate          Total




Arquette   Zachary



   Arficle    New Mural Honors Wetlands                                    938             $010         $9380



   Photography         New Mural Honors Wetlands                              3               $5              $15



                                                                                            Total      $10880



Banks Tyran


   Video Interviews with Haskell         Student                           12                $15          $750



                                                                                            Total         $750


Begay Delilah


   Video     HINU      Online Learning                                     13                $15               $5



                                                                                            Total              $5



Bointy Kayla



   Distribution Manager Pay                                                   1              $50              $50



   Article   Graduating HINU       Student                                 485             $010         $4850



                                                                                            Total       $9850


Chickaway     Shayla



   Video     HINU Online Learning                                          13                $15               $5



                                                                                           Total               $5




                                                                                                                    U SA000956
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FALL 2020 EXPENSE REPORT                                                        3




Lanham   Jayde



   SecretaryTreasurer         Pay                             1     $50       $50



   Article Student      Responses to Presidential           320   $010      $3200


                                                                   Total   $8200



MacDonald      Connor



   Assistant Editor Pay                                       1     $50       $50


   Reimbursement Monthly Adobe License           Appendix     3   $3149    $9447


                                                                   Total   $14447


Manygoats     Alexander



   Video Interviews       with Haskell    Student           12      $15     $750


                                                                   Total    $750




Nally Jared



   Editor Pay                                                 1     $50       $50



   Article    Study Body President Steps     Down           203   $010     $2030


   Article    Member     of the Haskell   Family            113   $010     $1130


   Article Curtis Worker Nia        Schexnider              120   $010     $1200



   Article    Change    the   Mascot                        208   $010     $2080



   Article    KC Football Honoree                           217   $010     $2170


   Article Veterans      Day Celebration                    191   $010     $1910



   Article    The Indian Leader Wins                        110   $010     $1100



   Article    6th   Grader Seeks    Help                    396   $010     $3960




                                                                                    U SA000957
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FALL 2020 EXPENSE REPORT                                                            4




   Article Its Not Just      $475                         763         $010      $7630


   Article Native Author         to   Release             270         $010      $2700


   Article Haskell Altunni Involved             in        207         $010      $2070


   Article    President Supports           Athletic       288         $010      $2880


   Article    New Leadership          in   Womens         259         $010      $2590


   Article Haskell Instructor          Honored            301         $010      $3010


   Article Native       Themed    Sports     Mascots      414         $010      $4140



   Photography        KC Football Honoree                   3            $5       $15



   Photography        Veterans Day Celebration              3            $5       $15



   Photography        President Supports       Athletic     1            $5        $5



   Photography        Haskell   Instructor     Honored      2            $5       $10



   Video     KC Football Honoree                            1           $15       $15



                                                                      Total      $519


Sloan Makayla


   Article Quarantine       Creations                     519         $010      $5190



                                                                      Total     $5190



Walters   Christian




   Video     HINU     Online Learning                     13            $15        $5



                                                                      Total        $5



                                                                Grand Total   $103467




                                                                                        U SA000958
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FALL 2020 EXPENSE REPORT                                               5




                                Appendix




                                                                           U SA000959
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                                                                 INVOICE

                                                                                                                               Reprint                               Page   1   of   1



                           Adobe   Inc
                                                                                                                               Invoice      Number        1220905622
                           345 Park Ave
                           San Jose      CA 95110                                                                                           Date         JUL0320
     F471
                                                                                                                               Invoice


                                                                                                                               Payment Terms             Credit   Card



     Adobe                                                                                                                     Due     Date              JUL1020

                                                                                                                               Purchase         Order    ADD051216981


                                                                                                                               Contract       No         00004400


                                                                                                                               Order       Number        7016866901

                                                                                                                               Order       Data          JUL0320

                                                                                                                               Customer         No       1452233

              Bill   To                                                                                                        Bill   to   No            1209578935

              Connor      MacDonald
                                                                                                                               Adobe Contact           Information

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                                                                  INVOICE

                                                                                                                                   Reprint                              Page   1   of   1



                          Adobe   Inc
                                                                                                                                  Invoice       Number       1236658011
                          345   Park   Ave
                          San Jose      CA 95110                                                                                  Invoice      Date         AUG0320

                                                                                                                                  Payment       Terms       CredIt Card



    Adobe                                                                                                                         Due Date                  AUG1020

                                                                                                                                  Purchase          Order   ADD051216981

                                                                                                                                  Contract      No          00004490


                                                                                                                                  Order Number              7016866901

                                                                                                                                  Order Date                JUL0320

                                                                                                                                  Customer          No       1452233

            Bill   To                                                                                                             Bill    to   No           1209578935
           Connor MacDonald
                                                                                                                                  Adobe Contact           Information

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                    MaterialoDescription                                                   10141                     UnitPrice                                   Extended      Price




  000010      66183268                                                                      EA                             3149                       1                     3149

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                                                                                                       000           000                USD                  1              3149


Comments




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                                                                INVOICE

                                                                                                                              Reprint                              Page   1   of   1



                        Adobe   Inc
                                                                                                                              Invoice     Number        1253404678
                        845 Park Ave
                        San Jose      CA 95110                                                                                Invoice     Date         SEP0320

                                                                                                                              Payment       Terms      Credit   Card



    Adobe                                                                                                                     Due Date                 SEP1020

                                                                                                                              Purchase         Order   ADD051216981

                                                                                                                              Contract      No         00004490


                                                                                                                              Order Number             7016866901

                                                                                                                              Order Date               JUL0320

                                                                                                                              Customer         No      1452233

           Bill   To                                                                                                          Bill   to   No           1209578935

           Connor      MacDonald
                                                                                                                              Adobe       Contact    Information

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                                                     7411VZirMPVNe
                             No Description                                                                    Unit   Price                                 Extended      Price




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Comments




                                                                                                                                                                          U SA000962
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            Re Indian           Leader Payroll and                    Financial       Document Request

    Jeri           Sledd     <jsleddHASKELLedu>
        Mon 1112021              209     PM

    To            Jared Nally   <jarednallyHASKELLedu>                 jerisleddbieedu          <jerisleddbieedu>
        Cc        Ronald   Graham       <rgrahamHASKELLedu>                 Rhonda    Levaldo   <rlevaldoHASKELLedu>                  Steven       Byington

            <sbyingtonHASKELLedu>                 Mona   Franklin      <monafranklinbieedu>



    0         1   attachments         595 KB

        ILA 2020       statement0001pdf



    Jared



        I   have received your request                   for checks         to cut for the ILA staff        I   will   just   need to have both you and
        Rhonda          concur to the withdrawal of funds so that                          I   can attach the email to a withdrawal                            slip   in   lieu of


    signatures



    I       have      also   attached         your 2020 statement of account                     Please   let   me know         if    you have questions


    I       am on campus daily now and                     I   will   read the plan of operations and forward                              them to the appropriate
    signers Once                  it   has been    signed       I   will   forward you a copy



    Let           me know        if
                                       you need further assistance


    Jeri          Sledd

    Haskell            Indian Nations           University

    7857498435
    Student             Bank



    From Jared Nally ciarednallyHASKELLedu>
    Sent            Friday January         8 2021 644 PM
    To jerisleddbleedu <jerisleddbieedu> Jeri Sledd <jsleddHASKELLedu>
    Cc Ronald              Graham <rgrahamHASKELLedu>                           Rhonda     Levaldo    <rlevaldoHASKELLedu>                          Steven Byington

    <sbyingtonHASKELLedu>                           Mona       Franklin     <monafranklinbieedu>

    Subject            Indian         Leader Payroll and       Financial    Document       Request




    aya Jeri



    Ive attached                the      Indian   Leader Associations pay roll                   to this email Please                let    me know       if    I   need to

    provide            anything          else to have      our writers and photographers paid for their work for the                                           fall   semester



Several                times this semester           September 3rd September                         10th and October                  19th Ive attempted to

engage you and the student                               bank to receive             balance statements of the Indian                            Leader Associations

student                bank accountI               am attempting              again to ask you to please provide                           all   past statements            for   our

account for last year 2020 This                                is   crucial   information for the          planning           of Indian            leader Association

activities




I           would also          like    to affirm whether or not               HINU approved          and acknowledged                       the    Indian     Leader

Associations                     Plan of Operations             sent to
                                                                              you on September            3rd




                                                                                                                                                                           USA000963
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11121      at   13145345                                                                                                           Page   1



                                                                           Student Bank
                                                                          Vendor Ledgers
                                             For the PeHod                From Jan 1 2020 to Dec 31 2020
Filter   Criteria   includes   1 IDs 23258 Report    order is   by   ID


 Vendor ID                            Date          Trans No                Type   Paid    Debit   Amt   Credit   Amt    Balance
 Vendor


 23258                                1120          Balance     Fwd                                                      560171
 INDIAN LEADER ASSOC                  2620          053006                  CDJ                7000                      553171
                                      22120         0417347                 CRJ                               3000       656171
                                      22420         68432                   CDJ               10020                      546151
                                      22420         68433                   CDJ               14500                      531651
                                      22420         68434                   CDJ                6650                      525001
                                      22420         68435                   CDJ               34320                      490681
                                      22420         68436                   CDJ                5000                      485681
                                      22420         68437                   CDJ                5500                      480181
                                      22420         68438                   CDJ                2950                      477231
                                      22420         68439                   CDJ                2110                      475121
                                      22420         68440                   CDJ               39848                      435273
                                      22420         72JDSTRF224             CRJ                            353167        788440
                                      22620         053027                  CDJ               10000                      778440
                                      22820         0417384                 CRJ                                   2647   781087
                                      3420          053033                  CDJ                8000                      773087
                                      3520          68579                   CDJ                4000                      769087
                                      3520          68580                   CDJ               19270                      749817
                                      3520          68581                   CDJ                9770                      740047
                                      3520          68582                   Ca                15450                      724597
                                      3520          68583                   CDJ               16690                      707907
                                      3520          68584                   CDJ                9560                      698347
                                      3520          68585                   CDJ                4480                      693867
                                      3520          68586                   CDJ                6370                      687497
                                      31020         0417418                 CRJ                                   1564   689061
                                      52620         68928                   CDJ                 500                      688561
                                      52620         68929                   CDJ                5440                      683121
                                      52620         68930                   CDJ                6230                      676891
                                      52620         68931                   CDJ               19210                      657681
                                       52620        68932                   CDJ              28640                       629041
                                       52620        68933                   CDJ               5000                       624041
                                       52620        68934                   CDJ               5000                       619041
                                       52620        68935                   CDJ               2710                       616331
                                       52620        68936                   CDJ                 500                      615831
                                       52620        68937                   CDJ                9530                      606301
                                       52620        68938                   CDJ             147244                       459057
                                       72420        68982                   CDJ               11250                      447807
                                       72420        68983                   CDJ               34020                      413787
                                       72420        68984                   CDJ               13710                      400077
                                       72420        68985                   CDJ                8170                      391907
                                       72420        68986                   CDJ                3220                      388687
                                       72420        68987                   CDJ                2450                      386237
                                       72420        68988                   CDJ                5700                      380637
                                       72420        68989                   CDJ               33810                      346727
                                       72420        68990                   CDJ                6600                      340127
                                       72420        68991                   CDJ                5000                      335127
                                       72420        68992                   Clif               6000                      330127
                                       72420        68993                   CDJ                3760                      326367
                                       72420        68994                   CDJ                3730                      322637
                                       72420        68996                   CDJ                3690                      318947
                                       73120        69004                   CDJ               43000                      275947
                                       8720         T2JDSTRF080             CRJ                             452600       728547
                                       102920       T2JDSTRF102             CRJ                               65334      793881


  Report Total                                                                               644602         878312       793881




                                                                                                                            U SA000964
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Fail   2020          Pell   Grant Activity Fees




                                                                                                                          6                       >
           Byington           Steve K
 BK
                                        AM
                                                                                                                                        4
           Tue       322021     1151

           To        Graham Ronald J Franklin          Mona


           There was $7280                total   Activity    Fees collected   from   Pell   Grant   in   Fall   2020 so the Indian Leader   Recreation
           and Student Senate                 will   each receive $242667         This will    likely     be completed    this   week




           Steve Byington

           Finance Specialist




           Bureau of Indian Education
           Haskell          Indian Nations      University

           155 Indian          Ave

           Lawrence           KS 66046
           Office       785 8302780
           Fax 785 8302760


           Website wwwhaskelledu




           Reply               Reply    all          Forward




                                                                                                                                               USA000965
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Fw EXTERNAL Re Sanctioned Clubs


     0   You forwarded             this   message on Tue 392021      412 PM




                                                                                                                6
                              Steve K
                                                                                                                                         >
         Byington
 RIC
         Wed 332021                1118    AM
                                                                                                                             t
         To        Frankfin    Mona



                         clubspdf

                         2    MB




         Steve Byington

         Finance         Specialist




         Bureau of Indian Education

         Haskell        Indian Nations            University

         155 Indian           Ave

         Lawrence            KS         66046

         Office
                      785 8302780
         Fax 785 8302760


         Website wwwhaskelledu




         From Jeri Sledd <jsleddHASKELLedu>
         Sent Wednesday                    March 3 2021 1030 AM

         To Byington Steve                  K <steyebyingtonBIEEDU>

         Subject         EXTERNAL Re Sanctioned                  Clubs




                      This email has been received                   from outside of DOI          Use caution before   clicking   on links

                                                                 opening    attachments or responding




         Not the Student                  Bank      but Student    Senate   does   Please   see attached



         Jeri




         From Byington Steve                    K   <stevebyingtonBIEEDU>

         Sent Tuesday March                     2 2021 1132 PM
         To Jeri Sledd <jsledclHASKELLedu>

         Subject        Fwd Sanctioned               Clubs




                                                                                                                                       USA000966
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              0404

                                   Haskell Indian Nations University

             W
                         Guidelines for Registration of Clubs                                Organizations


General Statement

        All clubs and organizations at Haskell                 Indian Nations University are required tO register with

the Haskell      Student     Senate     Registration     provides    for   official   recognition as a group use of University

facilities    and services      and the coordination        and communication of the groups                    activities   with the


campus       administration       and other student groups



Classification

        The                   types of organizations are eligible
                 following                                                    to register    with Haskell      Indian Nations


University through         the Haskell Student          Senate



    1   Residential     Halls organized living groups            and their associations
    2   Academic
                       groups related to academic           discipline     or interest of the University

    3   Re4gious groups           affiliated   with or promoting religion religious beliefs or lack thereof

    4   Common Interest groups formed                  for social interaction to promote or relate to a defined                  interest




Responsibilities of Student                 Clubs       Organizations
        Each     student group        must adhere to the following which                is   taken    from Section   IV of the Haskell
Student Senate         Constitution



    1 Must have          a fulltime Haskell Indian          Nations University Staff or Faculty as SponsorAdvisor

    2   Must submit an Organizational                  Registration Application
                                                                                        and Plan of Operations by the

        deadline       to the Student       Senate   for approval

    3   Must appoint one            1 Senator and one 1             Alternate     who are in Good Academic                  and Social

        Standing to attend           meetings of the Student            Senate

    4   Report major changes             of their Plan of Operations to the Haskell                  Student    Senate Changes must

        be written and documented                in a new version of the Plan of Operations



Duties of Student          Senate      Representatives
Each Senator must adhere              to the following       which is taken       from Section I Article        G of the Haskell
Student Senate Constitution



    1   Represent       their
                                group is aware of opinions and ideas prevalent                   to   their respective       organization

        and votes       accordingly

    2   Serve     on   at least   one committee per semester and               stay
                                                                                      with that committee          they have    chosen

        for the remainder of their              term
    3   Relay information to their groups                so that they may be informed                and aware of important        details


        given     at the Haskell      Student     Senate   meetings
    4   Present a verbal presentation and written report of their group to the Haskell Student Senate

        on a monthly basis

    5   Follow and abide by all other obligations and                    duties as    detailed in the Constitution            of the

        Student      Senate




Organization      Recognition      Packet      201420151 HINU       Student    Senate




                                                                                                                                   USA000967
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  ole of a SponsorAdvisor

           All sponsorsadvisors               must provide          constructive     leadership         to their student        group in addition
to requirements            regarding                                                  This                   is   required    to
                                        organizational responsibilities                          person


      1    Attend     as   many cluborganization Meetings                     as   possible in accordance               with each organizations

           plan of operations          constitution or bylaws whichever                      may apply
      2    Have knowledge            regarding operational procedures banking                           policies     and federal ethics

      3    Ensure the Senate           Representative        of the cluborganization                   is   attending   Haskell     Student    Senate


           meetings        to strengthen      the communication              between      all   clubs



The       Registration Process
Student ClubsOrganizations must register once each academic           Haskell                                                  Indian Nations

                                                      5
                                                            year with

University Student            Senate    Steps     1        need to be completed by the designated deadline                           date Any

applications    that are received             after this   date without        prior approval will be referred to the General

Assembly of Haskell Student                   Senate    for a sanctioning          vote



      1     Recruit at least 10 members to
                                           your group hold a meeting
                                                                                                        and elect officers

      2 Have        the    SponsorAdvisor and Senate                    Representative          fill   out the Organizational Registration

           Application
      3    Complete the Signature               Sheet

      4    Register with the Haskell              Student Bank          and submit a copy of the Organizational Registration

           Application        with Plan of Operations attached

      5 Submit a completed and updated Organizational Registration Application with Plan of
           Operations attached            to the      Student       Senate   Office in Stidham              Union


The       Haskell Student Senate               Executive            Board will review the registration                   materials and

determine


      1    If the group       is   eligible   to register with Haskell             Indian Nations University

      2    The groups request for classification                category
      3 The responsibility             for verification      of membership rests with the student group and its

           sponsoradvisor
      4    When      a student      cluborganization is granted                official    recognition            sanctioned       they will   receive

           notice    in writing delivered             to the organizations           President Senate Representative                   and

           Alternate Senate                                at their     respective     addresses            as listed in the Organization
                                     Representative

                              Packet and the date of the first General Assembly meeting                                      that their Senate
           Recognition

           Representative          will be required to attend

      5    Denial will be issued in writing



                                                             about registration                        should     submit a petition in writing
      Groups wishing to appeal                a decision                                  status


                  why they deem their group should be sanctioned to the
                                                                         Haskell Student Senate
stating    reasons

Executive     Board The petition will be presented to the General Assembly on their next meeting date
and brought to a vote              A twothitds         23       majority vote of the General Assembly is required to

reverse the decision




Organization        Recognition      Packet 20142015            I
                                                                    HINU Student Senate                                                                  2




                                                                                                                                               usAnnnqRR
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Re Plan of Operation                Haskell       Indian Leader



          Bureau of Indian Education
          US Department of the Interior
          1849 C Street NW MIB3610

          Washington       DC 20240
          Cell   Phone    571 7327004

          Website wwwbieedu
          Facebook       BureauotindianEducation
          Twitter BureanIndianEdu




          From Franklin Mona <monafranklinBIEEDU>
          Sent Tuesday March            2 2021 452 PM
          To Jensen      Klarissa   L   <KLARISSAJENSENBIEEDU>

          Subject Plan of Operation          Haskell   Indian      Leader



          Klarissa



          Iam not sure this will be of any assistance                    to
                                                                              you but I have   included   the newspaper        Indian Leader plan
          of operation for the Haskell Bank

          The allegations       of Haskell    withholding          10K of course      are inaccurate



          The reimbursable          money    is   deposited as payments of fees activity             fees are made throughout          the academic

          year to the Indian Leader account              It   is   not a onetime      deposit Please      let   me know   if
                                                                                                                               you need any
          additional     information from us Thanks                for   your assistance


          Mona      R Franklin MSM
          Special Assistant to the President



          Bureau of Indian Education

          Haskell    Indian Nations University

          Lawrence     KS 66046
          Office    785 8326644
          Cell   785 7660039
          Fax 785 7498411



          Website wwwhaskelledu

          Facebetok      HaskellUniversity

          Twitter     HaskellUniversity




          Reply          Forward




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                                                                                                                               777       r




                                               Haskell Indian Nations University

                                                   Indian Leader Association




         Purpose

         The purpose of the Indian Leader Association                          is   to   provide   a media outlet to     serve the

         Haskell Indian Nations University                       campus and the local community by connecting
         mainstream or local news and cultural                       issues   across Indian Country to the Haskell

         campus and community The Indian Leader the                                 oldest   Native American         Student

         newspaper      is   an independent          student       media outlet of Haskell Indian Nations University

         and will    also    serve the student body by communicating                          important information that

         impacts student       academics          and campus         life




         The Indian Leader will produce                    a minimum          5     issues   per semester unless authorized by

         the Indian Leader Association Executive Board consisting of consensus ruling and

         authorized by the Indian Leader Association                          Advisor


         The Indian Leader Association                    is   published by the students           of Haskell Indian Nations

         University The newspaper                 exercises        their   individual     rights   to free   speech and freedom of

         the press guaranteed             by the First         Amendment       Rights have been expressly recognized as

         rights which        individual students enjoy               who attend Bureau of Indian Affairs                school     in

         Part 42 of Title 25 of the Code                  of Federal Regulations             Students    Rights and Due Process

         Procedures 25        CFR 423 e f 1998 These basic rights have also been reaffirmed in
         Part II of the Code            of Student    Rights and Responsibilities               of Haskell Indian Nations

         University    1998

         Goals

         The goals of the Indian Leader Association                         will    be to seek the    truth   and report the facts

         for the   betterment of Haskell             Indian Nations University and its                 students      The Indian

         Leader Association             will   initiate    ethical   standards       while reporting on issues related to the

         student    body of Haskell Indian Nations University


         The Indian Leader Association                    will    welcome     all   interested students       that   would   like to


         participate



         The main goal        is   to   promote Native American                issues      and provide an outlet for those

         stories to be      told and to provide the Haskell Indian Nations University with accurate

         reporting    while maintaining             awareness of Journalism ethics and standards



III      Faculty Advisor

         One or more faculty advisors may be appointed                               by Haskell Indian Nations University to
         assist students      in the publication               of The Indian Leader



             The    faculty    advisor may freely advise and instruct student                         editors   and   reporters in the

             subject    of jouirialism and relevant professional                         standards   comment and        critique   the

             product of student journalists and offer fiscal and technological guidance                                   to the




                                                                                                                                             USA000970
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                                                                                                                                              4




           Indian Leader Association                 The advisor may provide what assistance needed                              to


           produce        the Indian Leader newspaper



           A faculty advisor may make non binding recommendations to the student                                               editors

           which the student              editors   may    in their     sole      discretion take into consideration              in    the

           free    exercise     of the independent          editorial        judgment Although               a faculty     advisor of the

           Chapter may freely offer advice                  or assistance to the student                   members of the Chapter

           neither the faculty            advisor nor other Haskell                officer    or employee has the right to

           censor modify            in any    way    the   content      the       Association produces



IV         Newsroom          Polley

           The publication           titled   The Indian Leader Newsroom                           and Management Guidelines

           will    be policy for The Indian Leader newspaper                            The Indian Leader operates               in the

           same capacity            as a business therefore             everyone        will    be accountable        for   following

           regulations        and procedures



           The Indian Leader Association receives                        13 of the Student                Activity Fee and divided

           among other groups Student                  Activities        13 and Campus Activities                    Association       13
           The     financial    backing       of the Association             is   kept within the Haskell            Student    Bank and
           must follow banking procedures                    of the institution              The organization must follow

           banking policies under the supervision of the Haskell Student                                     Bank The monetary

           budget        must reflect only with supplies events newspapers magazines                                       or a direct cost

           of the Indian Leader Association and not a subsidiary group or division                                          The money

           set forth      toward the Association will be authorized for withdrawal                                  under the

           supervision of the Haskell               banking staff



           The Indian Leader Association                   is   also   under the Haskell            NAJA Native American
           Journalists       Association Student Chapter                     The Haskell           NAJA Student Chapter allows
           each branch         to   use   money obtained for the chapter for supplies related to each
           identified       field Indian Leader     print Haskell News videomultimedia


           The Indian Leader Association                   will   allow its         active   members with the use of

           equipment          cameras voice          recorders         etc    However         if   the   student   does not return the

           property of the Indian Leader Association                          then the penalty amount                value of the

           equipment will be charged                 to the     students          account     via the Haskell Business Office

           with the approval of the Indian Leader Association                                advisors


           There     will   be no misuse of the equipment which                         is   the sole     property of the Indian
           Leader Association               under the supervision                 of the Indian Leader Executive Board If

           there    is   a discrepancy of misusing equipment or the mistreatment of a fellow member

           then the student          breaking the procedures                 of the Association            will   revoke    hisher

           membership with the authority of the Editor and Assistant Editor only and                                             will   be

           asked not to participate the rest of the fiscal                         academic        year




                                                                                                                                                  USA000971
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      If   an Indian Leader Association Executive Officer does not follow the procedures                                      of

      the   Association          then   a majority      vote of the active          members will take place

      nominated by the Advisor only


      Editor    In Chief
      Requirements               must be in good academicsocial                standing with at least two semesters

      of Indian Leader experience



      Duties
                Direct and supervise              all   Indian Leader functions

                Sets   semester         deadlines       with faculty       advisor

                Schedules          and conducts         weekly     staff   meetings

                Does chief reads on all copy before web and                           print   publication

                Checks       stories for legal          and ethical concerns


                Administration of The Indian Leader webpage


                Prepares layout


                Prepares final          copy and distributes          to   Assistant Editor and one

                other Executive Officer                 for proofing


                Sends final copy to printer

                Reviews          and approves payroll

                Represents          The Indian Leader on campus and                    in the   community


      The Editor will also be President                  of the Haskell       NAJA Student          Chapter The Editor

      may not vote         during business          meetings and will only vote during a tie breaker



      Assistant Editor

      Duties

                Supports          the Editor in all      Indian Leader functions

               Does        2nd   reads on   all   copy before web and print publication
                Assists Editor with The Indian Leader webpage                            administration

                Maintains          advertising      rates   and fields advertising inquiries

                Coordinates circulation and newspaper                        delivery to the following areas of

                campus
                       o     Navarre Hall Post office              area student bank           area admissions         Haskell

                             Foundation offices the Presidents                      office    the Registrars       office   the

                             VP of Academics office and financial                      aid

                       o     Coffin Sports complex

                       o     Sequoyah       Hall The Student           Success Center           Deans     office    across the

                             hall   from SSC math department north end of building                             and science

                             department       middle        east   side
                       o     Ross Hall humanities office                   tables    on both    sides   of building     Deans
                             office and offices in far           NE corner of building
                       o     Pontiac     Hall




                                                                                                                                   USA000972
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                    o   Parker Hall Lobby area department of education                        offices    and AIS

                        wing
                    o   Taminend          Hall

                    o   Facilities    Management officeWirmenaucca                  Hall

                    O   Blalock      Hall All    common areas
                    o   Roe Cloud Hall All common areas

                    O   Curtis Hall lobby

                    o   Tommaney Hall library               including     technology       center and     common
                        areas

                    O   Blue Eagle Hall

                    o   Pocahontas      Hall All       common      areas

                    O   Student      Conduct     OfficeMinoka

                    o   Winona Hall All common areas

                    o   Stidham Union The Eagles Nest TRIO Purple Threads the

                        Counseling Center and Student                Senate office

                    o   OK Hail all common areas and student housing offices
                    O   Tecumseh       Hall Student       Activities     and Alumni Association room

                        downstairs

                Responsible for any Editor duties in hisher absence



      The Asst Editor will be required to facilitate the fundraising opportunities                          for the

      Haskell   NAJA Student         Chapter as they arise The Assistant Editor                    may vote


      Secretaryareasuren           The SecretaryTreasurer              will   work with the Editor to help keep
      the   Indian Leader     Association      on budget by maintaining           financial        records as well as

      providing    accurate    accounts    of each      meeting


      Duties
                Provides financial      report at      each meeting

                Provides meeting minutes Minutes should be prepared                         and posted     to the

                Indian Leader Google drive within 2 days of each meeting Notification of

                posted minutes will be provided            to news      team via email or Indian Leader staff
                Facebook    page
                Payroll management as follows

                        o     The Editor will submit a final copy of the newspaper to

                              SecretaryTreasurer          upon submission         to printer

                        o     SecretaryTreasurer          will   submit prepared payroll to Editor or

                              Assistant Editor for approval

                        o     Once approved            SecretaryTreasurer        will   initiate    meeting to vote on

                              payroll

                        o     SecretaryTreasurer          will   obtain Advisors         signature and submit

                              payroll to the     student    bank
                        o     Once cheeks        are   picked up from the        bank    SecretaryTreasurer           will


                              notify check recipients via email or Indian Leader staff Facebook

                              page of wherewhen            to   get checks




                                                                                                                             USA000973
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               Ensures mail        is   picked    up from the post office and delivered          to the   Indian

               Leader office before each weekly meeting

               Maintains     voicemail          box and Indian Leader Gmail providing            staff with   a


               report    of the    activity     of each at meetings or as needed

               Maintains     Google       drive     documents
               Receives     and tracks          advertising   payments




                                                                                ent Senate Meetings and




      Duties




               Must generate         at least     one post per day
               Ensure3 Indian Leader              web stories arc posted       to social media in a   timely

                                                              rom wen
                                                                       4


                  DLIM                                                     acimmistrators

               Aids in training         staff   on use of wcb page




               teams on Indian Leader social media




      Leader
                                                                                    P
               Journal magazine or other form of Indian Leader publication outside of the

      newspaper The Cooperative Editor is authorized by the Editor In Chief to work with
      the Association      and Advisor           Anybills invoices or decisions         made by the


      budget   of the Association back              The Cooperative         Editor must make wise and

      conscious    decisions for the betterment of the Aasociation and                  its   members This
      EdRor must coorelinate            an outside business         meeting for each publication      and find staff

      to help with thcproduction              of said publication



      Indian    Leader WritersReportersActive                       Members      Each student    at Haskell   Indian

                                                         with the Indian Leader Association          Active
      Nations University          may participate
      members of The Indian Leader                 are   students   who    contribute to the publication     of each

      issue   of the newspaper          OR social mediaweb           content




                                                                                                                       USA000974
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          Executive        staff listed    below must have one published                article in each issue in order to

          receive    staff   pay


V         Pay     scale




          Editor                               $    5000      per newspaper
          Asst Editor                          $    5000      per newspaper

          Sports Editor                        4507140pernewspaper
          Wcb     Editor                               LI     U            IYE




          SecretaryTreasurer                   $    5000      per newspaper
          Student     Senate        Rep        $    5000      per newspaper

          Cooperative Editor                   $30000        12    paid midway       and 12 paid after project       is   final




          Articles        Web or print $05 per word
          Photos          $500 per published photo with the max limit of 3 per article Rate includes
          photos     published on social media Payee must be owner of all photos                                provided
          Photo Collages             $1500     with permission only

          Other     social     media content           $500 per published submission of original this
          means created by you              creation    of video podeast radio audio                   or infographic

          Content will be reviewed on a case by case basis



          Additional pay may be authorized if the tasks and duties                            of members are related to an

          officer    status Officers        may be authorized double pay if they reach more than 30 hours
          with Indian Leader Association activities events                          and responsibilities Individual              pay
          shall   not exceed        $35000    per   issue    unless approved          by sponsor




VI        Use of Funds
          Funds     for    the operation of The Indian Leader will be used for the following

                           Invoices

                           Office supplies

                           Payroll

                            Campus events conducted                or sponsored      by The Indian Leader



          Requests        for reimbursement         will    be considered         but as a general rule requests           for

          funds should be submitted in advance through                           executive    staff vote      recorded in

          meeting minutes and submitted to Haskell                        bank     for withdrawal




          The     individual    staff     member who        signs     for bank     withdrawals       will   be the responsible

          party for the      full    amount of funds        that   includes returning receipts              and unused funds

          Discrepancies        will   be   the sole responsibility of the individual                 handling    the monies

          Failure to return receipts and unused                   funds   regardless     of whether         the individual has

          left   campus      at the   close of the semester will           result in a       hold being placed      on   the


          responsible partys student               account    until    fundsreceipts         are   returned




                                                                                                                                       USA000975
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            The           Indian          Leader Newsroom

            Policy                and Management Guide




Credits The policy and      management   guide   is   adopted from The University Daily

Kansas with permission and modified      for   The Indian Leader Thanks     to   the Kansas

for their input   and direction




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The Indian Leader
Newsroom                                Policy and                                  Management Guide



Introduction

Welcome         to       The Indian Leader The                 Indian          Leader Newsroom                          Policy    and Management                            Manual         is


developed           to   help    orient    students          faculty          staff      and others              in    the    management and production                                  of The

Indian     Leader



The Indian Leader Newsroom Policy and Management Guide was approved in the Spring of 1993 by the
Indian Leader Association publishers of the Indian Leader and the Haskell Yearbook


The Indian          Leader is edited and published                             by students             at    Haskell          Indian    Junior College                      for the      purpose        of

promoting the             free    and informed           debate and discussion                             of   1      topics     of special        interest               to    Haskell        students     and
alumni      2       issues of special importance to Native                                    Americans generally and                          3     all
                                                                                                                                                         newsworthy topics and
public     issues of general              Interest      to   American citizens The Haskell Yearbook                                            is    edited and published by
students       at    Haskell      Indian    Junior CollegeNations                             University          for   the     purpose        of   maintaining                   records        of the

previous       years       events



The Indian Leader Association is committed                                         to    improving           the      ability    of   Native    Americans to determine their own
destiny by providing               an     open public forum in which                            all   concerned               citizens     regardless     of race creed color sex

religion    or national           origin might          freely     discuss              the important public                    issues    of the      day The members of the
Association          believe       that   by providing         a public forum readers and contributors                                              alike will             improve their

understanding             of the true meaning                of leadership                    citizenship          and democracy               in    contemporary                    American society
through     an      open         honest    and fairminded                     exchange           of    views




Ethics                    and Policy
Standards           of conduct         for staff   members of The Indian Leader are the same as those adhered                                                                         to    by    any

responsible professional                   newspaper They                      are outlined                here    as guidelines that               staff       members are
expected       to    follow




This   policy       manual does not describe                       every           circumstance                 that    could     pose a problem                      It   does not answer

every    question          that   might arise Instead                    it   is   designed            to   establish           general       rules that editors                    reporters and

photographers              are    to   use in reporting            the        news and producing                        the     newspaper           Violation               of these        standards can

be grounds           for dismissal




Advance Viewing
Outside     review         of copy photographs                 or artwork                is   not permitted              unless        approved            in   advance             by the
editor For some              stories       such as those            that        involve         complex            scientific         information           a   knowledgeable
source     might be         asked       to verify       the accuracy                of   specific          elements of the story before                          it        is
                                                                                                                                                                                published         An
entire   story should             never    be reviewed             by someone                   outside          The Indian Leader staff Check                                    with   an editor

or   adviser     about      similar       situations




Conflicts        of Interest              The   first
                                                        obligation             of staff members is                      to   perform      their assigned                        Leader duties

To   do so staff members or anyone                            who writes                 for the      Leader must be                   free   from any obligation                          to   any
interest    other than the publics                  right     to   the        distribution            of   news and enlightened                     opinion




                                                                                                                                                                                                                   USA000977
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Staff    members should exercise                       great care      before          becoming              involved     in       any political        context            beyond voting
Under      no circumstances               may a staff member work                           for   pay or as a volunteer                    in   political           organizations or

campaigns


If   a relative     or close     friend    is   Involved        In   any political           activity          a staff member should                    tell        the   editors


and refrain from covering                 or making            news or editorial judgments about such a campaign                                                     or organization

Such precautions               should     be taken on all types of stories or photographs



Because         of the nature       of the       Leader and          its   readership               student        politics        and campus            political


organizations are even               more likely          to    create the           appearance                of partiality        than   traditional              political


organizations           Remember that the appearance                                 of bias      is   devastating            to   the   newspapers                  credibility         as   is



actual    bias



Other conflicts A Leader staff member may not work as a staff member                                                                     editor or      contributor               for any      other

publication         or news service            without the consent of the                         Leader editor           Staff       members who wish                       to    freelance

periodically for other            publications          also must seek                 permission from the editor                          Any staff member who                          is   found

hiding    his affiliation       with another            publication        also       must seek permission from the editor Any staff member who

is   found     hiding    his   affiliation      with    another publication                  will      be dismissed



Appearances             on radio or television               by Leader staff members may be permissible only                                                   if    reported       In



advance        to   the editor      Remember however                        that      only the         editor     may     talk      as a representative                     for   the

Leader



Gifts As journalists the obligations                           of staff     members are clear gather and report the news                                                   with     vigor      and

compassion           and report      it   without       prejudice



Staff    members must not use their positions                              at   the        Leader to obtain any benefit or advantage                                        not

afforded       to   the public     generally           Staff    members do not accept business related                                          gifts   or favors            either at


home      or in the      office




Staff    members should not accept free rooms sample equipment or goods                                                                  of any kind            Staff


members may not accept                     free      trips     Free tickets or access                    to    events     may be accepted                           but only when

special       arrangements for the press are necessary The press box at sporting                                                           events        is     an example

Editors       are responsible        for     making          certain   that      advantage              is   not being         taken       of certain          situations           Friends

or    guests      are not allowed         to    use Leader passes                     to   events



The Leader pays for tickets                     to   entertainment events                    that      staff    members are reviewing Books and

records        are accepted        only as news releases and become                                     the property of the                Leader



Leader members should                     not accept          free meals or drinks This does                             not       mean     that    staff           members

cannot accept           a cup     of coffee          or something that                can be repaid              later    Reporters             should         not however                be

wined     and dined while pursuing                     a story       The cost of meals incurred                          in   the course           of gathering              stories will


be     paid    by the Leader Generally however                             it   is   difficult    to    take     accurate          and complete                notes       while     eating



Any travel          must be approved             by the        editor and            the Association



When      in   doubt please follow the American Society                                     of    Professional           Journalists code of ethics                         in    the    back      of


the booklet




                                                                                                                                                                                                        U SA000978
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                                                                                                                                                                                                                kf




Dealing with the public

Courteous         and professional                    treatment            is   afforded         anyone         who telephones                     or walks        into    the    newsroom


Telephone             Etiquette                When        taking        messages be sure                      to     get the correct              name and phone number


Also include          your name                   the time and date the                     message            was received The telephone                              is   for   business      use only
Do not leave           this       number for personal                      messages              to   be taken by any staff member or the faculty                                       adviser



Complaints Complaints should be referred                                               to    the editor          If    no editor is available take a name and phone
number and            tell    the person             that    an        editor will     call      back     If   a complaint               is   in
                                                                                                                                                   any way abusive                or If the   staff

member is threatened                         write    a short but thorough                       memo and give                 it   to   the editor



Corrections                  The decision             to    run a correction                is   made by the editor When                              the     Leader incorrectly           has reported
a story or       misidentified               someone              in   a photograph               the   editor will       arrange              for   a correction           to   appear    promptly        It




may appear on Page 1    the story was on Page 1 Otherwise
                                             if              corrections will appear on Page 2 When talking

to someone who has a complaint do not verify the mistake blame
                                                                   anyone agree with anything or promise
anything Do not give your personal opinion as to what should be done Refer the person to those mentioned
above Any staff member who makes                                          a mistake          requiring          a correction             must        fill   out a correction          form    and turn     it




in   to   the editor



News Tip When                      readers          call    in   with     news      tips or       photo        ideas
                                                                                            staff members are expected to treat them with

courtesy         The Leader encourages                              readers       to   by the newsroom when they have story ideas Its
                                                                                       call      or to stop

a way      for   them        to    let   the      editors    know what they want to see in the paper and those ideas often turn into the
best      stories     and photos Listen                     patiently to          callers         write    down the            tips      and thank them                   for calling    or stopping

by the      newsroom


Letters       Policy The Leader accepts                                   letters      to   the   editor with           the understanding                      that   the    editor     may edit or
reject     the   letters          When         readers           bring    letters      to   the       newsroom make                  sure          that     the   letter    has a signature             and
a    phone number




Police                 News and Obituaries
Crime Stories                     In   crime stories              description          of the incident                must be attributed                     carefully      Police    records     are

protected        in   cases            of libel     but they           might be
                                                                              wrong                   nonetheless           Let readers                     know where the Information                came
from When             the     Leader reports                 that      someone has been accused                            of       a crime the               newspaper           incurs the

obligation       to follow             the   case to        trial      and to its conclusion


Suspect          Identification                    The Leader does not identify suspects                                                 in    crime stories unless the

suspects have been charged                                        in the        court system An                       arrest    does not mean a suspect                           has    been or will
be   charged          Identify           a person charged                  with     a crime with           age and address Also the term alleged should                                               be

used with care Alleged                            murderer is libelous



A suspects race                   or ethnicity        should           not   be mentioned               in a     story unless the information Is part of a

detailed     description including                     age          height       weight          attire        and     distinguishing characteristics



Victims          Names The names                            of juveniles            rape victims           and people who have attempted                                     suicide     are not

                                                                                                                                                     editor when
published        except           in circumstances                     approved        by the editor Consult with the                                                       naming the
victims     of any traumatic                   event       or violent           crime




                                                                                                                                                                                                                     U SA000979
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Here are some guidelines that staff members should use to determine whether a victims name

should be used



Living        or dead Did the           victim        die or is he or she still                     living       If   the       victim      survived       it   is    probably not a                 good
idea    to    use the name especially if                        it    was a private          individual     in    a        common           type   of   traumatic           event     If    the       victim


died     it   lends     more weight     to      using the               nameas          in   an obituary



Juvenile or adult Kansas                       law protects                   the    identity of juveniles             involved            in criminal         proceedings The
same kind of protection             should           be given             to    juveniles involved           in       traumatic            events



Promlnencepublic                  figure         Is    the person                well    known         in what         context national                  regionally or locally

Determining whether               someone             Is   a         public    or private      person       should              be done      in the     same manner as                     It   is



determined for libel



Newsworthinessmanner                            Is    the event               newsworthy         enough          to justify           it   Unusual       circumstances               often           are

cited but        be careful      not to sensationalize a                         tragic      event needlessly



Rape As stated before rape victims names should                                                 not be      used Do not name                       the suspect              of a rape           until


the suspect            has been charged              In    court



Suicide          Generally       names should                        not be    used     in   stories   dealing             with suicide        attempts              If   the suicide           was

newsworthy             only because      it    was         a suicide consider                  using an obituary format Then                              it    is   appropriate           to    use the
victims        name




Dealing with Sources


Staff   members must identify themselves when covering any event                                                            for   the      Leader unless the                 editor hasgiven


approval         for   reporters or photographers                         not    to   disclose      their Identity




To help reporters and             news sources                        understand         what information is fair to report under what

conditions        the information may be                       used and how that information may be obtained complicated                                                            news

gathering        practices    have evolved Even among journalists there                                                    is
                                                                                                                                disagreement about defining                         these

terms Listed            are some    reporting              procedures                that    Leader reporters are expected                          to   follow




The Leader Policy Our policy                              is    for reporters           never    to    agree          to    conduct         an interview         in       any way other than
on the record           unless    the   editor        has been consulted                       before      the interview                   There   almost always               is   some other

way to get information Not                    for attribution                  off   the record       and background                       explained      below            many      times serve

only    to tie    the   hands of both the reporters and the newspaper Remember unless a specific                                                                            agreement is made
before        the interview the interview                      is     on the record


In   some cases           exceptions          to this       policy        may be justified Again speak to the editor                                      for        questions

about this




On the record All the information and name of the news                                                     source           may be used            in   a story           Interviews            are   on

the record        unless    an agreement               to       the contrary            is   made     in   advance               In   most cases reporters will not




                                                                                                                                                                                                               U SA000980
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say    an interview          is   on    the record              The assumption                   is    that    if   someone          is
                                                                                                                                          talking    to    a reporter               the information is

for   the record        Sometimes out                     of   courtesy             however           reporters should               explain        to   people         who         are not        used     to


dealing       with the press            that       all   Information               could    be used           in    a story




Anonymous Sources                             This        is   information given                 to    a reporter that             can be published but the                              identity of the

source        cannot    be used              For example                   a   district    attorney       might tell          a reporter of plans to move                                for   a mistrial in a
murder case But the district attorney                                      tells   the reporter he or she                   can      use the information                     as long as the

reporter identifies           the source                 only as           one close        to   the    case This way the                   district       attorney          will    not offend

witnesses who             may first          learn about                 the   move by reading                 the     paper


Background                This     is   a difficult            area Generally background                               information is intended                    to    educate                and guide

the reporter in         writing         a story          and the           gist of    the information                can be used            if   the source            is   Identified




A writer should make clear for the reader that the writer is not the original source                                                                        for the         information               For

example an          administrative assistant might                                  brief    reporters              about the colleges              coming          budget           and the
rationale       behind     parts        of   it   so they           will    be better prepared                 for a       news conference                 or    a meeting later                  in the

week




Reporting Standards


Report News             Do Not Make                      It    Leader staff members should                              not put themselves                      in situations that                result    in


their      making   news or in their altering their presentation                                          Leader reporters should not ask questions                                               during

public      question    and answer forums or during                                   public          meetings such as faculty                       meetings               or student            senate
Ask questions           after     the meeting                  or during           intermission




Likewise the           newspaper              generally should                     not intrude          into        news    stories with          such phrases                as told

the   Leader or the Leader has learned


Fairness Any viewpoint                        in a       story must be               balanced          by an opposing                viewpoint            This     does not mean a

reporter should           dig     up    or create              controversy But people                         or    groups     that have          been          criticized          in    a story must

have a chance           to    respond             in     the   same issue


One call to obtain the other side                              of    an issue        is   rarely enough                The reporters              obligation           is   to


present       a true reflection              of the situation



Do not tarnish the Leaders reputation                                       by acquiring          information through                     questionable             means             If   in



an    extreme case the                 editor approves                     an extraordinary way to get information the story will explain                                                         how the
information was obtained                          and why           it   was gathered            that    way



Cultural Sensitivity                    Be sensitive                to     the concerns          of members of other                      minority groups                   Realize            that   not   all



people        celebrate      the       same holidays or have the same values                                           Try    to   stay abreast             of    the events               that   are going

on    in
           your sources lives                 no matter what race                          religion     or sex



As a forum for a diverse                     community the Leader                           cannot       afford        and    will    not tolerate              prejudice           from

its   staff    Racial   slurs sexual                   harassment and                 similar discriminatory                   misconduct                will    be grounds               for    dismissal




                                                                                                                                                                                                                  USA000981
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Direct    Quotes Except                        for   minor grammatical                       errors in         the    speech          of    ordinary persons quotations                          are not          to   be

altered      The Leader does correct                               minor errors              that    might otherwise                   take    on undue importance                       or cause           the

speaker      to   look foolish                 Mispronunciations                      rarely should             be    used even              for color        as they tend              to    make a

speaker      appear           inarticulate




Verification            in general              do not quote from                      news releases other papers                              stories       or news         broadcasts              without

verifying    the Information                    or attributing            it     Leader reporters are expected                                to verify      information In              news        releases

and then      rewrite         the releases                 Information                from another             newspaper               should      be identified as being from that

newspaper Reporters                       should           try    to   get quotations                directly from             the source          instead         of quoting           from prepared

statements         If   quotations              are taken              from prepared                 statements the story should say so When                                             covering          a

speech reporters should                         try to      get        a copy of the text                 to   quote the         speaker           accurately          and       talk    to   the   speaker
afterward     for elaboration                   about        specific           points



Obscenities Obscenities                              and    vulgarities               should        not   be used simply to add color or humor Use them

sparingly     and only when imperative to give a full                                           portrayal            to   the reader           The number of listenersone or two

reporters as       opposed            to an auditorium                         full   of   people often enters                       into    news judgement in questions                            of


obscenity         The    editor or assistant editor decides                                    whether           to   use questionable                  language




Newsroom Management

Personnel The                 editor       handles           all      problems in the                news department Any staff member with a complaint

or   scheduling         conflict     should            talk to         the editor Suggestions                         are      welcome



Mail    Boxes Staff members will have mailboxes for messages                                                                   and assignments                 Staff       members should

check    their     mailboxes several                       times a         week They                 also should               not   let    papers      accumulate               in their     boxes



Phones        Personal          longdistance                     calls    will        not   be tolerated Making such                           call    Is   grounds         for   dismissal           All


longdistance            calls    are       to    be logged on the out going telephone                                           log



Travel      Travel       must be approved                          by the editor Most                     travel      should         be authorized            first    by the Indian

Leader Association



Materials         The Leader                   provides          staff with           a computer and other materials to layout the paper The

Leader      does not provide notebooks


Office    Access              Navarre           Hall   is    open from 85                    pm       Staff     members are expected                          to   organize             their time


to reflect    these          hours        If
                                               you need               in the      building          beyond       specific        hours         the time needs               to    be arranged              in


advance       This       is   for Leader staff                   and yearbook                 activities        onlyTecumseh                   Hall    is
                                                                                                                                                            open      at    various          hours

A key to Tecumseh                and to the Leader office will                                 be available               to   staff    at   the   front     desk      of the library


Staff   must sign keys               in    and out               In    the event            a staff       member forgets                   to return    the key        to    the    library     the

Editor   or sponsor             must be notified                       A lost key charge of $200 will be submitted to the business office
under a staff           members account                          for lost       keys


Maintenance              The newsroom                      should         be clean            all   the    time The public                   faculty        and administrators

frequently visit             and the newsroom                          must project every aspect of professionalism                                           Reporters            and        editors


are expected            to   clean     up around                 computer              terminals Otherwise loose notebooks                                            and belongings                will


be thrown         away




                                                                                                                                                                                                                            U SA000982
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Smoking      is   prohibited        in   the building         This includes        the   newsroom and other offices Keep                     food   and

beverages         away from the terminals                 Staff     members will         be responsible for any damage                 they cause        to

them


Newsroom Conduct                    Staff   members should act as professionals In the newsroom Less than

professional behavior           will      not   be tolerated and            is   grounds    for   dismissal      Alcohol    and substance           abuse     will



not    be tolerated    and     is    grounds       for   dismissal




Newsroom Procedures

Deadlines         They must be met The Leader reporters are to complete their assignments on deadlines                                                        given   by
the editor    To meet our responsibilities deadlinesneed to be staggered Failure to meet a
deadline     on schedule        is
                                         grounds    for dismissal




Style The Leader uses                    The Associated Press Stylebook                     In    addition   a   Leader     style    guide   at   the   end of
this   pamphlet explains the newspapers exceptions


Datelines     and Bylines A dateline                     is   not   used on a byline unless the reporter was actually at the place
named      in the   dateline    and provided             a substantial           part   of the information in the          article   from that     area


Staff Meetings          Staff       meetings       are held twice a              month Meetings         should     last    no more than 30 minutes The

meetings are for the           entire      staff   Attendance          is   mandatory




                                                                                                                                                                           U SA000983
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Style Supplement




AIDS People do                not die    of   AIDS         they    die   of   complications            of   AIDS


Black Use when African American                              is
                                                                  inappropriate              or inaccurate         Capitalize In      all   Instances        when
referring to         people        of African      ancestry



Board of Regents                    Use Board of Regents                  on first       reference          then    Regents No apostrophe                   in
                                                                                                                                                                 any usage


chairperson Do not use chairman                              or chairwoman                   When      possible construct            the    sentence        with   the verb    to
head     instead       of chairperson                For example           John Doe who heads                       the   HIJC student         board

cities    In   Kansas Do not use Kansas                            or   Kan    after         Kansas     towns unless they are                likely   to    be confused       with

big cities     in other       states      such as Minneapolis                   Kan and Kansas                 City       Kan


coed do not use coed to refer to a female student More descriptive                                                   uses of the word are acceptable coed

softball     coed residence              halls



departments             Athletic       Department           is
                                                                  uppercase but dont                   capitalize     academic        departments            department        of


history unless          a     word normally would                  be capitalized             department           of English      department of History
Governmental            departments              appear as you normally see them Department                                       of the    Interior




grade point average                     on first     reference then             GPA


Coffin     Sports Complex on first                         reference the            Complex


homecoming               It   is
                                   Homecoming              Day     but   homecoming


Haskell        Indian         Nations      University When                    referring to       Haskell      Indian      Nations      University          use Haskell



Identification          Faculty         members are               identified       as   thus Rhonda           LeVaido       Instructor       of   Media
Communications Professors who hold distinguished or named professorships should be identified                                                                         with

their complete titles Thus John Doe professor emeritus of history


Haskell    students           are    identified      thus John Doe                 Creek         Tulsa      freshman        Put    tribal   affiliation     in



But individuals should                 always        be identified        in   a   manner most appropriate                   to    the context        of the story



The Indian            Leader Leader on second                        reference




names On second                    reference         normally use a            persons          last   name    only       First   names may be used on second
reference       in    stories about        children         under the age of 10                 In   stories about         several     people with          the    same last
name use first and last names                         to   avoid confusion



newspaper             names          Italicize     names of newspapers                       and other publications


quotes Avoid using colons                       to   Introduce          quotes


Representatives                    and Senators             refer to     AP Stylebook


semesters When followed                         by a year the season                    is   capitalized      For    example         Fall    1989 However             fall



semester is lowercase


senators        Identify       student        senators       by the groups              they represent or by              their position       in   Senate
whichever        is   more important John Doe Blalock senator




                                                                                                                                                                                     U SA000984
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sheriffs office              Douglas       County       Sheriffs       Office    on first       reference   then   sheriffs   office   Refer        to

deputies      as deputy          sheriff




streets       Use AP Stylebook



theater Use this             spelling      except      for    proper    names


time The order is time day place                             10   am Friday          in   141   Ross Hall


titles   In   the   title    of a book a       lecture       or a play    dont       capitalize     an article     a an the the to of an                   infinitive     a

preposition with fewer than                  five    letters      or   and as but if nor or unless the ward                      is   the   first   or the    last word

of the   title   Capitalize the           titles    of all    publications



United States               Except   in    quotes      or editorial      page copy change America to United States                           and American used
as              US vvhereever the meaning
     an adjective           to              the nation not the hemisphere However be
                                                                                is                                                                       reluctant   to


change American used as a noun   US citizen the meanings are not necessarily synonymous
                                                         to




                                                                                                                                                                              U SA000985
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BUREAU OF INDIAN AFFAIRS MANUAL                                 62   BIAM

                      EDUCATION


POST SECONDARY       APPENDIX FOR BIE STUDENT           BANKS




                                                                          U SA000986
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BUREAU OF INDIAN AFFAIRS MANUAL                                                                    62   BIAM 71
                     EDUCATION
POST SECONDARY APPENDIX FOR BIB STUDENT                                       BANKS

                               7 POST SECONDARY SCHOOL ENTERPRISES



73 Post Secondary School Enterprises


     A         Enterprise   accounts will be dual controlled             Including    but not limited to

               reconciling cash drawers recording               daily deposits and receiving     inventory
     B         Enterprise   accounts will be required           to   submit monthly income statements          to   be
               retained in the student     bank
     C         Enterprise   accounts are prohibited from obtaining             credit   lines   ie may not
               order any goods or supplies on credit

     D         Independent     daily reconciliation of cash register ending cash and credit receipts

               to sales at end of business     day
     E         Independent     controls   on inventory will be maintained
     F         Excess cash will be deposited daily




BUREAU OF INDIAN AFFAIRS MANUAL                                                                   62    BLAM 86
                     EDUCATION
POST SECONDARY APPENDIX FOR BIB STUDENT BANKS



86        Group Funds of Older Students in Larger Schools


          131         Post Secondary      Sponsorship

The sponsorsponsors            shall   be responsible for conducting          the activities in conformance

with the plan of operations but            shall   require the students to carry out the operation             The

sponsorsponsors           shall not   be required   to   handle or account     for activity funds       but should

give adequate         instructions    and supervision     for
                                                                proper handling      and accounting     of funds

by the designated student officers ie secured lock boxbag or locked drawer


The sponsorsponsors            of a club should be a school employee              However       the official   in

charge    of the school has the authority to designate a non employee to be a sponsor as

long as   it   is   stated in writing and submitted        to   the Student   Bank




                                                                                                                         USA000987
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BUREAU OF INDIAN AFFAIRS MANUAL                                                                  62 BIAM     86
                     EDUCATION
POST SECONDARY APPENDIX FOR BIE STUDENT                                      BANKS



C1 a       Post Secondary Plan of Operation



IA A written plan of operations                  is   required for   ALL organizations   that have   an account
at the Student Bank            Every TWO years your organization will be responsible for
submitting a new plan of operations                   unless changes   are made   In this case a new plan of

operations       is   due immediately


A Plan of operations shall be written and approved by members of each organization
This plan shall state the title          the purpose membership eligibility          and requirements and
details    of operations       such as election of officers schedule of meetings fundraising and

production        activities   exact use of funds or product           and the accounting   system     The plan
must include provisions for payment of withdrawals that are outstanding                       after the   duly

elected officers have          left   school   Provision shall also be made for and audit of the clubs

account     if   the sponsorship       changes    during the school year



The plan of operations once              finalized will then need to be approved         and signed by the

following


STUDENT CLUBS                                                 CAMPUS ORGANIZATIONS
University President                                          University President
Chief of Finance                                                        Chief of Finance
VP of University Services                                Immediate Supervisor
Student Senate President



The Student Bank reserves the right to request a new plan of operations                     at   any given
time




Note      A plan of operations shall not be required of a school group which organizes
temporarily to raise funds            by means of one project




                                                                                                                  USA000988
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BUREAU OF INDIAN AFFAIRS MANUAL                                                                  62   BUM 86
                     EDUCATION
POST SECONDARY APPENDIX FOR BIE STUDENT BANKS




      F    Post Secondary       Signature      Cards



1     All clubs     organizations and committees          must have a signature card on file           at   the

Student     Bank before any business can be conducted               A student club will have four
officers    and two sponsors         A Campus OrganizationCommittee will need to have the
minimum requirement of three signers


If a member resigns a copy of any letters of resignation                 must be turned      into   the Student

Bank       If
                any other changes    occur such as adding a member deleting a member or
changing the organization name or closing the account                    then a new signature         card needs
to   be signed and meeting minutes must be provided                stating     the new information



A new signature card will be submitted every school year regardless of changes                          or no

changes



Only the signers on this card will be given account               information with the exception             of the
official   in charge requesting        a balance




      G POST SECONDARY MEETING MINUTES
All Student clubs must provide               meeting minutes when presenting a bank withdrawal

request         They should be neatly typed        contain the names of members present at the


meeting and outline the unanimous                authorization   of funds from the clubs account



      FL   POST SECONDARY DEPOSITS




The   Student      Bank will fill   out the pre numbered deposit slips for           ALL clubs
organizations       and committees           Make sure that whoever      is
                                                                              presenting   the deposit has
counted the deposit items and           is   aware of how much     is   being deposited       The bank will
retain the original white copy and the duplicate             yellow copy will be returned to the club
organization or committee for their records



Any funds being         deposited into the Student      Bank must have a credit reason              This    means
the source in which        the funds   came from Extaco           sale donation       etc This information
will be documented         on the deposit slip for audit and referral purposes




                                                                                                                      USA000989
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BUREAU OF INDIAN AFFAIRS MANUAL                                                                                 62 BIAM        86
                     EDUCATION
POST SECONDARY APPENDIX FOR BIB STUDENT BANKS



The       Student       Bank does NOT          accept       personal   checks     If a club   organization        or

committee accepts              personal checks             and said check      is returned   as unpaid for any reason

the club       organization or committee                   will be charged for the amount of the check                 and any
fee associated with the transaction                        The check    will   then be returned to the club for

collection



If you have            an abundance         of coin that will be deposited          the club organization           or

committee              will be responsible         for
                                                         rolling
                                                                 the coin in the proper increments              The bank has
coin wrappers             available    upon request




      I     POST SECONDARY WITHDRAWAL                                    REQUESTS
A withdrawal request is a form that a club organization                             or committee         can pick up at the
Student      Bank for the purpose of withdrawing                       funds from their account            Each withdrawal

is   numbered and can be used for either a cash withdrawal or check                              withdrawal or both             If

more than one check              is   requested          attach   another sheet of paper and      list    all   additional

checks      needed



All withdrawals require               TWO signatures One signature                   is   the sponsor and the other

signature         is   an authorized        signer per the signature card or plan of operations                   Campus
organizations            will require two authorized              signers per their signature card




If your club            organization or committee fills              out a withdrawal request for a check                the

check      will    be available       the   NEXT business day             Invoices    should accompany            these

requests



If   a check      is    being requested for reimbursement purposes the receipts must accompany

the withdrawal request                 Reimbursements             are done by check       ONLY

Purchases should             NOT be made prior to requesting a withdrawal form from the Student
Bank The proper procedure                     is   to    get the withdrawal request for funds and then if those
funds are exceeded              a reimbursement will be deemed necessary



IMPQBTANT

ANY WITHDRAWAL   REQUEST THAT HAS NOT BEEN CLEARED WITHTN 30
DAYS WILL CAUSE THE CLUB ORGANIZATION OR COMMITTEE ACCOUNT
TO BE SUSPENDED AND NO ACTIVITY WILL BE ALLOWED
NO EXCEPTIONS it




                                                                                                                                     USA000990
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 BUREAU OF INDIAN AFFAIRS MANUAL                                                               62 BIAM        86
                      EDUCATION
 POST SECONDARY APPENDIX FOR BrE STUDENT BANKS




     J   Post Secondary    Receipts




 When a withdrawal is made from a club              organization   or committee          account    the person

that signs for the cash or checks          will be held accountable       for supplying the

receiptsinvoices that prove the funds were used for the purpose intended                      as stated   on the
withdrawal request      The date and purchased items on the receipts MUST                     correspond
with the information on the withdrawal request



If there are several receipts they    MUST be neatly taped onto a sheet of paper to ensure
proper verification     The bank will  NOT accept them otherwise If receipts are lost the
person that signed the withdrawal request will be held accountable                   for either obtaining

another receipt or paying the cash to clear the withdrawal                NO HANDWRITTEN
RECEIPTS WILL BE ACCEPTED


Receiptsinvoices      should equal the amount withdrawn from the account                     If the

receiptsinvoices   equal less than    is   stated   on the withdrawal request then the remaining
cash needs to be deposited back into the club organization                or committee       account      If the

receiptsinvoices equal    more than stated on the withdrawal                  the club   organization or

committee can request another withdrawal for a reimbursement


All receipts presented to the Student        Bank must be for the purpose stated on the
withdrawal request Le if a gas receipt         is   presented and   it   is   not listed as the purpose for

the use of the funds then this receipt will         NOT be accepted




BUREAU OF INDIAN AFFAIRS MANUAL                                                                62   BIAM 87
                     EDUCATION
POST SECONDARY APPENDIX FOR BIE STUDENT BANKS



87       School Banks


C        Funds in School Bank



         LA     Post Secondary Personal Funds
All students are encouraged    to open and maintain an account                 with the Student Bank




                                                                                                                   USA000991
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BUREAU OF INDIAN AFFAIRS MANUAL                                                                            62    BIAM 87
                     EDUCATION
POST SECONDARY APPENDIX FOR BE STUDENT BANKS



A signature card is required to open an aecetunt                        The purpose of the signature card is to
have the information needed                  to contact a student of monies not claimed at the end of each

school year              Immediate and aggressive action            shall   be taken to locate the depositor and

forward the balance of the account                      For amounts of $100 or less one attempt shall be
made to locate the depositor                 If   the depositor    is   not located the account         may be closed
by transferring the balance to the general student activity fund subject to claim and

payment any time requested by the student                         For amounts of more than $100                  locator

action    shall be        actively    pursued for a reasonable period in relation to the amount after
which the balances               of such accounts       may be disposed of in the same manner as those of
less than          a $100     Payment of all claims from individual depositors against this fund shall
be subject to approval of the official in charge of the school



There is no minimum balance to open an account                            This    is
                                                                                       your money     that the    Student

Bank     is   responsible         for safekeeping       There are   NO fees minimum balance                or    ATM
cards You can take your account                    to   a zero balance and        it   will remain open    for deposits

and withdrawals             throughout the school year


You will receive monthly                statements and you can request a statement at any time



NOTE The Student Bank does NOT accept personal checks

F1 Post Secondary Safekeeping Facilities


    1     Note           All vault openings will        be by accomplished             by two   distinct staff
                                                                                                                 persons

              inputting     their    uniquesecure       passwords simultaneously Both parties will witness
              the opening sign off on vault transactionsbalances                          and both will stay until vault
              is   re   closed
    2         At start of business day Lead bank teller will withdraw estimated daily cash

          requirement for teller             drawers out of vault including some amount of spare change

          rolls

    3         Immediately after beginning vault balance and                      teller   drawer amount     is   verified by

              backup      staffteller     The vault      will be shut and stay closed until the end of the

              business day unless bank receives a cash delivery or needs to make a deposit to

          Douglas County Bank The vault can be opened                             again briefly if there     is   an
          unforeseen             rare cash    shortage in Teller drawers

   4      Vault will         be opened at end of business day to store operating cash and                         teller

              drawers End of day vault balances will be verified and signed again same as
              above




                                                                                                                               USA000992
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BUREAU OF INDIAN AFFAIRS MANUAL                                                     62   BIAM 87
                     EDUCATION
POST SECONDARY APPENDIX FOR BIB STUDENT                            BANKS



  G11aPost     Secondary Statements to Depositors


  Statements will    be sent to the sponsor and    their
                                                           respective   managers each month The
  managers   will   be responsible for reviewing club bank statements in which       their


  employees are sponsors andor signers


  Managers   will   be responsible   for   periodically reviewing withdrawals to maintain

  accountability    of their respective department



  A statement will be available upon request at any time


                   CREDIT LINES ARE PROHIBITED




                                                                                                   USA000993
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             HASKELL INDIAN NATIONS UNIVERSITY
             POLICIES AND PROCEDURES FOR


                         STUDENT BANK

                  HOURS SUBJECT TO CHANGE


                        900AM400PM




                                                                         U SA000994
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                               PURPOsg


 The Student Bank         shall provide   for the deposit and withdrawal          of

personal and group funds



 Students shall be encouraged        to   open and maintain       personal

accounts    in the   Student   Bank for the purposes of learning how to
use bank services and safekeeping           of personal funds        Students

who may have personal funds in sufficient amount to warrant it
shall   be encouraged to transfer their accounts            to a bank   off campus



All group funds derived from class projects student associations

or other types of group activities        shall   be deposited and expended

through the school        bank These organizations          shall be subject to

the official   supervision of the official        in   charge of the school or a
designated     official   ie sponsor



All clubs organizations         committees and enterprise accounts           shall

be under the official      supervision of the officer in charge of the

school




                                                                                       U SA000995
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                          PLAN OF OPERATIONS

 A plan of operations is required for ALL organizations that have
 an account      at the   Student   Bank   Every   TWO years your
 organization will be responsible for submitting              a new plan of

 operations unless changes          are made    In this case a new plan of

 operations     is   due immediately



 A Plan of operations shall be written and approved by members of
 each organization          This plan shall state the title    the   purpose
membership eligibility          and requirements and     details of operations

 such as election of officers schedule of meetings               fundraising   and

production       activities   exact use of funds or product and the

 accounting      system The plan must include provisions              for payment

 of withdrawals       that are outstanding after the    duly elected     officers

have   left    school     Provision shall also be made for and audit of the

 clubs account       if the sponsorship    changes   during the school year



 The plan of operations once          finalized will then need to be

 approved and signed by the following


 STUDENT CLUBS                                     CAMPUS
 ORGANIZATIONS
University President                               University President
Chief of Finance                                   Chief of Finance

Student       Senate President                     linmediate Supervisor



The Student Bank reserves            the right to request a new plan of

operations      at   any given time




Note A plan of operations                  shall not be required of a

school group which organizes temporarily to raise funds

by means of one project




                                                                                     U SA000996
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                                 SIGNATURE CARDS

 All clubs organizations and committees must have a signature card on file

 at the Student     Bank before any business can be conducted       A student club
 will have four officers       and two sponsors    A Campus
 OrganizationCommittee           will   need to have the minimumrequirement of

 three signers



 If a member resigns a copy of
                               any letters of resignation must be turned into
 the Student      Bank    If any other changes   occur such as adding a member
 deleting a member or changing the organization          name or closing the
 account    then a new signature card needs to be signed and meeting minutes

 must be provided        stating the   new information


 A new signature card will be submitted every school year regardless of
 changes or no changes


 Only the signers on this card will be given account        information with the
 exception of the official      in charge requesting a balance



 The   official   in charge   of the school has the authority to be the second signer

 on a withdrawal request in an emergency           Exsponsors     are out of town




                                                                                        U SA000997
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                              SPONSOR$

 The sponsorsponsors         shall be responsible for conducting       the

 activities   in conformance       with the plan of operations but     shall

require the students to carry out the operation          The

 sponsorsponsors         shall not   be required to handle or account     for

 activity   funds but should give adequate        instructions   and

 supervision for proper handling and accounting           of funds by the

 designated    student    officers



The sponsorsponsors of a club should be a school employee

However       the official   in   charge of the school has the authority     to

designate a non employee to be a sponsor as long as it            is   stated in

writing and submitted to the Student           Bank




                                                                                   U SA000998
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                        MEETING MINUTES


All Student clubs must provide meeting minutes when presenting a

bank withdrawal request     They should be neatly typed    contain the

names of member present     at the   meeting and outline the
unanimous authorization of funds from the clubs account




                                                                         U SA000999
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                      V4ITJjDRAWAL                REQUIE31FS



 A withdrawal request          is   a form that a club organization or

 committee can pick up at the Student               Bank for the purpose of
 withdrawing funds from their account                 Each withdrawal         is


 numbered and can be used for either a cash withdrawal                      or check

 withdrawal or both       If    more than one cheek            is   requested attach
 another sheet of paper and list          all   additional     checks    needed


All withdrawals require             TWO signatures            One signature   is   the

 sponsor and the other signature           is   an authorized signer per the

 signature card or plan of operations              Campus organizations will
require   two authorized signers per their signature card


 If your club organization           or committee     fills    out a withdrawal

request for a check       the check      will be available the          NEXT business
 day   Invoices should     accompany            these requests



 If a check   is   being requested for reimbursement purposes the

receipts must accompany              the withdrawal     request         Reimbursements

 are done by check      ONLY

Purchases should       NOT be made prior to requesting a withdrawal
 form from the Student         Bank The proper procedure is to get the
withdrawal request for funds and then                if those       funds are exceeded

 a reimbursement will be deemed necessary



IMPORTANT

ANY WITHDRAWAL REQUEST THAT HAS NOT BEEN
CLEARED WITHIN 30 DAYS WILL CAUSE THE CLUB
ORGANIZATION OR COMMITTEE ACCOUNT TO BE
SUSPENDED AND NO ACTIVITY WILL BE ALLOWED
NO EXCEPTIONS




                                                                                         USA001000
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                               RECEILSf



When a withdrawal         is   made from a club     organization or

committee account the person that signs             for the   cash or checks

will   be held accountable        for   supplying the receiptsinvoices       that


prove the funds were used for the purpose intended                  as stated on the

withdrawal request         The date and purchased       items on the receipts

MUST correspond with the information on the withdrawal                      request


If there are several             MUST be neatly taped onto a
                         receipts they

sheet of paper to ensure proper verification The bank will NOT

accept    them otherwise         If receipts are lost the person that signed

the withdrawal       request will be held accountable         for either

obtaining another receipt or paying the cash to clear the

withdrawal          NO HANDWRITTEN               RECEIPTS WILL BE
ACCEPTED

Receiptsinvoices        should equal the amount withdrawn from the
account        If the receiptsinvoices      equal less than   is   stated on the

withdrawal       request then the remaining cash needs to be deposited
back     into the   club organization or committee account If the

receiptsinvoices       equal    more than stated on the withdrawal          the

club organization or committee can request another withdrawal                       for

a reimbursement



All receipts presented         to the   Student Bank must be for the purpose

stated on the withdrawal request            ie if a gas receipt is presented
and it   is   not listed as the purpose for the use of the funds then this

receipt will     NOT be accepted




                                                                                          USA001001
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                                1EbDfENLG


                         must be approved by the clubs
 All fundraising activities

 membership and so stated in the minutes All of the proceeds from
 the fundraising     activity   must be deposited       into the    club

 organization or committees account              at the Student      Bank as soon
 as possible




 The student    activities   authorized     by their approved       plans of

 operation to conduct        entertainments      concerts    athletic   events etc
 shall charge out    pre numbered admission tickets            issued in

numerical sequence          to the   individuals designated        to sell tickets

 Season   tickets   shall   be serially numbered and a record kept of all

 sales    Total proceeds        of such   activities   including    those acquired

 as profits   from enterprise activities       such as sporting events          shall

be deposited as received by the treasurer of the association                  or by

 other individuals    authorized to make deposits




                                                                                        USA001002
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                              DES SITS


 The    Student   Bank will   fill   out the pre numbered deposit slips for

 ALL clubs organizations and committees Make sure that
 whoever    is   presenting the deposit has counted           the deposit items

 and is aware of how      much is being deposited             The bank     will retain

 the original white copy and the duplicate yellow copy will be

 returned to the club organization or committee for their records



 Any funds being deposited            into the   Student   Bank must have a
 credit   reason    This means the source in which the funds came

 from Extaco sale donation etcThis                     information will be

 documented       on the deposit      slip for audit   and referral purposes


 The    Student   Bank does NOT accept            personal checks        If a club

 organization      or committee accepts          personal checks       and said check

 is   returned as unpaid for any reason the club organization or

 committee will be charged for the amount of the check                    and any fee

 associated with the transaction           The check       will then   be returned to
 the club for collection



 If   you have    an abundance       of coin that will be deposited the club

 organization      or committee will be responsible for rolling the coin

 in the
          proper increments The bank has coin wrappers available




                                                                                        USA001003
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                            usIALILLEAccIluALrs


Accounts which do not reflect any activity        for   a period of one year

are considered   inactive   and the funds will be transferred upon

approval of the official    in   charge of the school   to   an activity

account



The exception to this rule would be if the approved plan of

operations for said club organization or committee has stated

contrary provisions




                                                                               USA001004
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             MONTHLY BANK STATEMENTS

  Statements will be sent to the sponsor and their respective

  managers each      month The managers     will be responsible for

  reviewing club bark statements     in   which   their employees    are

  sponsors andor signers



  Managers   will be responsible for periodically reviewing

  withdrawals   to   maintain accountability   of their respective

  department


  A statement will be available upon request at any time


             CREDIT LINES ARE PROHIBITED




                                                                           USA001005
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                               ENTERPRISE ACCOUNTS

Enterprise accounts         must follow     all   policiesprocedures       set forth   by the Student
Bank The day to day management                    of any enterprise     account   shall   be under the
direction of the official       in charge   of the school or a designated          official    Care shall

be taken      to ensure that   such enterprises do not interfere with the designated                  mission
of the school the education         program          Each program shall comply with applicable
health and safety standards



It   is   the responsibility of the person in charge of the enterprise account                to provide

monthly operations          statements to the Chief of Finance             These reports will be

reviewed then retained in the appropriate file                in the   Student   Bank


Monthly credit card receipts will be turned into the Student Bank                        for credit




Cash drawers        will   be dual controlled      at the   end of each business day and a balance

sheet will be submitted with the daily deposit to the Student                     Bank


An inventory tracking log must be maintained to reflect all inventory received
Inventory balances         must be performed monthly and confirmed                 via inspection       Two
signatures      ARE required to maintain integrity of internal controls




                               CREDIT LINES ARE PROHIBITED




                                                                                                USA001006
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                         PERSONAL STUDENT ACCOUNTS




All students are encouraged             to    open and maintain an account with the
Student       Bank


A signature card is required to open an account                  The purpose of the
signature      card   is to   have the information needed to contact a student of

monies not claimed at the end of each school year                   Immediate and

aggressive      action   shall   be taken to locate the depositor and forward the

balance of the account            For amounts         of $100 or less one attempt     shall    be

made to locate the depositor             If the depositor is not located        the account

may be closed by transferring the balance to the general student                    activity

fund subject to claim and payment any time requested by the student                         For

amounts of more than             $100   locator action      shall be actively   pursued for a
reasonable period in relation to the                amount after which    the balances of

such accounts         may be disposed of in the same manner as those of less
than a $100           Payment of all    claims from individual depositors against

this   fund    shall be subject    to approval of the official      in   charge of the
school



There    is   no minimum balance             to   open an account This is your money that
the Student      Bank is responsible for safekeeping There are NO fees
minimum balance           or   ATM cards You can take your account to a zero
balance       and it will remain open for deposits and withdrawals throughout

the school year



You will receive monthly statements and you can request a statement                       at

any time


NOTE The Student Bank does NOT accept personal checks




                                                                                                USA001007
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                               United              States           Department of the Interior
                                                             BUREAU OF INDIAN EDUCATION
                                            HASKELL INDIAN NATIONS UNIVERSITY
                                                                   Office     of the President
          9737wCY
                                                             Lawrence Kansas                660464800
                                                   Phone          7857498497              Fax 7857498411

MEMORANDUM

To                      Beverly          Fortner       President Haskell                 Student Senate

                        Brenda Sehildt                Acting        Vice President          for University         Services



Cc                      Steve Byington                Finance

                                                                                    r

From                    Dr Venida Chenault

PresidentSubject        Student          Fee Distribution Proposal



Date                    November            7 2014

After conducting           a   review        of the distribution             of the student          fee revenue     it   is   being proposed         that a   change   be

made in the distribution of student                         activity       fees    Currently these funds            are distributed to          Student    Activities     and

the       Indian Leader Association



It   is   recommended          that      student    fees also       be used to properly support student governance                             and leadership by

ensuring the Haskell                 Student      Senate and         its   sanctioned Clubs and Organizations benefit from the student

activity      fees as well as Student                Activities        and the Indian Leader Association



This       memo provides direction for the distribution                             of Student        Fees collected           each semester and changes that

would be required              to    implement        this recommendation                   Student fees are to be used to support student                       activities

that      enrich and enhance              student    life    at    Haskell        These funds would be issued to Student                       Senate    13      Student

Activities          13 and Indian Leader Association                              Currently Student Activities                  receives     23 Indian Leader
Association           13 and Student           Senate receives              zero


The Bursars Office                  is   responsible for the collection                  of student     activity    fees       with monthly disbursements               of fees

collected       throughout          the    year     The amount             distributed     is   based on total student                enrollment     and the student

              fee     Based on           a sample    enrollment            of 750 students per semester and the fee of $3500
activity                                                                                                                                                per student this
would        total   $52500         annually



Upon a favorable vote                    of the Student       Senate this proposal would be implemented and changes would be made

effective Spring 2015




The change would               result in      fee revenue           being divided          equally between          Student       Senate      the Indian Leader

Association          and Student           Activities        The revenue           amounts       will
                                                                                                        vary each semester
                                                                                                                           based on the number of

enrolled       students    and fees collected



This change           in distribution will           provide        needed resources            to   support    student        governance       as   represented    by the
Student       Senate and the clubs                and organizations that comprise the Senate                              It   will    be the responsibility of the

Student       Senate to develop             processes         to   properly administer the funds requesting funds                             and awarding funds and

ensuring these funds                 enhance the experiences                 of all Haskell          students      These processes            are required      and must be

in   place    in order to       implement           this    change

                                                                                        18842014
                                                     Celebrating       130   Years of Indian Education         and Resilience




                                                                                                                                                                    USA001008
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q      Reply   all               11    Delete            Junk     Block




Fail   2020          Pell   Grant Activity Fees




                                                                                                                          6                       >
           Byington           Steve K
 BK
                                        AM
                                                                                                                                        4
           Tue       322021     1151

           To        Graham Ronald J Franklin          Mona


           There was $7280                total   Activity    Fees collected   from   Pell   Grant   in   Fall   2020 so the Indian Leader   Recreation
           and Student Senate                 will   each receive $242667         This will    likely     be completed    this   week




           Steve Byington

           Finance Specialist




           Bureau of Indian Education
           Haskell          Indian Nations      University

           155 Indian          Ave

           Lawrence           KS 66046
           Office       785 8302780
           Fax 785 8302760


           Website wwwhaskelledu




           Reply               Reply    all          Forward




                                                                                                                                               USA001009
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                                                        Haskell    Indian   Nations   University



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  Import Student               SIRS


     Download from EdConnect


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     Duplicate          ISIR    Conflict



     Open the           local    Microsoft Access      Database


     Import into EdExpress


     Lock    ISIR    Records          in   CAMS

  View Student Data

     Status      Tab


     ISIR   Tab


     Awards Tab

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Review Student        ISIR   Doctracking      and Files


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Package     Summer Pell 2

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   CAMS Setup

           1




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   Step        Originate



   Step    2   Disburse


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Introduction

The    purpose      of this manual       is   to   provide    stepbystep guide               to   add maintain and work              in     the Financial

Aid module in CAMS



In   some areas there are references                  to   EdExpress application              the ISIRs      backup The software                  is   a free


tool   approved          by   US Department of Education                    Other resources         and software applications                 used are

EdConnect          COD and FSA FAA CPS they                       all
                                                                        require   separate    logins   by the Financial Aid team


                                                            US Department of Education

                                                                                                                                            FAA        CPS
              EdConnect                                       COD
                                                                                                                                     View student SAR
       ISIR   download   COD                          Common                                           FSA
                                                                                                                                     ISIR   compare or
       importexport      SAIG                         Origination
                                                                                                                                     regenerate
       mail etc                                       Disbursement
                                                                                                                                     manuals       etc




       CAMS COD importexport                   Siudent     ISIR   download




                              CAMS Enterprise                                                Ed Express




Haskell       Indian     Nations   University      mainly works with              Title   IV funding    such as Federal       Pell    Grant

Supplemental             Educational   Opportunity Grant                 SEOG American             Indian    College   Fund   AICF Tribal                 and

Private       Scholarships




                                                                                                                                                                5




                                                                                                                                                                USA001014
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Yearly Setup

In   order to create and maintain awards the yearly setup has to be setup and reviewed                                                                                                                                 by the financial

aid    team The setup                will     go in tab order starting with Acad Year to ISIR CC to setup then                                                                                                          finish         with the

Pell   table       and DocTrack              Autoload for the new academic                                                  year Its recommended to do the setup                                                                        in   early

October


Navigate          to   CAMS > Financial                    Aid > Setup > Yearly Setup




       Yearly Setup     Internet   Explorer




                       Home              CAMS Enterprise


                        rAcad Year                   J11hA   Yew                                   I                           1Win                    11111111111111110111100101
                                                                                                                                                                                                                 11Sat




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           Academic            Years                                                                                                                                                                                    4 Close
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              2          13                  20162017              712016                                                              LHARA                                            2f232016 112E           LHARA
                         12                  20132014              3212013 1200163012017
                                                                            1201 51812014 1200  8
                                                                                           1201111                                         LB4RA                                        1282015       104 LHARA
                         11                  20152016              712015     120061302016               1201 9                            LHARA                                        7172014       104
               5         16                  20142015              512C2014      120        517201E    1200            12                  LBARA                                        3102014       141
                         9                   2012213               712012     12 00         6302013      12   01       12                  TRS11GR                                      10132011       94       RBEAVER

                         6                    1112    YR           6242011       120        51512012     120           9                   RBEAVER                                      101112011      41

                         4                    1011   YR            I 82010       1201       5162011    12   00         9                   LHARA                                        42E2010       327       RBEAVER
                                              CO                   0111   0                 1111




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                                                                                        Academic            Year Limits


                         Aw a NIType         Aw a rcrTypell        Yea rlyLint              Limn                       InsertUserlID       in   sertTime                            I   UpdateUSerll        IllipdateTtme




Arad Year tab
This    tab   will      reflect      the standard             academic                  year from July I to June                                    30                 If
                                                                                                                                                                                    priority           packaging                will    be

considered you                will   setup the Academic                           Year Limits It prevents                                   over awarding                                             during the packaging

period




                                                                                                                                                                                                                                                USA001015
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               Internet
arly   Setup              Explorer




                            CAMS         Enterprise



               let   aIF




       Academic Year       Details



                                                   Academic Year
                                                                           I




                                                            Start   Date   I




                                                             End    Date   I




                                                  Length    In   Months


                                                  Length    In   Week



                                        Created    By   I
                                                                                  On

                                       Changed     By                             On




                                                                  Add                          Cancel
                                                                                        1711




                                                                                                                                   200



1      Click   Academic              Years tab > right click                   on top     half of data   grid to   add a new AY Academic Year


       Be consistent                 in all   new AY entries your entry should match the previous year but different

       years



       Example 20172018

       Academic Year                              YYYYYYYY              ie 2017                2018

       Start   Date                               MMDDYY ie7117
       End Date                                   MMDDYY ie 63018
       Length        in   Months                        ie 11

       Length        in   Weeks                         ie 52

2      Click   Add




                                                                                                                                                7




                                                                                                                                                USA001016
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FA Year tab
The   start      and end dates          will    reflect     the      first     day of enrollment for 9 months   Its   recommended      to   get

the exact dates from the Registrar The                                bottom half of the tab shows Financial Aid Year Limits defined              to


prevent         over awarding          during      Priority          Packaging



                Setup   In    met 7yr brer
          y




                    H    e          V CAMS Enterprise
          111




                 Financial Aid Year Details


                                                           Financial Aid       Year

                                                                       Start   Date


                                                                        End Date


                                                           Length     in     Months




                                                 Created    By   I




                                                Changed     By   I




      1         Click   FA Year tab >          right click       to   add a new record

      2         Financial         Aid Year           add all          terms combined        ie FAYYSPYYSUYY           or based   on   FA

                Directors         decision


                Start   Date                         enter enrollment start date ie               8212017


                End Date                             enter enrollment end date                ie 5112018


                Length       in   Months             enter            of      months ie 9


      3         Click   Add




                                                                                                                                                   8




                                                                                                                                                  USA001017
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Pkg Term tab
Distribution                      Calendar      used     in   Single          Student          Packaging        and some Award                                  imports You                                               will   need to setup

by term so you may do                            FAYY SPYY and SUYY separate                                       entries



                 Tearly   Setup                                                                                  l111111111111111111111111111111111111111        1111111111111111111111111111111111111yy111111111111111




                                          611   CAMS Enterprise


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                           Financial Calendar Details


                                                                                       Distribution   Term

                                                                                       Distribution      Date


                                                                                  Distribution    Percent



                                                                       Remaining Need             Percent                                          a



                                                                     Payment Period              Start   Date



                                                                       Payment           Period End      Date


  111111111111




                                                           Created           By
                  1111




                                                          Changed            By    I
                                                                                                            0




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                                                                                                                rzi
                                                                                                                                                                                                                                            A

                 1        Ensure you have           in   FA Year tab = FAYY SPYY or SUYY then                                                                click             Pkg Term tab Create the

                          Package     Term      for each         term you create                      in   this tab



                          Distribution    Term                                           FAYY ie FA 17


                          Distribution       Date                                        8DDYY ie 8282017

                          Distribution       Percent                                     50



                          Remaining      Need       Percent                              50



                          Payment       Period start          Date                       enter enrollment start date ie                                         8212017


                          Payment       Period      end Date                             enter enrollment end date                                          ie 1282017


                 2        Click   Add




                                                                                                                                                                                                                                                 9




                                                                                                                                                                                                                                             USA001018
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Yearly   Setup           Internet   Explorer                                                                                                               X
                 1111W



                                        CAMS Enterprise


                         A




          Financial          Calendar      Details


                                                                          Distribution   Term pp 18

                                                                          Distribution   Date 104162018


                                                                     Distribution     Percent   J
                                                                                                                    50


                                                             Remaining       Need Percent                           50


                                                            Payment Period Start Date           p1262018

                                                             Payment Period End Date 105172018                     2

                                                      Created   By


                                                     Changed    By                          On




                                                                          1a Add                          Cancel




1        Ensure you have                   in   FA Year tab = FAYY SPYY or SUYY then                                click   Pkg Term tab Create the

         Package             Term     for each        term you create            in   this tab



                               Do     the same for          SUYY term if you know                   the   term will happen



         Distribution               Term                             SPYY ie SP 18


         Distribution               Date                             1DDYY ie 1222018

         Distribution               Percent                          50



         Remaining             Need        Percent                   50



         Payment             Period start            Date            enter enrollment start date ie                      182018


         Payment             Period        end Date                  enter enrollment end date                     ie 5112018


2        Click    Add




                                                                                                                                                      10




                                                                                                                                                      USA001019
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Term tab
The    term information                                                 is
                                                                              populated                            by the Registrar                  It        also allows     you to setup Term Limits to prevent

over awarding                                              if   needed


                                                                                      11100100100110011111111




                              Setup                  Internet




                                                                                                                                                                                                                                                                                                                                           11110
      Yearly                                                     Explorer
                                                                                                                                                                                           1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111
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                                                    Home           11   CAMS Enterprise


                                                     Acad        Year                                  FA                          Pkp   1errri                         T                                                         ill111111111                                                                       sriftCC
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                   Overall                             Terms                                                                                                                                                                                                                 LI Help                                                      Close
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                                                      TextTerm           Term                                   nermStartDat       nermEndDate            nermcalendal

                                   111 FA 20                                 620Q                               4612010     1200    472010        1200        15

                                   2                  SU20                   920L                               4612010 1200141712010 12001131
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                                                      FA 19                                                     8227018     1201    121132018      121        237

                                     5                Su 19                  e   1   al                          5227018    1201    7132018       1201        236

                                                      SP 18              lent                                    11020181201        5112018       1201
                                                      FA 17                  6170                               812312017
                                                                                                                            1201112212017 121234
                                                      SU17               16171                                   5227017    1204777017   12001233




                                                                                                                                         Tenn      Limits

                                                      Tex1Term           lAwaniType                             lAwardType         1YearlyLimit           I   LimilID       InsertUsere             I      Inserrlime                                                                     UpdateUSerll




                                                                                                                                                    Delete




                                                                                                                                                                                                                                                                                                                                                   105




Term              Limits bottom                                     grid                               select     Term       in    top grid then                    right click   in   bottom grid to enter Award                                                                                                                                        Type

and Limit if                                        needed




                                                                                                                                                                                                                                                                                                                                                            11




                                                                                                                                                                                                                                                                                                                                                            USA001020
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Budgets tab
The    instructions                  below        are for       manual          process to enter budgets for each                                             Direct            Cost Type Email and ask

CAMS Manager                         or Registrar          to    run a stored           procedure                to    copy from previous year to new year You wil

have            to   provide         the new               previous       FinAidYearlD                     see tab FA Year column FinAidYearlD and copy will

be made based                       on those unique                  identifers       Check            the Budgets tab after the stored                                            procedure   has ran so

you know                  it
                               copied        over


      Yearly Setup              Internet




                                               CAMS            Intel 11   iSC




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                 Yearly Budgets                                                                                                                                    121   Help    J Close

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                                           Academic Year   Vi                                 Financial Aid       Year

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                                                            Direct   CliCrype

                                C °stem           CostAmount                       F in a n cia             DirectC   stTYI   C estLa be IID
       II




       11




                                                                                      7           Delete




To enter Budgets



       1             Click      on FA Year tab > select term you want to enter blget for ie                                                                              FAYY SPYY 141YY

                     In   example            above      the budget          entry        is   set for Academic                     Year = 20172018 and Financial Aid Year

                     =    FA17SP18




                                                                                                                                                                                                       12




                                                                                                                                                                                                       USA001021
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Yearly Setup       Internet     Explorer                                             11111111

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               Home                  CAMS Enterprise

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                                                                                                                                                                                                                                                                                                                                         0111111111111111




                          Academic         Year                                                                Financial Aid Year



                                                        Direct Cost     Type

                   CastItem                                                                          FinancialAirni                                                                                                                     CostLabele
                                      ICastAmount             IF1nanc1aIea1                     I                                                              I
                                                                                                                                                                    DirectCosilyi




                                                                                                                  Delete




       Select Direct             Cost Type =see options                                              in   drop down                                                                       selection                                                    and select one

       Data     grid                                      =Right click           white space                                                                                 in                  the data grid




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Yearly Setup   Internet   Explorer                                                                                                                                                                                                                                                                          1111111111111111
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                Acad   Vet                 FA Year                    Plc cc   rui                                         Term                                                                                                                                                                                  J tslit
                                                                                                                                                                                                        11111111111116o




        Cost   Label   Detail


                                                 Direct   Cost Type


                                                           Cost Item


                                                        Cost Amount                                       000




                                                                     Add                                  17                    Cancel




       Enter       Cost Label          Details



       Cost Item                      see options               in   drop down                                 selection                                                                  and select one



       Cost Amount                    enter amount



       Click    Add

       Repeat these steps                       15 for       all   terms and cost types                                                                                                   Below are tables for direct cost types and

       items




                                                                                                                                                                                                                                                                                                                                                                                             13




                                                                                                                                                                                                                                                                                                                                                                                             USA001022
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                                                                    Direct   Cost   Type                                      Direct Cost   Type

              Direct   C rt Type7                                   2   YR Dependents living at home                     21   4   YR Off Campus HI AK
                                    2 YR
                                                                1

                                            Off    Camp
                                    2 YR    Off    Camp         2 2     YR Off Campus HI AK                              22   4   YR Off Campus Local
                                    2 YR    Off    Camp
                                    2 YR    Off    Camp         3   2   YR Off Campus Local                              23   4   YR Off Campus Other
                                    2 YR           Camp
                                                                        YR Off Campus Other                                       YR Off Campus Other 2
                                            Off
                                                                4 2                                                      24   4
                                    2 YR     CmP
                                            Off


                                    2 YR     CmP
                                            Off
                                                                5   2   YR Off Campus Other 2                            25   4   YR Off Campus Other 3
                                    2 YR Off CmP

                                    2 YR Off CmP                6 2     YR Off Campus Other 3                            26   4   YR Off Campus WDep HI AK
                                    2 YR Off CmP

                                    2 YR    On Camp             7   2   YR Off Campus WDep HI AK                         27   4   YR Off Campus WDep       Local

                                    2 YR    On Camp
                                                                8   2   YR Off Campus WDep                Local          28   4   YR Off Campus WDep       Other
                                    2 YR    On Camp
                                    2 YR    On Camp             9 2     YR Off Campus WDep                Other          29   4   YR Off Campus WDep       Other 2
                                    2 YR    On Camp
                                    2 YR    RA On C         10      2   YR Off Campus WDep                Other    2     30   4   YR Off Campus WDep       Other   3


                                    2 YR RA On C
                                    2 YR RA On C
                                                            11      2   YR Off Campus WDep                Other    3     31   4   YR On Campus HI AK
                                    4 YR Depende            12      2   YR On Campus HI AK                               32   4   YR On Campus Local
                                    4 YR Off Camp

                                    4 YR Off CmP            13      2   YR On Campus Local                               33   4   YR On Campus Other
                                    4 YR Off CmP

                                    4 YR Off Camp
                                                            14      2   YR On Campus Other                               34   4   YR On Campus Other 2
                                    4 YR Off Camp
                                                            15      2   YR On Campus Other 2                             35   4   YR On Campus Other 3
                                    4 YR Off CamP
                                    4 YR Of Camp                        YR On Campus Other 3                                      YR RA On Campus HI AK
                                        R
                                                            16      2                                                    36   4

                                            Off    CarnIP

                                    4       Clif   Caw      17      2   YR RA On Campus                                  37   4   YR RA On Campus Local

                                                            18      2   YR RA On Campus HI AK                            38   4   YR RA On Campus Other

                                                            19      2   YR RA On Campus Local                            39   Summer Session


                                                                             ependents     living
                                                                                                     at   home

     The   Financial     Aid Director         creates       a


     worksheet     every year for Estimated

     Cost of Attendance              thats how the
                                                                                                    Cost Item                            Cost Item


     direct cost   types and items are tied                                                 1       Board                            8   Room

     together                                                                              2        Books                            9   Travel    HI AK

                                                                                           3        Child Care                      10   Travel Local



                                                                                           4        Fees                            11   Travel Other


                                                                                           5        Loan    Fees                    12   Travel Other 2



                                                                                           6        MiscellanPersonal               13   Travel Other 3


                                                                                           7        Other                           14   Tuition




If
     you need to update             or add Direct           Cost Type or Cost Item email the                            CAMS Manager          and provide      your

changes      or additions




                                                                                                                                                                       14




                                                                                                                                                                       USA001023
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SIR CC tab
ISIR   Comment Codes that are included                                                        in ISIR              records                  as a                    three digit number                                                    They should be set up for

every term



       early       Setup      Internet          Evplor




                         Hr                     V CAMS Enterprise


                           EJAcad




                 ISIR    Comment Codes                                                                                                                                                                                                                  Close
                                                                                                                                                                                                                                               Itclp




                                                                 39   17                                                         FTEE2TrYiE31                            v9ar


                                ID                       C   mmentCod         Comment
                   E          Eii




                              193                        11132                This           SAR       reflects
                                                                                                                   your     FinancialAld                            Admintstrators                          use        of

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Import            ISIR   Comment Codes


       1          Find the               ISIR    Comment Code File from below                                                               instructions




Financial Aid ISIR                                       Comment Codes
                ISIR    Comment Codes that are included                                                        in ISIR             records as a three digit                                                                             number The     text of the

                codes      must be uploaded                            into   CAMS in order to make each Comment Codes text available
                throughout                    CAMS in the students                                ISIR         record               and on reports                                                          ISIR            Comment Codes may be
                obtained                from the Department of Educations                                                            website                              in          the Technical                                       References and Guides

                section     at httpsfsadownloadedgovdocsStudentAidGatewayhtm                                                                                                                                                             On that page    in   the   CPS
                Test System section                              click     the award                      year for which you wish to download                                                                                               comment text On the

                resulting               page      right click              the Text Format                                   link            for                   the          ISIR               Comment Text file                             Choose the Save or

                Save Target As option presented                                               by your Internet browser to save                                                                                              the text file       Note     that   left




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                 Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 111 of 215




                          clicking                          the link may open the text file                                                            in       your browser rather than presenting                                                                                                                      the option to save

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                                     Enter the web address from above instructions

                                     Find CPS Test                                      System > Click Academic                                                  Year you want to import


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                 4                   Find                   ISIR Comment Codes and right click                                                                                            save Text Format link to your preferred drive




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   Yearly Setup    Internet   Explorer                                                                                                                                                          pi


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Uploading   Please Wait                                                                                                                                                                   100



         Click    Browse button find the file you saved from Step 4

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                       View the status bar at the bottomit                                      will               show Uploading Please Walt Continue                                               to

                       next step when             the status bar is completed

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           ark                Setup                                      Internet                                        Explorer                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       111
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                                                                            1938                                                                                 003                                                                                Thb SAR shows                                                                             correctbns                                                 to kiformation                                                          that                   we pree pus
                                                                            1939                                                                                 004                                                                                This                     SAR has been produced due                                                                                                                          to              a change                                         in         your                       financi

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9   You   will              see the completed                                                                                                                                          import right away

10 Repeat               ISIR                             import steps for each                                                                                                                                                           term                                         in                FA Year tab make sure to select the term                                                                                                                                                                                                                                                                                                            in                the FA

    Year tab then                                                          click                                  ISIR                              CC tab to do the next import

          a               NOTE the selection                                                                                                                                                you make on Acad Year and FA Year tab makes a big difference                                                                                                                                                                                                                                                                                                                                                                                                                                                                   for


                          Budgets and ISIR CC tabs                                                                                                                                                                                         So ensure you have                                                                                                                                              the correct                                                                                  selections                                                                           when you are

                          working                                                               with Budgets and ISIR CC tabs




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               18




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Extracting Pell Table


From CAMS Community or requect from Unit4 Suppo                                                                          0




AFTER SUMMER 2018 Instructions                                       The database structure changed for EdExpress 20182019 so we

need to enter a support ticket                            to    Unit4 to forward the                          Pell   table     file




       1     Contact        CAMS Manager                       to   enter a support ticket                         to   get the       Pell    table    file

       2     Unit4 support will                   send a text file to import

       3     Follow Importing Pell Table                             in   CAMS instructions to get                              it   uploaded         to   CAMS
       4     Another place to check                        for the        Pell    table         file    is    the    CAMS Community
       5    The     Financial          Aid Director                 may   login to         the     CAMS Community and check                                   the   CAMS Alert

             messages
       6     Unit4 support will                   provide           instructions of              how to download                      the text file

       7     When the file             is   downloaded                   follow     the Importing Pell Table                             in   CAMS instructions to get                  it




             uploaded            to   CAMS

From EdExpress MSAccess                                   Database

PRIOR TO SUMMER 2018 Instructions                                         The      Pell        table      needs to be imported from EdExpress so you                                      will



use    this when         you are        packaging awards The                            table          holds       data for student             load       budget code           efc   type

pell amount COA and EFC Ranges


NOTE        You   will    have to check                 back        to   httpsfsadownloadedgovsoftwarehtmand                                                        see   if
                                                                                                                                                                               you need to

download          the latest version                 Be on the lookout                     for the            Release          10 20 etc When the release                         is




available please enter a help desk ticket                                   to     dbohanon                   to   do the edexpress database                        update


If
     you need to do the                Pell      table     update download                        or find the database on shared drive the MSAccess

database and export the tblPPell



       1     Find the       EdExpress MSAccess                           database at XHaskellUniversity                                       ServicesStudent

             ServicesFinancial                    Aid     OfficeExpress YYYYYYYY

       2     Open the MSAccess                      expressYYmdb                        and enter the                   password         at prompt


                   a        The       password            should         come from the                   Financial           Aid Director         The      password            can be found

                            in   EdConnect database                       or     call    CPS       18003305947                        for instructions


       3     Find tblPPell                  in   Tables

       4     Right click          the tblPPell table and choose Export > Text                                                   File > click      Browse button                and choose

             your export location                    it    can       be any location                   you choose

       5     Click   Save

       6     Click   OK
       7     Keep      as   Delimited > Click Next

       8     Keep      as   Comma Text Qualifier > Click Next
       9     Click Finish


       10    Click   Close at Export                      Text File dialog box

       11    Find your           exported          file    and open the                 file    and      it   will      look   like    below




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Figure   1 PELL Table            Export




         12 When you open the                              text   file           you   will    see a      list    of values


         13 You should have no column headings here

         14 Contact the                   Financial            Aid Director              and check               to   make sure the import worked correct                              FinAid     will



                 compare               values from previous year



 mporting Pell table in CAMS

          Export Pell Award Table from EDExpress

          You can export                    Pell     award        table tblPPell to a text file                                    from the EDExpress            MDB file         using     MS
          Access            If   a    password            is   requested when opening the MDB                                          file    use the password            provided        in   the

          EDExpress                   help files       This     file        is
                                                                                  typically located               at the        CAIAMDatabase             folder     on the computer

          where you have EDExpress                                 installed             If
                                                                                              you chose               to   install      EDExpress      at a different           location    on

          your hard drive                    you       will    find         the     MDB       file   in   that        location


            Note        It       is   recommended                 that            you copy the database                         file   to   another location        then export the

            tblPPell from that copy                               in        order to ensure you do not accidentally                                    convert    the database             file


            from the version                      of Access            it    is   created       with to the version of Access                          you may be using



          Export the tblPPell table as a comma                                                 delimited text                   file   with double quotation               mark    as   the Text

          Qualifier



            Do NOT               select     the      MS Access                   option to Export data with formatting and layout or Include

            Field     Names on                   First     Row You may save this                                 file      in   any location where you have access to in
            order to then import it into                                    CAMS


          Loading the Pell Award Table

          Once tblPPell has been exported                                              from the EDExpress                         MDB       file   you may import          it   into   CAMS

          To Load            Pell       Schedule




                                                                                                                                                                                                      20




                                                                                                                                                                                                      USA001029
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        1         From the CAMS Enterprise Home page                                        click      Financial      Aid >Setup            >Load          Pell   to   open the
                  Load    tblPPell window to the Step 1 tab

        2         Click   Browse             to   open the Choose                 File    to    Upload          window         Locate       and highlight the

                  tblPPelltxt file then                   click   Open

        Note         This text        file     can be at any location                    where you have               access        such    as     your local hard drive or a

        network           share



        3         Click   Upload          Document           The      file   is    uploaded            to a working          location        on the        CAMS Enterprise
                  server text displays                  indicating         the    file    being used preceded                   by the       CAMS user login name
                  and the Parse Pell File button                       displays

        4         Click   Parse Pell File The text file                      may take            several        minutes to parse and load into a

                  temporary SQL table Once the text file                                   is
                                                                                                parsed the window                    will   automatically              change to

                  the Step 2 tab




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PtIEJ   Tab   e   Load                Explorer




                                       CAMS Enterprise


                          Mt    I                            J Step    2


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        Load Pell Schedule                                                                                                                                         Close
                                                                                                                                             115   Help




              Pell   Schedule       Criteria




                                                   Academic Year1201720181Y1               Financial Aid      Years




                                                                                 Load Pell Schedlule    Table




        5         Select   the Academic                 Year and one or more Financial Aid Years                                      in    which to load the              Pell


                  Schedule

        6         Click   Load        Pell     Schedule Table The                   Pell   Schedule           will    be loaded to the Academic

                  YearFinancial Aid Years selected                                 and you are taken to the Step 3 tab Select the Academic

                  Year and Financial Aid Year then                           click       Find to       view     the   Pell   Schedule that has been loaded


        Note         Loading the               Pell   Schedule table             will    replace       the data that           is
                                                                                                                                    currently         in   the table This

        allows        you to        repopulate the           Pell     Schedule table at any time the                            Department                 of   Education     makes

        changes to the                 Pell       Schedule   in   a   subsequent                version    of    EDExpress




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PeID   labile   Load internet        Explorer




                Home             I    CAMS Enterprise


                     j Step 1                                  J Step 2                                        Step 3



       Review
                                                                                                                                                Help        Close




                                       Academic Year120172018                  v1     Financial Aid    Year



                                                                          Current    Pelt   Scheikde   Records


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           11         14                     Full   Time       199   CO              1000              50 CC            20                IO2595
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                If   desired you may page                       through the                 Pell   Schedule records which are displayed                      100 rows per

                page       in   the grid Click Next or enter a page                                 number in the page             field        then tab out of the       field


                to   change to that specific page

                Select a different                    Academic Year andor Financial Aid Year then                                      click    Find to   view   the   Pell


                Schedule for that Academic                                and Financial Aid Year




                                                                                                                                                                              22




                                                                                                                                                                              USA001031
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Irnnort Error in CAMS

          Pell   Table Load        Internet
                                              Explorer




                            Home                 CAMS Enterpi


                                    step 1


                 Load tblPPell                                                                                             z Help            Close




                      Request      oblect error    ASP 0104            Et0004005




                      Operation     not Allowed




                      iFinPellLoadPagelasp                line   89




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This error                 might show when you try to use the import feature                             in   CAMS at Financial     Aid > Setup > Load

Pell      >




          1           Make sure your tblPPell text file does not have the Column Names If so remove the column

                      names usually the first                         row and try again
          2           If   no luck try the second option but you have                        to   have   permissions to get into the server

                      environment               So   it
                                                           may be best to contact         your CAMS Manager Registrar or IT Specialist David

                      Bohanon


Second option                       is   to   use the SQL import wizard             contact   CAMS Manager Registrar or IT Specialist David

Bohanon                    for assistance




If
      you did not include                      column headings when exporting from MSAccess you will need to add the column

headings                   before        you can import into SQL Also to make the import easier rename                         the    file   to


tblPPelltxt if                      it   is   not already             called this




                                                                                                                                                         23




                                                                                                                                                         USA001032
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             1    If
                       you did   NOT include            column   headings when            exporting from MSAccess                insert a     row and add

             the following         line   at the    top of the        file     Recommend you just copy and paste this line
                            EN ROLLSTATBU                 DCODEEFCTYPEPE                   LLAMTCOARa ngeEFCRa nge
             2 Rename file          to    tblPPelltxt


Doctrack               AutoLoad
Document           tracking      documents         can    be automatically mapped to              ISIR   field    names on       load   when the        ISIRs


are   imported into CAMS Any number of documents                                    can   be added and are linked to the Academic                      Year

set   in   the Document           Tracking Auto           Load    In   addition     an advanced query option              is   available      by clicking

the Use SQL checkbox               on the        ISIR   Standard       record so identified conditions             may be added          to    the

document          tracking       import Documents              will    only be loaded once        for    each student and will           not be loaded

again      upon subsequent           ISIR       imports



The   documents            can   be mapped via advanced query option anytime but best to arrange and setup at the

beginning         of the financial        aid year




Prep and review doctrack items and ISIR codes                                                8z   comments


      1      Export      all   doctrack     info   from the server notify cams manager                     to run it


      2      Export       ISIR   Comment codes            from the server notify cams manager to run it

      3      Setup each          export into an MSExcel                spreadsheet Have the FAO Financial Aid Office director

             review       both information              and ensure       all
                                                                                mapping from doctrack        names match up to                isir   codes

      4      If
                  any adds or updates              need to be made to doctrack               items email cams manager                   with the Doc

            Track       Blank      Financial       Aiddocx document                at XHaskellUniversity ServicesStudent

             ServicesFinancial            Aid     DocumentationDocTracking                   so   the addsupdates              can   be completed        and

             documented


Add ISIR codes                   in top data            grid



      5      When        all
                               mapping     is
                                                completed        by FAO then go to         CAMS Enterprise Home                 page

      6      Click     Tools >Import >Financial              Aid >Doctrack           AutoLoad The Doc Track Autoload on                         ISIR   Import

             window opens

      7      Click     the Auto Load            Standard    tab > select Academic            Year > click        Find   button




                                                                                                                                                             24




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Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 120 of 215




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                   w Auto Loci                                                                          Auto Load                               Standard



              Track       Autoload on ISIR Import Standard




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                                                                             Codes                     in   Standard                          ISM Ftcr                       is




                   DocISRStanc          AcedemicYm                     StandardFiek                    Icota                                      InsedUsedD                        InsertTene                                     JLldateUSerk




                                                                                                                                                                                                                                                                                                             Top Grid




                                                                                                  Documents                                   to Load




                                                                                                                                                                                                                                                                                                             Bottom

                                                                                                                                                                                                                                                                                                             Grid


                                                                                                            771                      Delete




        In    the top data grid Codes in Standard                                                                                SIR Records                                       you                will                    need to add                                      all    the ISIR Codes

        find your MSExcel                    spreadsheet                          where you mapped the codes to doctracks here

        Right click          in white space to add ISIR Field




                           Horns             CAMS                      Enterprise



                                 Jilotio   Load Lusioni                                                       ci




                         Code in ISIR

                                                       Field
                                             ISIR                      1CommentCodes

                                Code    Present   in   Field 1101




               a         ISIR    Field                                                = select CornmentCodes

               b         Code Present                  in      Field                  = enter 3 digit                                                                       ie 030

10      Click    Add




                                                                                                                                                                                                                                                                                                       25




                                                                                                                                                                                                                                                                                                       USA001034
  Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 121 of 215




Add DocTrack                  Documents                     in bottom data                                      grid



   11 From your MSExcel                         spreadsheet                          with comment code                            +   doctrack                       mapping     look   up the comment

        code       you mapped                 and attached                   the document                          tracking              under Documents                         to   Load bottom

        grid
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                          H   e          I    CAMS         Enterprise



                                          L   oad Custom




                     Document        Tracking    Load

                                                              Location
                                                                                 FINANCIAL

                                                   Document Name                 FlSelective Service
                                                    Document         IDate



                                              Document Description                   Provide   a copy   of your   selective    service   registration         can


                                                  Document      Status           INCOMPLETE               Ho
                                                        User Defined

                                                            Reference            I




                                                           Comments




                                                               Internal




                                                           Created    By                                   On


                                                        Charged       By     I




                                                                                     Ea                           17 Cancel

               a      Right click               in white space                           under          Document                  to     Load to add

               b      Document                  Name                         = select              document                   from drop down

               c      Document                  Status                       = set to              incomplete for beginning                                            of year


               d          Internal                                           =         check       this      box       if     you want to keep                           this doctrack    item internal

                          only If unchecked                     it    will            show        publicly           and        in    student                       portal

   12   Click   Add




                                                                                                                                                                                                      26




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      Auto    Load    St uto     Eutern2      Eporer



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              Doc Track Autoload on                    ISIR     Import                                                                                                                I     se

                                                                                Standall


                                                               Acodemic Year                                                 Mnd




                                                                          Codes in    Standard      ISM          Records



                         DocISIRStanc      IAcademice           StanclardFiek     rode                II   In   sertUserlD    It   In   sertTime       U pdateU    Serif     Updaterir




                                                                                            Der Le




                                                                                  Documents to Load



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   ftlJ


   Now you see the top and bottom grids are filled                                                               in



13 Repeat       steps          712 for all             ISIR fields              and   related                   document                     tracking         entries


          a      NOTE           You may ask your CAMS Manager                                                     to    run the                ISIR    Comment Code + Doctrack

                 mappings                so   you may review for duplicate                                             entries after you                          completed                  your entries

          b      If
                      you notice some doctrack                                   coming          in        odd the best place to check                                              to      how you mapped

                 them to come in You may correct an error and on the next                                                                                     ISIR         import the changes               will



                 pick      up




                                                                                                                                                                                                              27




                                                                                                                                                                                                              USA001036
                    Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 123 of 215




              Doctrack              Use SQL for Advanced                                Matching


              Add       in Verifications

              In   this section     you      will   add DEPENDENT          and INDEPENDENT                    verification    based   on   ISIR    record     import so

              copy and paste from the table                    below     Its   recommended               to test every    entry the test results             will   return


              random       isir   data and check         all   isirs   imports     if   the student has multiple records




Requirement                Table
SIR   Field                       Code              Use SQL                                                                  DocTrack      Items

                                  Present

                                  in Field


VerificationCode                  V1                AND VERIFICATIONTRACKINGFLAG=V1                           AND            FINVerification        Packet

                                                    DEPENDENTSTATUS=DEPENDENT                            OR
                                                    DEPENDENTSTATUS=1NDEPENDENT
VerificationCode                  V4                AND VERIFICATIONTRACKINGFLAG                     =   V4 AND              FINVerification        Packet

                                                    DEPENDENTSTATUS            =   DEPENDENT OR
                                                    DEPENDENTSTATUS            =   INDEPENDENT
VerificationCode                  V5                AND VERIFICATIONTRACKINGFLAG                     =   V5 AND              FINVerification        Packet

                                                    DEPENDENTSTATUS            =   DEPENDENT OR
                                                    DEPENDENTSTATUS            =   INDEPENDENT




SIR   Field                       Code              Use SQL                                                                  DocTrack      Items

                                  Present

                                  in Field


VerificationCode                  YES               AND dependentstatus=independent                       OR                 FINIRS Tool Student

                                                    dependentstatus=dependent                  and                           FINTax     Transcript      Student

                                                    StudentsTaxReturnCompleted=1                   and

                                                    StudentIRSRequestFlag<>02
                                                    and verificationcode=YES

VerificationCode                  YES               AND dependentstatus=dependent                    and                     FINIRS Tool Parent

                                                    ParentsTaxReturnCompleted=1                and                           FINTax     Transcript      Parent

                                                    StudentIRSRequestFlag<>02
                                                    and verificationcode=YES

DependentStatus                   depend            AND verificationcode=YES                 and                             FINNumber in College Verification
                                  ent               parentsNumberinCollege>1                  and

                                                    dependentstatus=dependent

DependentStatus                   indepe            AND verificationcode=YES                 and                             FINNumber in College Verification
                                  ndent             studentsNumberinCollege>1 and

                                                    dependentstatus=lndependent




                    1     If
                               you are not continuing              from adding           in ISIR   Codes you will        start   from CAMS home > Tools

                          >Import        >Financial      Aid >Doctrack             AutoLoad

                    2     Click    the Auto Load          Standard       tab > select Academic                 Year > click    Find   button




                                                                                                                                                                             28




                                                                                                                                                                             USA001037
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3   In          the upper grid                             scroll             down       to      the end and right click to add

                         Autz   Load       DettIng    Hier           E




                                                              CAMS                Intel prise




                                   Code in ISIR

                                                             IISIR       Field rAddress



            1111111111
                                            Code Present        in       Field




                                                                                                                 Use     SQL        LI



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         11111111




                                           BY                                                                                            By




4   Enter Verifications


                          a       ISIR          Field                                            = select        VerificationCode                      in   drop down   or appropriate   field


                                                                                                      based      on Verification Table

                          b       Code Present                           in    Field             = Enter       Vi V2 V3 etc

                          c       Use SQL                                                        = Click      checkbox                   Use SQL


     feit0 Load                                 Tnterne
                                 Setting                  ERIDrer




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                                                                                                       Use SQL      Iv

                              Advanced       Matching      must use           fields in table    Financiall   SAR

                                                             Field       iVerificationCode




                                                             Select           from FinancianSAR

                                                             Where        Batch    = Current Batch


                                                             AND         VezdficationTrackindFlad                        =       Vl AND DependentStatus
                                 SQL Where        Clause
                                                                     Dependent




                           Created                                                                            Changed
                                       I                                                                                     I

                                                                                                                                              On
                                 By                                                                                By
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                                       I                                                                                     I




                                                                                                Add
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                          d       The           Advance matching                             options           window opens

                          e       Field                                                          = select        VerificationCode                  in       drop down

                          f       SQL Where Clause                                               = Enter
                                                                                                               your clause here                 ie AND VerificationTrackingFlag                  =


                                  AND           DependentStatus                              =    Dependent




                                                                                                                                                                                                     29




                                                                                                                                                                                                     USA001038
Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 125 of 215




                                 i          NOTE The VerificationTrackingFlag                                                            =   Vi        will   have      V2 V3 etc when                  you enter

                                            all       verifications


           g        Click         Test to ensure your statement works                                                                    and find a student                   Financial           Aid >

                    Maintenance                              >   isir   >      Full ISIR            Report and match the results                                        in   your clause               See sample of

                    an       ISIR       report


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                                            CAMS             Enterprise




                                                                                               Use SQL        1d

                                                       Test      Results      based     on existing data           100 rows max returned

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            Created    I




                  BY   I




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           h        Your test result window                                             will       open        to        show youthe code you entered                                          works     If   no

                    results make sure you entered the SQL Where                                                                                       clause     just   as   it     is   in   Step f



  aAuto Load       Settinr        nterne          E




                   H Dr=               61   CAMS                 Enter prise



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                                                                                                  Use   SQL    1d

                                                          Test    Results       based       on existing   data         100 rows max returned

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         I         Another way to check                                  the test record                     is   to find the     VerificationTrackingFlag       field   in   the

                   results           Click       the horizontal bar and scroll through and find the field

                                      If      no results and you imported a couple                                           of   ISIR   records for   testing then   contact

                                      CAMS Manager

         J         Click          Return

         k         Click          Add

5   EnterAdd                doctrack            documents                         to Verification


6   Right click             to    add under the Documents to Load

         lJta   ILoad   DettIng     Enterne          lorer




                        H    e            I    CAMS Enterprise




                   Document        Tracking     Load

                                                             Location        FINANCIAL AID             v

                                                Document        Name IFFLIFERPA                 Form


                                                 Document         Date



                                          Document      Description               FIERPA Form


                                                Document       Status



                                                      User    Defined


                                                          Reference
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                                                        Comments




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                                                       Changed     By                                  a




                                                                                       Add                 17 Cancel
     I      I

         a         Document                    Name                                = select       document              from drop down

         b         Document                    Status                              = set to       incomplete for beginning                  of year


                   c        Internal                                               =   check      this     box     if
                                                                                                                        you want to keep      this doctrack   item internal

                            only     If       unchecked             it   will          show        publicly        and in student         portal

7   Click    Add




                                                                                                                                                                                31




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                                                                                                                                                                                                          Auto Load                                                          Standard



                                    Doc Track Autoload on                                                                                                             ISIR        Import Standard                                                                                                                                                          Save                                        ff                Help                                                     Close

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                                                                                                                                                    Academic                 Year              1J                  1710                                 i




                                                                                                                                                                       Codes in Standard SIR Reccrds



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                                                                                                                                                                                    Documents                                                               to          Load




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                                                                     FIN Verification                                                              PackOri1111111111111111   f$011111   11111111111111111111111111111111111111111111111111111111111111POlease                completi                      INCOMPLETE




                                                                                                                                                                                                                                          Delete




      Above                    is   an example of Vi completely setup with DocTracking                                                                                                                                                                                                      item



      Repeat steps for adding Vi to add verification                                                                                                                                                      codes plus doctrack                                                                                                    documents see

      requirement table




Sample of an                         ISIR    report                                                 with fields in Advanced SQL



Page 2


2017 2018                     Institutional                   Student Information Record

703
                                                                                   EFC                                                                $17400




                                                                       Dependency                                                         Status                      Dependent




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               32




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               USA001041
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      Page 3

       FAA NIFORMATION
              I                                                                                                          CPS IPuished ISIR           Flag   Transaction      not   a
       Date       ISIR       Received                             0310212017                                             Rejects       Met
       Verlflcatii    on      Rag                                 Yes                                                    Verlflcatii   on Tracklng     Rag Vi
       Professional            Judgment                                                                                  Dependency           Override     No IFAA override



Add in Non Verifications
In   this section            you       will    need to add by CommentCodes                         adds to every    isir    DependentStatus

EmancipatedMinor                         InLegalGuardianship                     OrphanWarofCourtorFosterCare




Requirement                        Table
ISIR Field                                            Code Present              Use SQL                                                 DocTrack         Items

                                                      in       Field

CommentCodes                                          001                                                                               FINDataFerpa Form

DependentStatus                                       Independent               AND        verificationcode=no     and                  FINLowIncome
                                                                                totalincome<=10300          and

                                                                                dependentstatus=lndependent

DependentStatus                                       Dependent                 AND        verificationcode=no     and                  FINLowIncome
                                                                                dependentstatus=dependent                and

                                                                                parentgrossincome<=10300

EmancipatedMinor                                      1                         AND EMANCIPATEDMINOR=1                                  FINEmancipated
                                                                                                                                        Verification


InLegalGuardianship                                   1                         AND        InLegalGuardianship=1                        FINLegal Guardian
OrphanWardofCourtor                                   1                         AND                                                     FINOrphanWard              of

FosterCare                                                                      ORPHANWARDOFCOURTORFOSTER                               Court

                                                                                CARE=1 AND
                                                                                DEPENDENTSTATUS=1NDEPENDENT
HSDiplomaorEquivalent                                 4                         AND        YearIndicator=2017    and                    FIN   HS Diploma
                                                                                HSDiplomaorEquivalent=4




          Loari   Sttings       Hier   ne


                     Fre                CAMS              Entel prise




              Code in ISM

                                       ISOR   Field   FMess                                                                   El
                     Code Present        in   Field   I




                                                                               Use   SQL   0

           Created                                                                    Changed
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                   By
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1   Enter   Non                 Verifications


        a              ISIR       Field                                   = select       DependentStatus                  in       drop down

        b              Code Present                  in   Field           = Enter       DEPENDENT                   or INDEPENDENT

        c              Use SQL                                            = Click      checkbox           Use SQL


                       Aut7           Sett1ilqf                         Eyo110er


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                                                                                                                                                                     El




                                                                                                              Use   SQL




                                                                                                                          L11±11
                                                                        must use
                                                                                                                                                                     7
                                    Advanced          Matching                         fielnls   in   table   IFinanciallISAIR

                                                              Field

             111111111111111




                                                              Setect      from FinanciallISAR
                                                              Where        Balch   =   Current 1Batcri


                                          SQL Where               AND     vri          cat            code      no     and         dependent   status=   dependent
                                                    Clause        and garentgrcassinccme<=10300




                                                                                                                          7         Test




                                  Created
                                               ir7                           On                                       rChanged
                                      By       l

                                                                                                                                      By




                                                                                         tau


2   Enter   the                 SQL Where            Clause for dependent

3   Click   Test button                   to       ensure your matching                      works        sql statement




                                                                                                                                                                     34




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4                    The Test Results window                                   will        open


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                                                                         Test         Results    based on          existing dala             100 rows max returned

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                                  Created

                                       By
                                                          INC                                                                   4        Chang
                                                                                                                                                    By




                                  a   This           is   the test results from where                                   you entered                 the SQL Wkre                    clause    just   as   it    is   in   Ste


                                      2


                                  b   Another way to check                                 the test record                    is   to find the                      ParentGrossIncome          field      in    the

                                      results               Click      the horizontal bar and scroll through and find the field

                                                            If
                                                                 your requirements                           in   the    sql    where              clause            wasparentgrossincome>=10300

                                                            so this column                  in   the results should                          all   be <=10300                If    not true you entered                   your

                                                            clause incorrect                     You may contact                       the         CAMS Manager                    to assist


                                  c   Click          Return

5                         Click    Add

6                         EnterAdd               doctrack              documents                to    Non         Verification




                                                                                                                                                                                                                                35




                                                                                                                                                                                                                                USA001044
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                                                                                                                                           Documents                to       Load



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                            Man       cript            Parent                                                      II   ilILL3             0
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7   Right click     in     Documents                                               to                      Load                  grid to       add doctracking                       document




                                TO   CAMS        Enter                                  Hisr




             Document     Tracking    Load

                                                   Location                                   IFINANCIAL                      AITE
                                      Document                    Name IFINFERPA                                              Fccrn




                                       Document                         Date
                                                                                              I




                                Document      Description                                     FIERPA                     Form


                                      Document                  Status


                                             User Defined


                                                Reference




                                               Comments




                                                         Internal                                 D

                                              Created                        By

                                             Changed                         By




                                                                                                   71 Add                                      cancel

                                                                                                                                                                                                                                                                                       AI



        a     Document                  Name                                                                              = select     document                     from drop down

        b     Document                  Status                                                                            = set to     incomplete for beginning                                                             of year


        c     Internal                                                                                                    =   check    this           box     if    you want to keep                                                          this doctrack                                                                                 item internal

              only         If    unchecked                                                it             will              show       publicly             and in student                 portal

8   Click   Add




                                                                                                                                                                                                                                                                                                                                                            36




                                                                                                                                                                                                                                                                                                                                                            USA001045
    Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 132 of 215




                Auto Load       Settings         Internet   Explorer




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                                I   I   CIL
                                                                                                                                                              Save         2 Help           Close

                                                                                        VVVVVVVVVVVVVVVVVDD



                                                                     Academic     Year 1201720181               v                17       Find




                                                                              Codes     NI   Standard         ISIR   Records



                                         DocISIRStanc       lAcademicYm   I   StandardFiek         I   Code                 I    In   sertU serlD       I   InsertTime            Updated

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                                         183                14                DependentStati       I   INDEPENDENT           I




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                                         FIN   Low Income                 mum                          ease corn




                                                                                              10 ue
    9    Above          is   an example of all the document tracking                                   docs added to DEPENDENT                                           Non Verification

         based on Parents Gross Income <=10300 The                                            student will                  have to return the following FIN Low

         Income form and financial                          aid office    will   send out notification to student

    10   Repeat steps               110 based on requirement table




Processing                   ISIR Records




Import Student                  ISI RS

The import is performed on a daily basis by Financial Aid Technicians and Director The records are

downloaded             from EdConnect application



Download         from EdConnect

    1    Log into EdConnect

    2    Enter Security                 code     token        > OK

    3    File    > New >Activity                 Log > select Request

    4    Project         > select        All




                                                                                                                                                                                                    37




                                                                                                                                                                                                    USA001046
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   5    Cycle > select                  All



   6    Description                > select           All         Data     All        Messages

   7    Message               Class >


   8    File   Name = CAIAMDATA
   9    Click      TransmissionNow located on                                                tool     bar

   10   Print any and                   all   messages and give to Director                                           >   Close window

   11 When transmission completed                                                 =   Transmission                   Successful


   12   File   > Close


   13   File   >    New > Activity Log > OK view                                             all    data download                   and ready to be imported into CAMS and

        EdExpress                     may have imports from previous                                                fafsa    pell   years that need to be imported and

        processed

   14   Click      Close to exit EdConnect

   15 Connect             to      OpenVPN on your machine

               a         Click        connect               or enter              password           if   not connected                   contact   Financial   Aid Specialist or

                         Director


   16 Go to CIAMDATA and copy                                                         paste         the    ISIR       text   files   to   101295finaid            network    shared

        drive



Import into CAMS

   1    Go to CAMS Enterprise Home page

   2    Turn on OpenVPN from the bottom right corner                                                                      click   the up triangle to view        OpenVPN icon




   3    Right click              to     Connect

   4    Click      OK to log in as vpnuser

           OpenVPN            Connection      fwudp1194config


           Current State       Connecting


            Mon    Jun   25    125127    2C1OptiVPN 241 x8664w64rningw32   SSL OpenSSLEI LZOIL7411PKCS1111                                AE
            Mon    Jun   25    120127   2G1 4VIndows veion 71 Windo 7 71it
            Mon    Jun   25    120127   2O1     L                             L   1           Jan         L11   2




                                                    Opt       =
                                                                     Use   At1        I   ation    1udp11

                                                     Usemame


                                                     Password



                                                        I   Save   password



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                   Essconrieot                       Reooririect




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                                                                                                                                                                                      USA001047
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  The     config        window               will    briefly            show and disappear                                 when connected

   At the bottom right corner                                      you      will       see a connect                      notification




                        Ofwudp1194config                                                  is           now connected                                  11C




                                Assigned             IP 102292




   Click    Tools >Import >Financial                                     Aid >ISIR Direct The                                 Import Direct window opens

    ED E ISIR   Import Direct      Internet Explorer




                                   11   CAMS             Enterprise




                       J Criteria                                                                              Holding                               Import




         Criteria
                                                                                                                                                        Help   4 Cancel

                Read   New Document

                                    File   path   must   be   in   UNC term      and   reachable         from the      CAMS   database      server


                                                                                                              Browse




                                                         College       FICE Codes Used                 for   Housing Status

                       FLSetupID           Scheele                 I Coliegename


                                            104380                 H   askellndflftmflrs



                        I



                  rsiR Year   Indicator
                                             12017       2018J Academic Year                   I
                                                                                                                         Default Financial       Aid Y




                                                                                 Previous Imported            Flies
                                                                            oi




                                                                    Batch   Assign      Financial            Aid Years

                       SOLOuerylD          UOueryescription                                        1   FinancielAids     f Financielikid1




                                                                            70 Parse Document


   Click    Browse            to    open and find the txt file from step                                                        2


   Select       file   from network                       shared drive




                                                                                                                                                                          39




                                                                                                                                                                          USA001048
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                                                 1111111111111111111111111111111




                                  a   Computer



        Organk                        Burn            New       folder



                                                                                   Name                                           Date   mo41fied            Type                    Size
             Favorites


         gir     Desktop                                                             Hstoncal                                     1222           914    M    Filefolder


             A   Downloads                                                           finaidkst                                    12B           551 PM       Tekt   Document                0 DB


                 Recent          Places                                              pgas18op     2002                            1 222017       9140   PM   002    File                    1   KB


                                                                                     pgas18op     12003                           12 21 +2017    B40 PM      003    File                    1   KB


             L   kraries
                                                                                     pgas18op001                                  J a 2017 914          PM   001    File



                 Documents                                                                                                        L22222017      914    PM   002
                                                                                     pgas18op002                                                                    File                    1   k



                 Mu                                                                  pgas18op003                                  2LA201 B4             PM   003    File



                 Pictures                                                                                                         122A201        940 PM      004    File
                                                                                     pgas18op004


         11      Videos
                                                                                     pgas18opdat                                  1221201        940    M    DAT    File




                                                                                     pgle18op038                                  12222017      940 PM       038    File




             Computer

                 as c


         cB DATAPART1                     DO

         idt     billing         11101295       WO
                 dfsrootcsMsvr3X0

                 financialaid          CAcamsdataVO

                 finaid      V101295            1

             Network




10 You have                  to       type        in       101295finaid                                     in   front of the       file   you select file                   name     at bottom      of


     dialog       window
         a           If          the above prefix required                                          is    not entered         you     will      get the error message below

                           VBScript            IS1F      Dirct




                                  He path        must be                  a   UNIC   path   in   the form   server parent     directory    directory




                                                                                                                                           Ii




11   Click   Open

12   College         FICE             Codes                                   =    already       set for Haskell           Indian     Nations            Unv

                                                                                     College      FICE    Codes Used       tor Housing     Status

                           FLSetupID                           ch0011D                    CollegeName

                           111                            1111141N



                                                                                                                                                                                                t




13   Select       appropriate ISIR Year Indicator                                                         Academic          Year and Default Financial Aid Year




                      ISIR            Year Indicator                               NiTTITEE                   Academic         Year                                        Default   Financial Aid   Year




14   Click   the PARSE Document                                                      button



15 CAMS will                     automatically                                 go to the Records Tab                  if   there are records to import




                                                                                                                                                                                                          40




                                                                                                                                                                                                          U SA001049
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      Record                                                                                                                                                                                                                                                              Cancel
                                                                                                                                                                                                                                                     I5   Help




                                                                     Academic Yea                I
                                                                                                                           s               Financial                            Aid     Year IFA17 ado




                        97=
                                                                                                     II   SIR Records                to             be limported

                   Do cu mentIn                FinancialBtati         I
                                                                          StunentlIIT                ThidentFrdt                  ActiveFlag
                                                                                                                                  ActiveFlag
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                                                                                                                                                                                                                                          StudentFirst           I
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                  4                                                         CIT                                                                                                         77C17 I 11FIXICO                                            CE

                   4972                        5520                       110601                 I   541118                                                   rILL42017 11                                 Id   I   MITCHELL         I    CYRILLE




                  111

                                                                            Set   AM                                      1 Set                     All       In    et                                     Comp          e




                                                                                   PtMt    ble Conflicts                  VIth              Existing                          SIR       Records

                                               FirstN a     me        I   Iliddlnllame                      ientUID                                          eFisc                      Lrni                        Einar Ci7IITAF   ll
                                                                                                                                                                                                                                          Fir on   cialStati     II   Apollo




16 Take      a print screen of the                                    ISIR         Records                   to     be imported                                                          Make sure you see the first                                                  and last

     names and middle initial                                       of      the student                        records

           a      To print screen ALT+PrtScn

           b       Open MSWord and                                          paste         CTRL+v                          print                          screen



17   Select      Set       All     Active                    button             so     the updated                            ISIR                           record                      will        be imported



      VBScript   Continue




                         you want        to set      all   ISIR   Records    to be Inn ported             as Active       Hint                  Yon

          fsIpro
               Can Set            Records      Individually by Clicking                on the    Active        Flag   Check                 Box

                   on    the     Record   You Which               To Change        You Can           Also    do the Same                    for

                   the    Lock    Held    In   the     Lower       Grid Any Locked              Records        in   the    Lower

                   Grid   will    be Unlocked




                                                                                                     Yes




           a       If    Yes        it    will             check          all     records                 in   top grid as active

           b       If
                         No        it    will          not do anything

18   Click   Holding               tab




                                                                                                                                                                                                                                                                                   41




                                                                                                                                                                                                                                                                                   USA001050
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           EDE LSIR   Import       Direct                    Internet Explorer




                                                                                   CAMS Enterprise


                                    Criterid                                                                                                         Qum       tit                                 Holding                                    lif0



                                           tootle

                Holding
                            111
                              I




                                    loop
                                                                                                                                                                                                                                             E9 Help    A Cancel



                                                                                                                                                                     ISIR Holding       Records

                                  FinancialStat                                       StudentUID                                        StudentSSN                     IlActiverlag          lApplicationR             StudentLast    StudentFirst     Stuck

                      IMO
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                                  IL1121J           000000000000000000000000000t                I   00000000000000000000IIPIII          448112797                                                      41       ri             clic    L




                                  Al         I




                                                                                                                                                Sel All Active                                   Se   All   Inactive




                                                                                                                                         Report            I   Exception            Report   DC




                                  ProspectStudent                                           Import                               Job Name


19   Click   Set      All   Active                                  button

20   In   Report drop down                                                 menu                 > select                                 Exceptions                             Report        DC
21   Click Print       No need to print just set to active

22   Click   on the Import Tab



23   Select    the Package                               as                        Load     dropdown                                            menu and choose                                 Full     Time option




                                     Pi          CAMS Enterprise


                        Htpuia                                                            Recd                         s                                   Holding                           Jihriport




             Import                                                                                                                                                                                      4C


                EDE ISIR Import

                                                 Academic                            Year   I                                            Financial         Ad Ye




                                                                                                                                  Package       as Load

                                                                                                                                                                      Audit
                                                                                                                                   Package       Status
                                                                                                                                                                      Full   Tine

                                                                                                                                                                      Half Tine
                                           Update                     Existing          Status               Records                    with   ISM    Data
                                                                                                                                                                      Less PiT

                                                                                                                                        Transactions                  NonMatric
                                                                                    Import All Duplicate
                                                                                                                                                                      Pad Time
                                                                                                                                                                      Three OuatterS

                                                                                                                                                                      Withdrawn




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                                                                                                                                                                                                                                                               USA001051
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      24   Select                   the Package                  Status            dropdown                          menu and choose                      IN   PROGRESS option

                                  SIP           DrJ          ILL

                                  E       H              61   CAMS          Enterprise



                                                     terra




                                  Import




                                        EDEIinpOrt
                                                                Academic    Year      7                        Financial Aid Year
                       11111111




                                                                                                        Package        as Load     V




                                                                                                             Package    Status

                                                                                                                                            PROGRESS
                                                             Update   Existing   Status            Records    with   SIR    Data       p      GED

                                                                            Import All Duplicate               Transactions            p

            1111111111v1




                                                                                                       71 Im            1                                                    Dip




      25 Check Update                                  Existing            Records with ISIR Data checkbox



      26   Click                  the IMPORT button


                ESHpt                         EIDE   11liFt                        W111111111111




                   Import was successfull




                                                                      OK




      27 You have imported the updated                                                                 ISIR      records                   for the     students

                     a                   The     import creates the financial                                               aid status              record     in   Financial       Aid >Maintenance>Status

      28   Print ISIRs                        that      were imported Find report at Financial Aid                                                              >   Report      >   HINU   FinAid    ISIR Daily


           Report

                     a                   Enter year = YYYY                         ex 2017 for 20172018                                              2018 for 20182019               etc
                     b                   Click       Submit report displays the                                             last           14 days




Duplicate ISTR Conflict

The   occurrence                         of   isir    conflict          may happen when the student makes a correction                                                                or Financial    Aid office

requested       a      regeneration                            of     an    isir   record On import you may run the compare                                                           report to     view   the new

and previous                      isir    values The                  steps below                       will         show you how to                     pick the most recent record to import




 BIO       MIES fOr                                                                Drt                                      St


 You gum                                                               $1               ors le




                                                                                                                                                                                                                   43




                                                                                                                                                                                                                   USA001052
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                             r1I




         Records
                                                                                                                                                                                                                                    7 Help                                    Cancel




                                                                                Academic            Yearr          1                            Financial Aid Year                               FIFA   17 j7

                                                                                                              ISIR Records                to be Imported


                       CceumentC                                        FinercialStati              tudentUID                StuzlertSSN                                    11Activenag                  cationR         tuzlertLat                                     Stu


                                                                        5 521                      LL424                     51CS1EL                                                              1212i2C117     12CCEEA                                                PATRIC

                                                                                                                                                                                                    e77Zii M14+191i1        Xi
                                                                                                   10691                     544158118                                                            2262017       120     MITCHELL
                                                                                                                                                                                                                                                                                                        Top Grid




                                                                                                                                                                                                                                                                              ifI

                                                                                              11                              E1       Set All                             InacIttwe                       ampere


                                                                                              Possible        tar flicts            with           Eletiricj                       SIR    Records

                                                                                lome           Tiitame                      IturlUI                                         lActivenagii          Lock                  FinuncialISAF                              II   Finene


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                                                                                                                                                                                                                                 1111111111111111111111111111111
                                                                                                                                         1111111111111111111111111111111




                                                                                                                                                                                                                                                                                                         Bottom
                                                                                                                                                                                                                                                                                                         Grid



                       jJ




1   If    an    ISIR    is
                                   already imported for a student                                                                    you                        will            see the duplicate                     record            in                 the bottom grid

    Possible Conflicts with                                                        Existing               ISIR     Records

2   Select       and highlight the student                                                               in   conflict              in      top grid

3   Click       Compare button

4   Click       Yes for Confirm Compare                                                                  message box

5                                                                                                                                                                                         New value                                                 Previous value
    The        ISIR    Compare window will show see below

                                             I       LEttlet gicolopEr




               This    page         shows onlly the                                field=     LI     t   contain       cr
                                                                                                                            teret vaiLes                                     atween       the   existing   IS   IR
                                                                                                                                                                                                                     iii4Ametion               and what                        is
                                                                                                                                                                                                                                                                                    being   irrip11ed



                        Import tolISIIR                                     Comparasion

                            Felld       Name                                                                                   lImport Value                                                                    SIR Value
                            Birth Prior                                                                                                                                                                         No
                            Yearindicator                                                                                      18                                                                               2417

                         NSLDSPellIlLifetimeEligibilityUsed                                                                    050000                                                                           1254000

                            NSLDSS                                     bsidizedUsageLimitAppliesFlagIN                                                                                                          Jo


                         NSLDSSubsidizedLoarilEligibilityUsed                                                                  040000                                                                           001755




    It    shows you the fields that contain                                                                       different                 values between                                         the two records you selected You

    may print the comparisons                                                            if        needed

6   Close ISIR Compare                                                    window                   click      X

7   If   the values are the same do no import leave the ActiveFlag checkbox                                                                                                                                             unchecked                                        in      top grid




                                                                                                                                                                                                                                                                                                 44




                                                                                                                                                                                                                                                                                                U SA001053
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                                                                            Academic            Year                                     Financial Aid Yea               FA17

                                                                                                           ISIR   Records to                   be Imported


               11DocumentID                                      FinancialStab          11StudentUID                       StudentSSN                 ActiveF la g           Application P         StudentLast                                          Studer


               14985                                                                        44424                          51413S1645                                        212E2017      12 Oil B EATTY                                           1   PATRIC
                                                                                                                                                                                                                                                                 l


                                                       551J9
                                                                      2                     10691                          5441E8110                                         212E12017     12011141TC        HELL                                       CYRIL

                                                                                                                                                                                                                                                                          Top Grid
                                                                                                                       I




                                                                                      AM        Active
                                                                                                                            74 Se              JIInactive                            Compare



                                                                                       Possible Conflicts                        with F xiFtir g          11SIR     Records

                       13m                                     11Firstrl     m              I
                                                                                                Ildlelte   me      11      Stu   entLIC               ActiveFlagr       II
                                                                                                                                                                             Lack                  Fin   a   n c                                        Finn
                             1111111111111111111111111111111
                                                                                                   0000000                                                                                                         111111111111111111111111111111




8   If   not the same Import Value and                                                                     ISIR    Value from Compare                                        report then                 click                      the ActiveFlag

    checkbox         in   top grid to check
9   In    the Possible Conflict                                               bottom grid click                                   ActiveFlag                 and Lock clieckboxes                                  to               uncheck

                                                                              adem Yrr                                            NI     Financial Aid Year                          7



                                                                                                           1SIR   Records              to     be Imported


                DocumentID                                                 cialStaN
                                                               11Fin a n                                                               1SISN          ActiveFl               Applicatio n R        StudentLast
                                                                                                                            tu    r




                45                                             15521                               424                                                                       212E2017      12011BE41TY

                4985                                            5 519

                                                               15520                                               I
                                                                                                                           54i1EC      118                                   21262017      1201i   MITCHELL                                                                      Top
                                                                                                                                                                                                                                                                                 Grid




                                                                       17 se          All       Active                                 Se        Inactive                            Compare



                                                                                       Possibte            Conflicts             with Exi                 SIR Records

                Lastriame                                       F irstil   a me
                                                                                        1111i331eriame
                                                                                                                           Student       IC                                                                                                                               Bottom
                                                                                                                                                                                                                                                                          Grid


10 Repeat above                   steps for                                  each           duplicateconflict                                  isir    for the        importing and locking records




         VBScript    Cannot Continue




           Student    Fixico                          Terence                     L has both an Active                                Record          to Import and                 al   Locked

           andfor Active                      biisting                       Record                Pllease        choose one Active Record                                   or     the Other

           Before    Proceeding




                                                                                                                                                                                              OK



    This error       will         show                               if
                                                                           you did not make one Active and one Not Active You have to choose




                                                                                                                                                                                                                                                                     45




                                                                                                                                                                                                                                                                     USA001054
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                                   Criteria




            Criteria
                                                                                                                                                                                                    ET    Help       Cancel



                    Read       New Document
                                                      File    path       must be in UNC form and              reachable                            from the    CAMS database           server


                                                                                                                                                     Browse


    11   Click Criteria                 tab and       it    will    take you back to Import Window                                                        >   click       Browse > drag imported                 isir


         text    file    to    Historical            folder

                a        A Move               file    window will show and ask you to Move and Replace                                                                            or    Dont move or

                         Move             but keep            both fileschoose                   Move                                    but keep         both files

    12 Continue               to   import the rest of the                        isir   text   files    and repeat                                    the     file    move
    13 Log out of OpenVPN by right clicking the                                             icon
                                                                                                         111111111111111111111111111111111111




                                                                                                                                                Customize




    14   Right click           to       Disconnect



Open the local            Microsoft                  Access Database

    1    Open database                    at XHaskellUniversity                           ServicesStudent                                           ServicesFinancial              Aid


         Documentation20172018                                       Databaseaccdb

                a        You       will       check        the students            listed      on the           isir                        report to         see    if   their physical        files    are

                         started          or    not

                b        If   in   database                file     in    process

                c        If
                              correction              you         will    need to be print             isir              from cams and                               pull   the file    update          student

                         notes           in   cams and


import into EdExpress

EdExpress software                 is   an application                   designed       for schools                    to                   process and manages federal                         student        aid


records EdExpress is windows                               based and has to be downloaded                                                          and installed yearly Haskell                     is   using this

software to store and backup                          the         isir    records       imported to                      CAMS

    15 Import isirs                to    EdExpress

    16   Login      to    EdExpress

    17   File   >   Import

    18   Click      on   App Express                   tab

                a        Import type =                     ISIR    DATA
                b        Import From                  = select            one   file    at a time      for each                                    file


                c        Select          OK after each time

                d        Click          Cancel       at print            option screen




                                                                                                                                                                                                                     46




                                                                                                                                                                                                                     USA001055
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               e     Packaging          tab

                                i    Import type

                           ii        Click   ok

               f     Click      Pell   tab

                                i    Go to each options                 for      Import Type    15 options
                           ii        Click File        if   any   files    >     go ahead and   import

                          iii        Click   OK

               g     When completed                    click     Cancel

   19   File   > Print >        Batch Report

               a     Report = listed               processed              isir



               b     Options > sort by Lastname

               c    Trans Preference                =       Highest

               d     Selection         criteria     >       add date range it should            be the   last   date on the previous   batch

                     report the day after you imported

                                i    Query     title        >   add date         range > OK > OK

                           ii        Enter    Field value           =   ex 2017 05 03

               e     Click      OK

               f     Click      ok to print

   20 Move the imported file                      to Historical           folder     in 101295financialaidhistoriciaN


Lok ISIR Records             iii    CAMS


   1    Click      Home   button

   2    Go to Financial Aid              >    Maintenance               > Find Student         by name
   3    Select     Academic            Year = YYYYYYYY                  ie 20172018

   4    Click ISIR tab

   5    Doubleclick          student         record         to   open




                                                                                                                                               47




                                                                                                                                               USA001056
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                          Appl        Recyd     DT 12262017                                                                                 Application      Type    I
                                                                                                                                                                         Initial   Application            0

                        Verification       Code 1Vre3                                                                                          Housing      Status


                                1Primary       EFC                               a                                                             Secondary      EFC

                     Dependent             Status     Iindependent                   lv    I                                     Alt   Primary   EFC   4   Months

                           Automatic           Zero

                                               IEFC                    43        No                                                       Enrolled Grad1Prot             0         Yes        Cil    No


                                                                       a No                                                                                              0
                               Prey Bachelors
                                                                                                                                                    Birth Prior                    Yes        Ci     No
                                          Degree

                    Total FIISAP          Incom                         5000                                                                  Family Members         r              1




                                Transaction           11
                                                                                                                                          Active ISIR      Record        I     Lock       C1

                               Pell   Eligibility      I=1


                                 Pell     Lifetime
                                                                                                 Pell   Lifetime   Limit    No Problem
                           lEligibility     Used
                        Subsidized         Usage                                                   Subsidized      Loan
                                                                                                                   Used
                                                           I
                                Limit Applies                                                       Eligibility



                                                                Who Created

                                                               Who   Cliangedr On r



       6     Click   LoEk checkbox                         to lock      the record

                    a          You      will    need to lock                it    so       the duplicate             ISIR   check        on      import will         show you the conflict
       7     Click   Update
       8     Repeat and lock each                              record    from the import print screens when                                            imported into CAMS

             NOTE         If
                                you have              a large        import such                   as    the beginning             of the        year email your CAMS Manager

             to    do a mass update                        on the Lock field




View Student Data
After      importing ISIRs you                    will     navigate              to    Financial           Aid > Maintenance                     and view imports and print full

ISIR   reports



Status Ti

Holds Financial Aid Status information                                           including              package       status budgeted                  cost of       attendance                       COA EFC
data etc          Common Origination and Disbursement                                                      COD Entrance Counseling Master Promissory Note
CreditPLUS Application                          Information                 and Award                    Usage      Limits are also displayed                        here           It   is    crucial        that


the Status information                         be complete              to       use the automatic processes



The    status      tab gets created when                             an isir          is       imported to         CAMS The isir has to match on SSN                                            if   not

matched       it   will    reside          in   Holding table                    until         theres       a   match       It   will    automatically show                         in   this tab             when

the match happens




                                                                                                                                                                                                                     48




                                                                                                                                                                                                                     USA001057
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   1   Go to CAMS Enterprise Home page

   2   Click Financial       Aid >Maintenance

   3   Find   Student search window opens > Enter part of last and first                                                                                                                           name of student > select and

       doubleclick       student record                               to                   open

                    Status




                                                                                                                                                                                                                                                           11111111
                                      IIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIII                                      IIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIII




          Financial      Status
                                                                                                                                                                                                               vs Sere         LI Help   41Ir   Cancel




                                                                                                                              Academic Year


                                                                                                                                                     12
                   Fir   1   ear     Pa    cfre              gedFbr                                                Dire ctC astType           PS LAEILCzr                                                       Rernairjr         fft




                                                                                                                                                                                                                                        ESL
                                                                                                             11




                                                                      IIIIIIIIIIIIIIL
              2                      Full         Time                                                                                        IN   PROC RE ss                                                                            S   2CrE




                      View   MPN   View EntranceflExit                                                                        Counseling     + View CreditPLUS          App                         info       Award Usage        Limits




                                                                                                                                      Student      MPN


                                                                                               MPNIndicator                          MPNID                                              14       PN Lin kin dic     14   PNE




   4   Academic     Year = select yea rYYYYYYYY

              a   Recommended         to select                                                             the year you are viewing                            the record to not get confused                                                      with

                  other years



ISM Tab
   1   Click ISIR tab




                                                                                                                                                                                                                                                           49




                                                                                                                                                                                                                                                           USA001058
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                                                                       MOM
                 Status




                                                                                                                                                                                   7 Help       Cancel

                                                                                                                                                 11111111111111110




                                                                          Filter    to   Package         I
                                                                                                             FA17SP18             se




                                                                 Active      ISIR   record     has     different       background        color



                ActiveFlag                I   Lo cic              I   InsertUserlD        InsertTime               I   UpdateUserlf        I   U pdateTime                   1St

                                                                                                                                               1111a32111




                       1




                                          ISIR         record   came    from the import of filflamsdatalinancialaicaidsal




                                                                                                                                 Full    ISIR    Re


                                                                        Comment Codes               for selected         ISIR record

                CornmentCod                                                                                                             Resolved                          Note           UpdateUst
                                              Comment

                                                                                      bee the                  below           make

                                                                         r
                                                                                    lobse       checkhst
                                                                                                checklIst                 to


                                                iL                              dip n    to
                                                                                              Your information           You may




                                                                                              Set    All to   Resolved




                                                                               ViewHide         Custom 19R                records




   You may notice a couple of things here about the ISIR before                                                                                you view the detail



           If    multiple ISIRs                           you    will     notice a different                           background

           If
                 you open the record you                                        will     see detail info with 2 pages to view

           Shows where the ISIR was imported from with url and data file                                                                                                     size info


           Full            Detail         report           button available                     for view

                   ISIR     Full Detail   In



                                                                                                ISIR    Full Detail




                Held       Name                                                                                                Value

                Fi1001C     aISIusjD                                                                                           €046

                SludenkliD                                                                                                     48E146


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                Lock                                                                                                           False

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                InseriTime                                                                                                     31242017 s4314                        AM
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                StudenISSN                                                                                                     XXXXX
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                Address




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                 Full    SIR Report         button     available                for             view                     the report has more pages

                              I   See top left   for    page           navigation

                         ii       Export option      first      icon


                        iii       Print option   second icon




                                   I   II




                                                                                                                        2017      2018           Institutional                 Student          Information                   Record




                                                                                                                        Important       Reed       Al information              to   find out   what    to   do   with    this   Report
                                                                                                                              er eV



                                                                                                                                                                                     OMB Number             dindrttdda
                                                             student name      and

                                                             address          here                                                                                                   March     272017
                                                                       info


                                                                                                                                                                                     EFC                                           $1221200




                                                      CommentCode                    Comment

                                                      001                            WHAT        YOU        MUST          DO     NOW         Use the checklist             below to       make sure that           all   of   your issues are resolved


                                                                                     If
                                                                                                need             make correcbons to yaw                   make them wine at twAyfresagoy
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                                                                                                                                         SM
                                                                                          you               to                                                                                                                                             using
                                                                                     your FSA ID or by using the        If you  need additional help with vow SAR contact    yaw schools
                                                                                     financialad dfioe a visa ynnylafsagov     and click the Help icon   on the FAFSAhome page       If your


                                                                                     manng acbress or email address changes             can make the carectian  online or send in the correction
                                                                                                                                                                     you
                                                                                     on    your      SR
                                                      112


                                                      383                            The    name you             reported        for   your    first   parent on your               FAFSAdoes         not   match        the Social    Security
                                                                                     Administraticns

                                                                                     SSA        reoords            If   the    last   name and         first   initial   you    reported       in   Items 82 and         83 are correct    contact   the

                                                                                     SSA        If   they    are        inconect       you    need     to make the         necessary           correcions




                 Shows the comment codes                         tied to                  document                             tracking                   items



Awallis Tab

   1   Click   Awards tab




                                                                                                                                                                                                                                                       51




                                                                                                                                                                                                                                                      USA001060
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                      Status                                    jittri                                        Awards                              bocuenemit




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        Financial             Awards                                                                                                                                                                           Cancel
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       This    is   where you will see awards                                                                    Pell              SEOG Tribal and Private                                                grants and scholarships

       Addupdate                                     awards here

              a               To add                       right click              white space

              b               To update                             highlight                 award and doubleclick                                                  to       open

Documents       tab

   1   Click    Documents                                    tab


                                            St MIA                                                                                          Awards




                                                                                                                                                                                                                                                                               ittt
                                                                                         SIR                                                                                                      Documents
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        Financial                                 Documents                                                                                                                                                                              Savo     1HIp      odit
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                                        DocDate                 IDocName                                                           DocDesaipt                                                                  DocStatus                        IComments

            1MI 03f2412017                                          FIN   Data   Release               Form                        Data   Release        Form                                                  INCOMPLETE

                                        032412017                   FHFRA4 Form                                                    Complete           sign and     submit the        FERPAIAu                  INCOMPLETE
                                        03242017                    FIN Verification           Packet                              Please complete           sign     and     return      the          atte    INCOMPLETE




                                                                                                                                    CZ Load Doc Seq




                                                                                                                                                                                                                                                                                      52




                                                                                                                                                                                                                                                                                      USA001061
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       These     are   all    the document                 tracking         items you setup at Tools >Import > Financial Aid > Doctrack

        Autoload       or you        may manually add them here too There                                                         are      two areas to viewaddupdate

        document        tracking             items

            a      Below       is        another area you may find Document                                                    Tracking        items are at Financial                                                              Aid >

                   Document                 Tracking

                                           Documents                  utqr       474fo
                                                                              111111111111111111111117k
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                       Document                Tracking                                                                                                                                        ave                                                  Close
                                                                                                                                                                                                                                 riT   Help   III




                                                                             Document                        Tracking       Module FINANCIAL A ID



                                    11   Location          CocE ate          Dona me                                              CocCescrip     Lion                                                                           DccStatus

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                                         FINANCEAL                     17    FINFERPA                       Form                  Complete      sign    an   i    L mit   the       FE    FtWAp                                 INCOMPLETE

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                                                                                                                                                                                  Lkrn    the                 attz              INCOMPLETE




                                                                                                                                                                                                                                                      1

                                                                            Documents                       with    images show    with    alternate     color




                                                    Ea Lose Dee Seq                                        Delete
                                                                                                                              Ea Load Colleges                                           Delete                        Image




                                                                                                              EaView Full Screen


                   You can also add manually here too



More Tab
   1    Click   More tab




         More                                                                                                                                                                 e           I
                                                                                                                                                                                                 1 Hulp




            Other Iriforniation




                       Acadeinio         Progress          + Billing             Report                        +     Address                                     User     Definedl                   Fields




       More tab        Provides              links    to   view   a     students academic                                     progress demographic                                       billing                                  and

       address information without                          having to exit the Financial Aid Student                                                     Maintenance                                             window                       You

       can also generate                 reports       and emails from this tab From the Financial Aid Student Maintenance

       window      click      the More tab to view the following options


           Academic           Progress                Displays Credit and Transcript                                          completion rates The Credit columns

           include      all   registered              courses that have                                   a Show      on Transcript             value of Yes regardless of

           grade The Transcript                        columns         looks at only those                                   graded courses that affect transcript

           attempted           hours where                 Show on          Transcript                         =    Yes View only

           Billing      Displays             Term Transdoc                  Financial                        Aid Yes or           No Debits Credits and Balance View
           only




                                                                                                                                                                                                                                                     53




                                                                                                                                                                                                                                                     USA001062
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                     Report          Allows you to generate                     the following       reports specific            to the   active       student   Award

                     Letters Award                Ledger           and Academic          Progress

                     Address          Displays           Home         Local and        Billing   addresses        View only

                     Email         Opens a blank email form                       using     the active students           primary email address

                     User Defined             Fields          In   addition to      the data fields already              available       CAMS provides          these

                     fields to      capture            other data about            students The           labels to   these fields are configured

                     according        to     your institution within the                     CAMS Manager module

                         Note The More tab displays information important                                        to Satisfactory         Academic        Progress

                         SAP

Review Student ISIR Doctracking                                                   and Files
Find    all    student        ISIRs   imported based                   on print screens or running the doctracking                            report The student

has to have their acceptance                            letter      on file    with financial      aid    before    starting a        paper    file   folder The

financial          aid specialist          will   verify the following             for      every student



    Acceptance           Letter      received           by financial          aid office


    Run doctracking             or    batch report

    Start     Processing Checklist

    Print student           ISIR    and review for verification and checklist

    Add doctracking                items to student                record      based     on checklist      if   doctracking       autoload       did    not add them

    Verify enrollment status                      in   CAMS New               Continuing         Re add or Transfer

    Add notes          in   student record              in    CAMS
    Email     doctracking           letters requesting                   student       to   complete based          on   ISIR    report


    Transcript

    Class     Schedule

    COD Report
    Transfer        Transcript        if    student          is   a transfer




Processing               Checklist

Example of Checklist

Haskell       Indian     Nations      University                  PROCESSING        CHECKLIST
Financial      Aid

2016          2017



Verification             V1 Standard                V3 Child Support               V4 Custom          V5 Aggregate               V6 Household            Resources

NOTE    the    verifications
                                change      every   year

H    no calculation
Financial          Aid   Warning           Financial         Aid Suspension                        File    Processing      Dates

            Haskell Admissions Acceptance                          Letter                          ISIR                               Start


            4 Year       Program      Acceptance             Letter

            ISIR                                                                                   Starting Semester              M
                                                                                                                                F S


            COD                                                                                    Enrollment Status            NCTR TR
            Haskell Transcript                                                                     LEU                                 COD
            Transfer        Transcripts                                                            On Campus                          Off Campus

                                                                                                   CGPA                                ATT HRS




                                                                                                                                                                        54




                                                                                                                                                                        USA001063
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DEPENDENT                  INDEPENDENT                                                                                     2 Yr                                  4     Yr                  150 Rule

Trans    No         EFC                               Comment                                                              Date             Initials




                                    Initials          Date                                                 Initials        Date

File   reviewed       by                                             File   reviewed      by




On Processing                   Checklist       indicate          what documents                    are being            requested          from the student to be completed and

returned to the                  Financial           Aid Office        to process the students                           file


Processing        Checklist

DEPENDENT                           INDEPENDENT

                                                                                        2016         2017    Financial Aid         Forms

Requested                                                             Received                                                              Final    Review

       Data    Form                                                            Data    Form                                                         Data     Form

       FERPA                                                                   FERPA                                                                FERPA

       NIIMNC                                                                  NH MNC                                                               NIIMNC
       Verification        of   Income                                        Verification          of    Income                                  Verification           of   Income

       Low    Income                                                           Low Income                                                           Low      Income

       SNAP      Benefits                                                     SNAP      Benefits                                                  SNAP        Benefits

       Child Support                                                          Child    Support                                                    Child Support

       Nontax      Filer                                                       Nontax    Filer                                                       Nontax      Filer


       Untaxed      Income                                                     Untaxed     Income                                                   Untaxed      Income

       High School         Completion                                          High School          Completion                                      High School          Completion

       IDEducation           Purpose                                           IDEducation           Purpose                                        IDEducation           Purpose

       Notary Documentation                                                    Notary Documentation                                                 Notary Documentation

       Special    CircumstanceReEval                                          Special    CircumstanceReEval                                       Special      CircumstanceRel

       Childcare Budget                                                        Childcare Budget                                                   Childcare Budget



Notification       Letters

        High LEU           please     come     to    FAO for      further    explanation

        Log on to      FAFSA to use            IRS   Data    Retrieval      Tool   to transfer tax info               or provide    a   2015    Tax Transcript

        FAFSA indicates more than                     one   in
                                                                 college      please    provide          documentation          ie      class   schedule

        Complete           Academic      Plan with your           Academic         Advisor and return information                  to    Financial     Aid    Office


C Code Findings




Labels for New Files

Make two              labels for each                   new file             One for the Processing                             Checklist           and one for new folder

5202P5                                                Term 20162017
Last     Name First Name Middle Initial
Opened DayMonthYear


Each folder needs to have a label put on it                                                    if    it    has any of these issues

             Verification              green
             Hi   EFC       blue
             High      LEU        redpink
             Warning             black
             FNA yellow


VerificationNon                            Verification

Non Verification                      Files


If   there are no unusual                            circumstances                  noted on the FAFSA the only documents                                                      to   be requested   will   be




                                                                                                                                                                                                           55




                                                                                                                                                                                                           USA001064
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         FINDataFerpa             Form

Verification        Files


Depending          on what type of verification status a students                        file   is
                                                                                                     flagged   with the school    is
                                                                                                                                       required to

ask for documentation              of support         the verification      being requested             by the Department of Education

Verification        1   Standard
         Student        Data    Form

         FERPA

         NHMNC Number                  in   householdcollege

         Verification of         Income        Nontax        Filer


         Verification of         Other Untaxed             Income

         SNAP

         Child     Support

            FINDataFerpa               Form

Verification        2 Reserved

Verification        3   Reserved
Verification       4    Custom
         Student        Data    Form

         FERPA
         SNAP
         Child     Support

         High    School        Completion

         Identity and Education               Purpose

            FINDataFerpa               Form
Verification        5   Aggregate
         Student        Data    Form
         FERPA

         NHMNC
         Verification of         Income        Nontax        Filer


         Verification       Other Untaxed            Income

         SNAP
         Child     Support

         Higher School          Completion

         Identity and Education               Purpose

            FINDataFerpa               Form

Verification        6 Reserved


Low Income
If   income     reported on       FAFSA       is   less   than $10500 you need to request a Low Income form

            Add     FIN   Low Income to doctracking                  in   CAMS

Additional         Documentation

If   conflicting    information or unusual                 circumstances     are   discovered           during the verification        process

additional       documents        can and will            be requested     from the studentparent                to verify   the information

reported on the FAFSA

            Add     FIN Special        Circumstances          to   doctracking     in   CAMS or appropriate doctracking                 item


Run Doctracking Report for ISIRs imported for AdmittedRegistered Students
To run the doctracking             report for        imported or admitted students follow the steps below




                                                                                                                                                     56




                                                                                                                                                     USA001065
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                                      61    CAMS L n lerpri se


                            Documents


             Document             Criteria
                                                                                                                                          Reset
                                                                                                                                 Help




               Doc   Date

                   From                                                                       Date
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                                                                                                     To
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                     Date
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                             ADMISSIONS
                             BILLING
              Location                                                                         UserDet         1992t93

                                 FINANCIAL    AID                                                 Field        1993t94   V
                                 FINLinusual Circumstance
                      Doc                                                                            Doc
                                 di
                  Name
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                                                                                                 Status
                                 HEAIMMUN


               Doc GPA
                                 Doctor
                 Group
                                 Grad


              Ref Field                                                                       Internal         All Yes IN°

              A13ciernic                                                                         Fin Aid
                                 201E2017
                     Year
                                 20152016
                                              V                                                   Year

bpail



1   EnterSelect the following Parameters                             in   Documents        tab


             Field Names                                    Field Entries

             Doc Date From

             Doc Date To

             Comp Date From
             Comp Date To
             Location                                       FINANCIAL AID
             Doc UserDef Field

             Doc Name                                       Select multiple   CTRL + each DocName                   FIN Data Release Form FIN Data
                                                            Ferpa Release   Form and FIN Verification
             Doc Status                                     Optional leave    blank   to   see all

             Doc     GPA Group
             Ref Field

             Internal

             Academic             Year                      YYYYYYYY ie 20172018
             Fin Aid Year                                   FAYYSPYY ie FA17SP18

 2 Click Students                     tab




                                                                                                                                                  57




                                                                                                                                                  USA001066
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                     HiiV CAMS Enterprise
     Ill




               Student Criteria                                                                                                         rf   Help               Reset




                             Student


                 Date Accepted                                                               Date      Accepted
                                   From                                                                      To     V




                                                  Employer     es
                          Acldr    Type           Father                                            Cancelled




                                                                                                           Adm
                            Campus                KU Campus                                                             Admissions     Records
                                                                                                                                                                 V
                                                                                                                                                    Registrar
                                                                                                  Counselor
                                                  MAIN                                                                  Adffssions   Assistant


                                                                                                                    51J13
                                                                                              IFyirt   IFntranerm
                    Status         Term SP 19
                                                                                                          Term
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                                        FA 18                                                                           FA 17

                              Student

                      Registered
                                              r                                                   Registration
                                                                                                         Status
                                                                                                                    r
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                   Enroll         Status          CONTINUING                                   Appl Status
                                                                                        0
           I


                                                  KU EXCHANGE



                Initial     Program               ACCOUNTING        AA
                                                  ACCOUNTING        MS
           I       Initial        Status          CONTINUING
                                                  KU EXCHANGE




      Field Names                                               Field Entries

      Student

      Date Accepted                      From
      Date Accepted                      To

      Addr Type                                                 Defaults   to   Home
      Cancelled

      Campus
      Adm Counselor
      Status        Term

      Exp Entrance Term                                         FAYY SPYY or SUYY
      Student             Registered

      Registration Status

      Enroll Status

      Appl Status                                               Admitted and Registered     select multiple               CTRL+
      Initial      Program
      Initial       Status




3 Click Reports               Tab

4 Choose Students                          By Document               option

5 Click Print
      You pulled                   all    students           who have document         tracking     = FIN Data             Release       Form FINDataFerpa

      Release              Form and                 FIN Verification       on their records and located                  in   FINANCIAL          AID for 20172018




                                                                                                                                                                        58




                                                                                                                                                                        U SA001067
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         academic                            year           in   FA17SP18 Fin Aid year and Expected                                                                                            Entrance Term SPYY with Admitted

         and Registered                                     statuses

   6 Print report top left icon                                                          or run          another report

   7 Click Reset on Documents                                                            tab to         pull   another Report

   8 Yes to Reset

Add Student Doctracking Documents

Doctracking    items may be added to student records at any time Some items are set to autoload                                                                                                                                                          on   ISIR



import



    1    Go to Financial Aid                                               >   Maintenance                         > Find          Student                                       > Select           Academic Year                        in   Status >

         Documents                                or Financial Aid > Document Tracking
              Fr13r1r                                        t   `1                             Inft           klrt




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                                                            Documents
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                         Financial




                                                                                                                   Filter   to Package                                    I   FA17SP18


                                                      Doc



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                                                                                       FINFERPA        Form                   I   Complete                               sign   and submit    the   FERPAAu        I
                                                                                                                                                                                                                       NOT   REQUIRED    I




                                        12 Jr             =Cri2G17             j
                                                                                       FIN   Law Income                           Please                    complete             sign   and   provide   justifii   I
                                                                                                                                                                                                                       COMPLETE




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    2    Right click                             in   white space                             to   open        a    new window to enter the doctracking                                                                                 item




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                                             Academic    Year       12020i           Financial    Aid   Year 1FA16       L30


               Location


                               3232017
                                                                                                 Completion          r
                   Date                                                                                  Date

             Document
                                                                                                 Description
                 Name                                                                                                r




                Status
                                                                                                 User Defined    r
                                                                                                         Field   V




             Reference     l




               Internal        ri




            Comments




                                              Created    By   I
                                                                                 On

                                             Changed     By                      On

3   Enter    the bold               field   names       in   table    below


    Field Names                                     Field Entries

    Academic Year                                   If   not matching          step      4 select correct year YYYYYYYY
    Financial      Aid Year                         Select correct         term ie FAYY SPYY or SUYY
    Location                                        Defaults         to FINANCIAL AID

    Document        Date                            Defaults         to   add date

    Completion Date                                 Leave blank

    Document Name                                   Select          document name from drop down selection

    Description                                     Auto populates            based on        Document           Name      selection

    Status                                          INCOMPLETE
    User Defined          Field                     Leave Blank

    Reference                                       Leave Blank

    Comments                                        Leave Blank or add a comment

    Internal                                        Leave Blank or check                 to   have it     available       internal   only

4   Click    Add

5   Repeat the previous steps for every add for document                                                 tracking        items

6   Go to CAMS Home                         > Financial           Aid > Report       >   Document           Tracking           Reports   tab to print your

    doctracking           letters




                                                                                                                                                             60




                                                                                                                                                             USA001069
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                       Student    D7      rne rit                       g
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                                                   Documents
                1111




                            Document                         Criteria
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                                        From        I
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                                 Location                                                                                           UserDet           111293

                                                                                                                                         Field        Df394 V


                                         Doc                                                                                               Doc
                                                            ADM         Application                                                                  COMPLETE
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                                                            ADM         Other
                                                                                                                                     Status
                                                                                                                                                     INCOMPLETE        V

                                  DocGPA
                                                            Doctor
                                   Group                    Grad


                                 Ref    Field                                                                                       Internal         All CYes 0 No

                                 Academic
                                                            20172018         A                                                        Fin   Ad
                                                            20162017
                                        Year                                                                                             Year
                                                            20152016            V
7

    Field Names                                                                 Field Entries

    Doc Date From                                                               Leave Blank        use the date   filter   if   you need    specific     dates

    Doc Date To                                                                 Leave Blank        use the date   filter   if   you need    specific     dates

    Comp Date From                                                              Leave Blank        use the date   filter   if   you need    specific     dates

    Comp Date To                                                                Leave Blank        use the date   filter   if   you need    specific     dates

    Location                                                                    FINANCIAL AID
    Doc UserDef Field                                                           Leave Blank

    Doc Name                                                                    Ex FINDataFerpa              Form
    Doc Status                                                                  INCOMPLETE
    Doc                GPA Group                                                Leave Blank

    Ref Field                                                                   Leave Blank

    Internal                                                                    Defaults   to    All

    Academic Year                                                               Ex 20172018
    Fin Aid Year                                                                Auto populates based on Academic                  Year

                       a     The        Students                     tab         you may         select a certain    group       of students          or a single      student   if




                             needed

8   Click                Reports tab Report Format = HINUFIN                                                 Docs Letter

9   Click Print




                                                                                                                                                                                      61




                                                                                                                                                                                      USA001070
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                                                                                                  trin11111r1




                                                                                                  Haskell Indian                           Nations             University
                                                                                                                                 Office   of Financial         Aid

                                                                                                                          155      Indian    Avenue       5027
                                                                                                                                 Lawrence        KS 66046

                                               1252018
                                                                                                    Alone             785 7498468                 Fax      785 8326617
                                                                                                                        Email faofficehaskelledu




                                                                                                                                                                             Student      ID     A00000

                                                                                                                                                                             School    Code 010438




                                               Dear Tierney


                                               Thank       you    for applying        for financial               assistance              We     have     received        your     20172018              FAFSA and
                                               started      your    financial       aid    file     Our records                   indicate     that   you need         to submit         the    following

                                               documents           or   complete          the     following           actions




                                                     Document           Name                                                                          Status                           Due     Date


                                                     FINDatafFerpa             Form                                                                   INCOMPLETE                      0610712017




                                               NOTE        All   documents      requested            must        be     filled    out   completely      and     have   all    required    signatures        before          any

                                               financial     aid financial      needs       analysis            or scholarships            can   be   processed           Please      respond         promptly   to   all


                                               document          requests



                                               Documents          can   also   be   downloaded                  athttpflwwwhaskell               edurfinancialaidiformsfinancialaid




                                               If   you have       any questions                please           feel     free to contact          our office        at   785 7498468


                                               Sincerely

                                               Financial         Aid Staff




    10 The   letter   will   display   and you may export as PDF format and attach                                                                             it    to      the email




Update Student        Doctrarking         Status on Completion

Once the student      is   notified via   email for documents the student                                                           has to return                      all      requested                   doctracking

forms to Financial Aid Office The          Financial             Aid Specialist or Director                                               will     document                      the completion of

each form   in   CAMS
    1   Go to Financial Aid        >   Maintenance               > Find         Student                         > Select                  Academic Year                          in    Status >

        Documents          or Financial Aid > Document Tracking




                                                                                                                                                                                                                                  62




                                                                                                                                                                                                                                  USA001071
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                  fIVIWAVOM


          Financial                 Aid Student               Maintenance      Internet       Explorer

                                                                                                                                            ffef11

                                                                    CAMS Enterprise                                                                                          ID     A00000


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                         MIN
                                                                                          t                                                                   Documents



                        Financial                     Documents                                                                                                                   Sav




                                                                                                  Filter to   Package        FA17SP18 V


                                                  Do cDate            DocName                                 ocescription                                             Do cStatus              Comments

                                                                                  etpakm                                                                               coL
                                                  04202017            FINFE   RPForm                          Complete     sign   and   submit the    FERPAiAu         NOT REQUIRED
                               3                  04202017           FIN Low Income                           Please   complete      sign   and   provide   justifii   COMPLETE




                                                                                                                             Doc
                                                                                                              7z1


   Doubleclick                                  to    open the item
                  Financlal          Aid        Student       Mantenance       Internet       Explorer




                          17 Home                              11   CAMS Enterprise                               76       Find
                                                                                                                                                                            ID      A000011




                                                     Status                                                            AWaRIS                            J Documents



                         Financial                    Aid Award Detail Ent
          11111111100




                                                                        Academic        Year      1
                                                                                                                         Financial      Aid Year     F
                                                Location


                                          Document
                                                     1PUIRG
                                                              14202017      1 El                                                            Completion
                                                                                                                                                     Date
                                                                                                                                                               F8232017              7
                                          Document
                                                  Name
                                                               PIAIrimtmMomm      Prirm                                     7               Description        iData Release            Form



                                                              COMPLETE                                                                   User Defined          r
                                                 Status                             v                                                                Field


                                        Reference


                                                Internal




                                       Comments




                                                                                                                                              Caneel



                                                                               Created    By


                                                                              Changed     By

   Enter                Completed Date
   Comments are optional




                                                                                                                                                                                                              63




                                                                                                                                                                                                              USA001072
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      5   Click   Update
      6   Repeat for each                completed                form



Verify Student           Fiirollment

      1   Go to Financial Aid > Student Status >

                                         Status          and Programs


                        Status     and Programs
                                                                                                                                                                                      Help   Mr Cancel




                         Mideret    Status           Records

                                   Term                     EnrellmentStatus                    L led         tu    entLe   el   CollegeLe         el    ICIasificaticr




                                   FA 17                              II
                                                                                           ii                                    Junior                    lifi                Full   Time

                         011111                             ccL11111i                                                            cp1creçItIei
                                                                                                                                         19p                                   Full   Time

                         Mall FA 16                                                                                               crlemere               OCIpsifiei            Full   Time



                         MN
                         Malll§E16                                                                                               CupionloreCIsLtI                              Half   Time

                                   SP    1i                Iccr     cuni                                                           nenlure   CIifi                             Full   Time

                         Enal FA 15                        sor                                                                   Freshman                 Classifie
                                                                                                                                                                               Full   Time

                                   SP 15                                                                                         Freshman                 Classified           Full   Time

                                    4




                         todent    Programs              for Term




                                              IF
                                        8101                                      111101                   CtudentStatu            lie    I
                                                                                                                                              Cala lug                FurimeHcur              1501


                                   11115110                 TiiMi1+1115




                                                II




                    I
                                                                                                          User Defined
          1




      2   The   top half shows you the Term and Enrollment Status

      3   Or go to Financial                   Aid >Maintenance                                 > Find   Student      >     More> Academic                        Progress            or Click


          Report        > Select        Academic                Progress             > Print to           view

                a       The   report             will     display          the academic                  information for the student                              including           Term

                        Enrolled               Academic            Status RegisterStatus                            and Enrollment Status


Add Student Note

The   Financial     Aid Specialist or Director                             will    add notes to student                      record           to    document             all   communication

with student      so    any team member can                                assist a student                anytime by reading the notes or update                                            status



      1   Go to Financial Aid                        >   Student Notes > Right click                           in   white space to add a note




                                                                                                                                                                                                         64




                                                                                                                                                                                                         USA001073
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                                 71                            4711r                   El
                                                                                                   I
                                                                                                               VI        I        17



                             loam




               111111
                             Student Notes                                                                                                                                                                                          LI Help         Cancel



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                                 RIM 1217111f                            ttcudillutt                             FFi ate                                  17i1SCRIP Praducei                                                                      3U FtL

                                             11LLl14                          ticurtillatr                                                                                     Prt                                                           FOURTH
                                                                              kkino                              Public                                   FERPA iniAIVER             FOR ALL OFFICES                                         KKING




                                                                                           J




      2     The         Financial            Aid Team               is     set to a group                                              so   only users in the group                               will   view        and access               the note

            The         note add will                  start of the                        top              of      the note section

      3     Click        Add or Update the note                                               if
                                                                                                       you are adding on to the                                                note
      4     Close Student                        Notes window



Email Student                    for Required                       Dorumeu ts
After     reviewing              all    the documents                         needed from a student                                                             you       will       need to email the student                             by using

your MSOutlook                    application



      1     Open             a   new email and find student                                                      in              To by typing                        in   the        first   and      last     names
                                                                                                                                               untitled        Message       HTialLi



                                                                                       s                   Format



                                                                                                                                                                                                                               ir   Follow Up       a

                                                           CalibrilBodt               11               a
                                                                                                                                                                      ±11
                                                                                                                                                                                                                   ==1          f   High   Importance

                                                           B    I        1J                                A                                                        IcicIres     Check       Attach   Attach     Signature                                      Zoom
                                        mat Painter                                                                                                                   Book       Names        File    Item                     4    Low    Importance


                                                                                               Basic Text                                                      ri         Names                        Include                        Tags




               Send


                                 Subject




      2     Find your                  template for sending doctracking                                                                        letters

      3     Attached                   the forms based                        on documents                                              requested                   at Financial              Aid > Maintenance                       > select


            appropriate Academic                                 Year >Documents                                                            Then go to CAMS Home                                     > Financial             Aid > Report >

            Document                    Tracking            Reports                        tab to print your doctracking                                                         letters




Budget and Package                                         Pell Award

The   student           is
                             ready for budgeting                                   and packaging when                                                 all       the requested                   documents                are   completed                   in



doctracking             The        Director            will    review                      complete                                the award                    packaging and send out award                                    letter         if




student     meets the following



            LEU         maximum                  is   not met




                                                                                                                                                                                                                                                                65




                                                                                                                                                                                                                                                            USA001074
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     Remaining                              Need         is
                                                              adequate                    for       award

     Review EFC or FISAP Total Income

1    Go to CAMS > Financial Aid                                                       >      Maintenance                          > Find            Student

2    Select                       academic              year        in      Status


3    Find                      and select record > doubleclick                                                       to       open student             financial            status


4    Enter                        and select Direct Cost Type

    13111111111111111111111
                                                                        tmm° L                  I                         7



                                  Financial             Aid Status                 Detail




                                         Financial      Aid   Status

                                                                                  ademilic    Year                                                                   IA


                                                                          Package         Status           IrN
                                                                                                                         PROGRESS                        Direct      Cost Type1


                                                                                  Primary     EFC $                                00   00                Secondary          EFC iJ

                                           Primary      EFC for          Remaining           Need                                 100                    Alt    Primary      EFC $      I
                                                                                                                                                                                                       0 00


                                                                    Dependent             Status           I
                                                                                                                    Dependent                                 Auto Zero      EFC ry71

                                                                          Lock       Packaging                 II    J
                                                                                                                                                    Documents        Complete      1Nc71

                                                          Prev Bachelors                  Degree                                                       Enrolled GradProf           No
                                                                        Initial    Package          Dt01                                               Last    Package      Date


                                                               FISAP          Total       Income               $                   1600                Packaged       for   Load   FuIFTime


                                                                              9   Month      COA $                                              1




                                                                                                                                                                                                                             7
                                               Verification                                                                                   Verification
                                                                                                                                                                                                                 Resolved
                                                       Code
                                               Verification                                                                                  Pell   Lifetime
                                                                r                                                                                               No    Problem
                                         Tracking       Flag    0
                                                                                                                                                      Limit




                                                        Note



                                                                                                                                                                                                          Need
                                               Total   Costs    3                               X                                              Remaining
                                                                                                                                                               5                   11
                                                                                                                                                                                        DC
                                                                                                                                                                                                                 Updated    on
                                                                                                                                                     Need
                                                                    I



                                                                                                                                                                                                          AddlUpdate     Only




                                                                                                                                                                                               7     Cancel




                                                                                                                    View Hide     Costs              ViewHide        COD Extras


5    Set                      Package           Status         =    PACKAGED

6    Review                         if   all    documents                   are received                                 in   Document Tracking and verify Packaged                                           For Load      is




     matching                             in    folder Also check                            Primary EFC has a value if                                        null then           it       should   be   000
                              a     Enter 9             Month COA

                              b     If    selected            for Verification                             select Verified for Verification                                     Status


                              c     Check              Resolved             checkbox

7    Click                     Update             button

8    Go to Financial Aid                                       >    Packaging > Single




                                                                                                                                                                                                                                 66




                                                                                                                                                                                                                                 USA001075
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                 Ina   e   3F139        Internet   bplor



                                                   CAMS Mei prise
      11111111




                                                           MINNA


                                   Setup


                       Setup                                                                                                                                                 I35   Help      Ca

                            Packaging   Criteria


                                                                   Academic    Year 120172018Nj                  Financial        Aid   Year 1FA17SP18

                                                              Package       as Load   1Full
                                                                                              Time                           Direct     Cosi   14   YR Off Campus Other


                                           Update Existing         Status   Records




                                                                               Distribution     tor   Award   Type       IFFELL


                                   TeAtTerm                  DistrintionDate            I
                                                                                            DitiIi     Percot        I
                                                                                                                         InsertUerlD                 IlnsertTime          11UpdateUserlD




                                                                                                                                        Calorykr
                                                                                                      IL
                                                                                                                            I   Frain




9    Academic                      Year = select year

10   Financial                  Aid Year = auto populates

11 Package                     as   Load           = select          load


12   Direct                Cost = select type

13   Distribution                       for Award              Type            =   PELL

                  a          NOTE             If
                                                   you are creating the                          first     single               package              you       will   have to        click   the Load From

                             Calendar button                          onetime to initiate                            the Package                      Term information from setup info

                             with TextTerm                         DistrubtutionDate                            DistrubutionPercentage                                 info

14   Click             Package            tab




                                                                                                                                                                                                         67




                                                                                                                                                                                                         USA001076
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        dee       e                      Interle




                            H1e               61   CAMS     Inter   pr
                                                                         ice




                                                                            Packap


                      ackage                                                                                                                  i
                                                                                                                                                  Ielp         Cancel




                                                                                                                                                          Update


                                                                                 v
                                                                                                                                                         Existing

        m             Acadyemeaico   r                                                aPsatale   177    e        Droesctt                                  Status

                                                                                                                                                         Recoirks
              1




              1
                                                                  Student




                                                                                       Add Option




                                                                                             Packaged   Awards

        5
        5




                                                                                                 fl


15   Select           Student > find student > doubleclick                                             record to select

16 Add option                        =    Pell


17 Award type                         =    PELL

         a                Choose Award Type option only if you are not using the PELL table to auto                                                                 calculate


         b                Award Type                 =     Pell



         c               Total            amount = enter amount

18   Click        Add

         a                Delete Term                 if   needed such                as   when you are only packaging                 for   one term

19 The packaged                            awards data grid will                      populate         with awards

20   Click Process button




        Updlate                 Successful




                                               OK



21   Click        OK
22 Go back                 to        CAMS home > Financial                           Aid > Maintenance                  > Find   Student > Award

23   Click        Save and in Award grid you                                   will    see the         Pell   Awards show




                                                                                                                                                                                68




                                                                                                                                                                                USA001077
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                   a       The        packaging         will    package          for    both terms and on export to                      COD you will define           the

                           current        term

    24 To         print     award        or any of the              9   letters         go to Financial         Aid > Maintenance                   > Find   Student    >


            More tab > Report                    > select           HINUStandard                  By Award and Print and save the letter

                   a       The        Award      Letter        is   also available              at Financial    Aid > Reports            > select      Award   Letter   on

                           individual           or multiple             students

    25 Term from = select term

    26 To         = select        term

    27 Address type =                     local


    28      Click Print           button    to        preview        report or use               top navigation        to   export



Package            Summer Pell 2

Add Award Manually
    1       Go to Financial Aid                   >   Maintenance                > Find         student

    2       On Status tab                select       Academic            Year    =     YYYYYYYY           ex 20172018
    3       Click    Awards tab select FA17SP18 in Filter                                          to    Package

    4       Right click           in   Award      grid > Add             Pell   Award           see      Finaid Award       Detail      Entry   image      below   >   update

           Term to SUYY ex SU18

    5       Enter      Distribution             Dt

    6       Select        Pell    2


    7       Select     appropriate Award Status

    8       Enter      Amount
    9       Click    Add         to   save entry




 Financial          Aid Award             Detail        Entry



     Di   lig   References


                 Sent To    Billing                                       Name                                EffectNe   Dat

     Financial Award             Entry   Dist amount calculated                 after   saving     Tor   COD awards
                                                                    Packaged            Status


                                                                                                                                               1
                                                                                  in




                 Term ISU18                                             Distribution      Dt ID62720121         2                      Award
                                                                                                                                       Type
                                                                                                                                                ItLL   E



    Award       Status FIlqi3liaaRESS                                           Amount 5                        1300        Dist   Amount      51


      Description           Federal      FELL   Grant      Summer Award                                                        Reference


    Credit      Status 1                                                         Code 1                                            Code 2

            Shaw On                                                      Check    Signed                                        Required
                           rYe7I7
          Statement                                                                      On                                            Hours
                Student
          Accepted
                           p703                                                 TransID                                            k   Award


                                                                                Payment
            Campus r                                                       Period       Start

                                                                                        Date




Entries    should         be similar to the screen above




                                                                                                                                                                             69




                                                                                                                                                                             USA001078
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       10 Follow the twostep                 process for origination and disbursement as Award                                        Type = PELL The

              transfer         and adjustment will          work the same as PELL




Origination and Disbursement
This   is   a twostep           process     COD Common Origination                              Disbursement              occurs when        student   records   are


ready to be exported                to   EdConnect to request                      funds from        US Department of Education                  COD responds

via   EdConnect and Haskell Financial Aid downloads                                         the message and imports to                CAMS When COD
approves the funds                 CAMS will       be allowed            to   import and flip the status to Originated                       The second step

occurs when              the disbursement date              is   within        7   days to distribute funds to student                  It
                                                                                                                                             requires another

COD export and import                    response    file    to        CAMS then update               the status to Disbursed



 Step 1

                                          COD Export              it
                                                                       automatically goes to                  CACAMS EnterpriseExport



                                                                        Upload exported              file   to    EdConnect




                                                            Wait an hour or more for COD Response                              file
            ILVNID1210




                                                         Log      in    to    EDConnect to find               COD Response       file




                                                     Download                response file       it    will      go to   ClIAMData



                                                            Open CAMS > Tools                    >    Import Response         file




                          If
                               errors you   will   see    in     the Dist          +   or   Reports tab Print the Detail Report Let                    MH   or LH

                                                                                   know about the errors



                                                         Reports tab Set award status to = ORIGINATED




                                                                                                                                                                    70




                                                                                                                                                                    USA001079
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 Step 2


                          COD Export                             the disbursement date                                        in      Award have                to   be within 7 days from the day you

                                                                                        are       exporting CACAMS                                    EnterpriseExport




                                                                                                      Upload exported                              file   to    EdConnect




                                                                                       Wait an hour or more for COD Response                                                   file




           1                                                                                                  EDConnect to find                             COD Response
                                                                                     Log         in   to                                                                         file




           1
                                                                               Download                      response file                     it    will      go to     ClIAMData


           rn
                                                                                           Open CAMS > Tools                                  >     Import Response           file




                           If          errors you                will    see          in       the Dist           +         or     Reports tab Print the Detail Report Let                     MH   or LH

                                                                                                                      know about the errors



                                                                                     Reports tab Set award                                         status to =           DISBURSED




CA MS Setup

On first   setup               its               required to enter and set Campus Code NSLC                                                                    School     Code COD Codes for Loans    in



the Campuses table                                   in   all   record     entries                    Currently                  Haskell            has 4 records Null Main             KU and Satellite

Once the      records                       are identically               setup                  its    unlikely you                        will    need to make a change




                               CAMS                  Intel       ice




                                                                        T Reference            Tcbles




                                                                                                                                                                 Almel




       Reference Tables


                 Reerence
                         LUp
                       Litel    iiiI




                     icaticr




                        PECS Map                 Items

            jCAMS
              ETTT7     LLHT                Lt




       Records    of Table       I




                 CAMPUS                 I    CostCenter                    TIcl                         L   FccLeel    L   ESERIPTIDN



                           JE                                              I   CIL   EHT   L          LEE   POP



                                                                          INCIDENTAL              IADDKIROP           IA1211          Fee
                                                                                                                                rop




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Other areas that part of the setup are



         Award     Reference               in    Financial          Aid > Setup > Award                           Reference              > find Pell record and open

         Yearly    COD Parameters                             for loans                  only

             o       Located            in     the bottom half of Financial Aid > Setup > Award Reference                                                                     > find record >

                     clicktoggle                 Yearly COD Parameters

         CIP codes table                  all    degrees           have to have                      CIP codes entered

         Degree     table




Step 1     Originate

    1    Tools > Export > Financial                             Aid > COD Export




                                                                          IIII
                                                                                    II




                                                                     MIII11111111111111111




              COD     Setup

                                           Routing       ID                                                                                            Address Type
                                                              169589953                                                                                                  rillome




              COD Export            Criteria


                                                                                                                                                                 FA1718P18
                           Academic       Year       120172018s±                                                         Financial       Aid    Year             FA 17



                                Program   Year1201812do            Schema                Version   rei0c   71
                                   Destination                                                                         Destination
                                                     1C00                                                                                 Routing       ID   100000001


                   Destination         Mailbox       17071900                                                      Disbursement Date              From r


                                    Student                                                                            Disbursement             Date
                      Single                    ID
                                                     4                                                                                                                        171




                                                                                                                         DocumentsDocuments     Must be
                    Must be        Registered        Official                                                                                                                 No
                                                                                                                                                                    es
                                                                                                                                              Complete
                                                     UnCifficial


                                                                                                                       Disbursement Release
                 Include    HeaderFooter                                                                                                                     I     Process    Zero   Amounts
                                                                                                                                              Indicator




                  Limit    to   Award Types          ACG                                                                            Award        Status          APPROVED
                                                     ACTIVITY                                                                                                    IN PROCESS




                            Limit to    Terms        SP 19                                                              First   Term          Freshmen           CONTINUING
                                                     FA 18                                                                                                       KU EXCHANGE



                           First   Term   Grad       CONTINUING
                                                     KUEXCNANGE
                  Student        Must Accept

                                        Award

              Updates       to     COO Award         on Export

                                     Disbursement Date                                             Match    Academic   Year Dates to Financial               Aid Year Oates




                                                                                                                                                                                                72




                                                                                                                                                                                                USA001081
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               Field                                                                                           Entry

               Routing        ID                                                                               65969953

                                                                                                                Home



           1r1
               Address        Type

           I                                                                                                   select     appropriate                year ie 20172018
                                                             Y                                                 select     all
                                                                                                                                 appropriate           finaid           years ie FA17SP18                             FA 17

               Program         Year                                                                            2018 or select appropriate year

               Schema Version                                                                                  40c default
               Destination            Mailbox                                                                  TG71900

               Disbursement Date From                                                                           Distribution state date                     from Pell Schedule

               Single Student               ID                                                                 Optional to leave blank or select                             a    student




           II
               Disbursement Date To                                                                             Distribution          end date from Pell Schedule

               Must be Registered

           I                                   Ty   I
                                                                                                                PELL

           I                                                                                                   APPROVED

           I                                                                                                    FAYY or SPYY or SUYY
                                                                                                               Check       the     box



               Click Initiate             button

       2       The     Awards tab shows recommended                                                            to print         screen Awards Summary and COD Exp then

               place     it   in Pell          folder


             tOD     Export   Internet Explorer




                                                VI       CAMS EriiN                               ise




                                    Ltlitert                                 J Awards


                                    et1MM
                   Awards




                                                                                                               Awards     to    be Exported




                                    Last       11                                   FirTtri   a   me                               Hittfleflame                            CODA     artrype



                                                                                                                                                                           Pell                                      PE

                                                                                                                                                                           Pell                                      PE

                                                                                                                                                                           Pell                                      Pf

                                                                                                                                                                           Pell                                  PE
                                                                                                                                                                           Fell                                      Pt

                                                                                                                                                                           Pell                                      Pf




                                                                                                                                                                                                                          1


                                                                    Student         Nani




                      NOTE YOU can remove                        awards    from     this   COD         Export     by   selecting    the record you      wish       to   remove then    press       the delete   button

                      on your keyboard  You can                     also   manually       change the Disbursement Number and Disbursement    Sequence Number in the
                      above wild by doubleclicking                    that   c el    n   each row you oAsh to Mange However this should only be done if you staled uslng

                      CAMS COD            Export        in   the middle      of on    award year and need                 to    make the      data   work   with    awards    you   may already        nave     at   COD
                      Once    the   disbursement number                    has been changed                    you must maintain    for
                                                                                                                                        any disbursements
                                                                                                                                         it
                                                                                                                                                          by the                      same     s   dent that     are      not

                      shown The        first   disbursement indicator                    coEumn        vwlE1   be adjusted if necessary when you leave this lab




This   tab     will    show         all    the students                      being exported                            You may remove students                               if   needed




                                                                                                                                                                                                                                73




                                                                                                                                                                                                                                U SA001082
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             Click    Loan             Info    tab


           COD Export Inernat          Expkr



                    Huno               II   CAMS     Enterprise



                                                        Awards                     Loan     Info                     Surnmaq




                                                                                                                                                                      1111111111iiiii
               Loan Information                                                                                                          C9             it   Cancel
                                                                                                                                              iielp




                                                                     Direct   Loan Information




                            natnarvi                      Mame                              etlarre                   VolWwarlyre                     Arlie




                                                                   Status   Data    for   COD        Awards


                                                                                                11      17
                           Lastnarie                                                 Midd   etlaire                    CODAwarcrype                   Award




                                                                                                                                                      DELL

                                                                                                                                                      DELL

                                                                                                                                                      DELL

                                                                                                                                                      DELL

                                                                                                                       Pell                           DELL




This   tab shows direct loan info and status data for COD its                                                           usually       the total              number of students         you are

exporting



       4     Click    Summary tab




                                                             Reported   financial     Summary          Information




The Summary tab view Reported                                    Financial          Summary Information which                                     displays totals for each              award

type included          in      the export foe




                                                                                                                                                                                             74




                                                                                                                                                                                             USA001083
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The   report steps                             below                 are a quick                  check          if   needed


      a   Run BYOR                                  Report to verify number of students                                                         and total dollar amount before your export go to

          financial                            aid >              Report > BYOR

                           Firanciall            BYOR        IReports     1ntE             pl




                                                                        CAMS           Entei      prise



                                                        BY   L1           eria




                                    Financial Aid Reports                            Criteria




                                         Filldilleial     Award Entry


                                                                           Academic         Year120172018L            Financial    Ald Year      IFA17SP181j
                                        istrilaution            Dt     From                                           OR
                                         er claims        from Poll
                                                                                           Term   From                71   Tenn    ToI17
                                           Award          Bistnbution          Dt   From                                   Award    Distribution      Ma         r




                                                 BiIIiF       Effective        Dt   From                                     Billing   Eriective      D1   To

                                                                        Need     Based                                                                Loan



                                                                        Award       Type                                                    Award Status




                                                                                Code 1                                                               Code 2




                                                                                            APPROVED                                                  Name
           11111111111


                                                                     Credit      Status                                           Billing    Batch

                                                                                            PENDING APPRCNAL
           111111111




                                                              Check      Signed      On                                                     Reference      No1
                11111111


                                                              Student Accepted




      b   Enter                         the following

                                    i       Academic Year                                                                     =    ex 20172018

                               ii           Financial                     Aid        Year                                     =    ex FAYYSPYY

                              iii           Award                 Distribution                     Dt    From                 =    should              be the Distribution date from     Pell   Schedule

                              iv            Award                 Distribution                     Dt To                      =    should              be the Distribution date from     Pell   Schedule

                               v            Award Type                                                                        =    PELL

                              vi            Award                 Status                                                      =    APPROVED

                            vii             Click Reports tab > Report Format = Summary By Student                                                                          By Award   OR HINUDetail       By

                                            Award Type

      c   The                  award dollar amount and                                                      of students                should               match    here



      5   Click                     COD Exp tab
                                                                                                                                                                                                           =
      0 COD
                                                                                                                                                                                                       I       I




                            Export         Internet             Ex0orer




                                        jHrie                     II     CAMS                   Enter    pi is




                         COD Expo                                                                                                                                                                 Cancel
                                                                                                                                                                                           Help




                                                                                                          File    Name     INameYourFileHere




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    6      Name your text file                          here         recommend                to    be consistent                     with            naming convention                           such as SP18 15

           TermYY Disbursement                               15          It   will    export your file                 to       CACAMS EnterpriseExport
    7      Click   ValidateBuild XML CAMS will verify                                                  all
                                                                                                                required               information for submittal to                                          COD        is




           included               on each          record        in      the export file              If   there         is
                                                                                                                                any missing information a report displays

           with corrections                        that   need to be                 made The export file                             will       be created               once          all      corrections                 are

           made The                   export file          will      be saved           to the       Document                    Directory defined                         in       your CAMS User

           Profile           Navigate to this directory to upload the                                             file      to        COD via           your SAIG mailbox


NOTE When validatingbuilding                                     the      COD export CAMS looks to the award                                                       record              to   determine the

campus value to                   report to         COD         If   a   campus value                is    not populated                         on the award                      CAMS looks to the

student    status       record               for the      associated                term to retrieve the campus value                                               If   an associated student

status    record       does not exist CAMS looks to the most recent student                                                                           status        record             to retrieve                the

campus value            If    there are award                        records that            do not have                    a   campus value                       click       Update Awards to

populate    the award                  record           with the derived                 campus value                       that was                 reported to               COD

COD Export Consistency                             Check



           CAMS performs a consistency                                   check       upon     clicking          the    Initiate         button              on the COD Export                       If   a   previous

           export has              been done             for a       Program         Year other than                  the       Program              Year selected                 a   popup         will     display

           alerting      the          user You may either cancel                         the       initiation         and        select          a    different          Program              Year or        if
                                                                                                                                                                                                                  necessary

           force   a    change to the Program                             Year This functionality                      is   useful          if   an incorrect             Program                Year was selected

           for   the previous                 export
                   1         If   a   Program Year is selected                         for   awards          that     have been previously exported using a different

                             Program           Year a popup                    displays

                   2         Note the previous                       exports Program               Year The first                 COD award                  identifier             and student are indicated

                             as an       example

                   3         Click      OK a popup                   displays        indicating      a     Program Year conflicts                             with the year                   selected

                   4         If   the originations have                       been accepted                by   COD         or   if
                                                                                                                                      you wish to select                       a   different             Program             Year

                             click      Yes to return to the                    COD     Export       Criteria          tab       select          the correct             Program              Year        then      continue

                             with the          export

                   5         If
                                  you wish to CHANGE                          the    Program Year for the previously exported awards                                                             click    No a popup
                             displays          asking      if
                                                                you wish to force an update to the Program                                                   Year for the previously exported

                             awards NOTE the Program                                  Year should            NOT be changed                           for   originations already accepted                                     by

                             COD
                   6         Click      No to return to the COD                         Export      Criteria          tab        select          the correct             Program              Year then             continue

                             with the          export

                   7         If
                                  you wish to force                  a   CHANGE          to the      Program Year for the previously exported awards                                                                click      Yes

                   8         A popup               displays      asking         you to confirm you wish to CHANGE                                            the    Program Year for the previously

                             exported              awards NOTE the Program Year should                                                NOT        be    changed           for       originations already

                             accepted              by   COD
                   9         This      is    the   last   opportunity                to cancel      the      Program Year change                              for   the previously exported

                             awards            Click     No to return to the COD                       Export          Criteria         tab           select   the correct                    Program          Year then

                             continue           with the         export             Click Yes    to CHANGE                  the       Program Year for the previously exported

                             awards           and continue               with the        export NOTE the Program                                      Year should              NOT          be   changed            for


                             originations already accepted                              by   COD
    8      Import the                 file    exported           from CAMS to EdConnect




                                                                                                                                                                                                                                   76




                                                                                                                                                                                                                                   USA001085
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9            Open and login                              to      EdConnect > enter authentication                                                     credentials



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                      re55




10           Select           the following                              criteria       in      the Transmission                          Queue

Elee5tiiiiiimim                                                               MUM
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       7W151111i                  tY                         Died                        ycle                                        Laserrrtaln                               11      age                                           File   Iteme




            1
                           Send                                               1718 Data                    1718 Pell Spec    1718 AY t4       Input                 CRPG1g                                 itarnIclatalcrpp18sp972




                       a          Transmit                                    =check                    the box

                       b          Activity                                    =Send

                       c          Project                                     =COD

                       d          Cycle                                       =1718 Data

                       e          Description                                 =1718                     Pell   Spec 1718 AY Spec Input
                       f          Message                       Class         =CRPG18IN

                       g          File      Name                              =click            here and find the                         file     your exported            to      CACAMS
                                  EnterpriseExporttxt                                                              make             sure you have             the    file      type set to           All    Files

                       h          Click          Transmission                       >    Now
                       i          Log out of EdConnect

                      j           Wait from 10 mins to 24 hours for response file

11 Log back                              into         EdConnect for Response                                       file     and enter the following                         in      Transmission             Queue
                                  11EA




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           Transind                                   Protect                                                               Description                                                                          Fe   tante



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                       a          Transmit                                    =check                    the box




                       b          Activity                                    =Request




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               Project                                      =All


               Cycle                                        =All




                                                            =
               Description                                  =All   Data All Messages

               Message                 Class


               File   Name                                  =   Ciamdata
               Click    Transmission                            > Now

               File   > Close > OK

               File   > New > Activity Log > OK

               You will see a colored screen

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         I     Look         in     Activity                 column where you see Receive                                                                                            Project                     column = COD and Message

               Class =           crpgop                                This                   is        the response                                              file      from COD

                        i             See second arrow above bottom                                                                                               row
                       ii             The           first    arrow        is the                             send file that occurred                                                                    in      step          11

         m Go         to        C         iamdata to get the file                                                       crpgop
         n     Connect to OpenVPN on your computer

         o     Import to CAMS

12 CAMS home > Tools > Financial                                            Aid > COD Import >

13   Click   Browse         to find                 your file       from EdConnect                                                             COD Response text file




                                                                                                                                                                                                                                                                                   78




                                                                                                                                                                                                                                                                                   USA001087
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               Go to CIAMData                           and find your file               crpg                                                               cod                               response file

                             COD Response Import               Internet   Explore                                                                                                                                                                                                                                                Ita




                                    74 Home                      CAMS Enterprise


                                               Load                                                          191            11111i              II




                    Jim Load                Criteria
                                                                                                                                                                                                                                                                                                         25 Rein        Cancel




                                     r Read   New Document



                                                                                                                                                                                                                         Browse


                                                                                                               Upload                                         Document




                                                                                                                                                                                           Using                                 file


                                                                                                    DBELLINGERcrpg18op4at




14   Click   Upload           Document           button

15   Click   Parse XML document                            button to format the document for import and automatically

     increment the Disbursement Sequence Number for awards                                                                                                               in                this file

16   Click   Students               tab

     ICOD Response Imp°                               0044
                                                                                                                                                                                                                                         <ig01015NNNNNN9159159159111111111C1111111111111111




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                         H
                                              CAMS             Enterprise




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              Students              in    Document                                                                                                                                                                                                                                                            1100000
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                                                                                    Students   in   Response


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                                                                                                    ef           Import




        The window shows the                                   of   records from the COD Export so it should                                                                                                                                                 match again here

     NOTE Click Counsel                     Import to import a DL EntranceExit                                                                       Counseling                                                                          and Financial Awareness

     Counseling              message class file                  Not      in   use but may be used in the future




                                                                                                                                                                                                                                                                                                                   79




                                                                                                                                                                                                                                                                                                                 USA001088
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     NOTE     Entrance Counseling         may also be imported along with DL PLUS borrower information by

     importing the CRCxxOP           message class file               Not in use but may be used in the future

17   Review the students          included   in       the Import file

18   Click   Summary tab
         COD Response Import     Intern



                                  CAMS Enterprise

                      LUd   41            Students                  Summary
                                                                                                11111111111111




              Summary Information                                                                                                   Help   4 Cancel


                                                                   Summary Data Reported

                     CODSummarylD                 I   CODImportl                CODAwarrype                      I
                                                                                                                     FinancalkwardYear




                                                                         Response

                     CODResponselD              ICODImportID                    ICODAwardType                    FlannelslAwanlYear

                                                                                Pell                                 2018




19   Print screen   Summary Awards                    Disb pages

20   Provides a one line summary of Response data from COD




                                                                                                                                                      80




                                                                                                                                                      USA001089
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21   Click   Awards tab

        COD Response     Import Internet
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                                     11        CAMS          Enterprise


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              Awards



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                Update Contact             Information

                 Contact    Address Field                                       Contact         Phone         11101       to                                                                                                                                                    Cmutact           mad Address
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                                                                                           7          Update     Contact        Info




22 View shows the Awards                             being   imported               The data                  grid        displays                                                               200 rows per page                                                                                                         if                 the                                                   awards                                            in   the

     grid   exceed    200    click             Next     to   go to the next page of the grid
23   Click   Disb tab

        COD Response     Import            Internet
                                                       Erplorc



                                        61      CAMS         Enterprise



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                         BECiAY                                                                                                                                                                                                                                                             120174018

                         BELL
                         ENEVIER                                                                                                                                                                                                                                                             201720t8
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24 Shows the award            distribution               amounts              to    be imported                      Click          the                                                          plus sign                                                                                next        to              each                           row to view the

     Response    Error     Codes The error codes                                    will    also display                    on the COD Response                                                                                                                                                                 Detail                        report                                                                                          The data       grid




                                                                                                                                                                                                                                                                                                                                                                                                                                                                 81




                                                                                                                                                                                                                                                                                                                                                                                                                                                                 USA001090
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     displays             200 rows per page                                                                                                                                if            the disbursements                                                                                                                        in                the       grid     exceed        200       click              Next to go to the next page

     of the grid

     Example of Response Error Code                                                                                                                                                                               after                                 you                              click                             the                          + next to record
                                                                                                                                                                                                                                                                                                                                                                                          number
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                Disbursements
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25   You may check                                                                      the COD Reference Site to look up the error messages at

     httpscodedgovcodTechRef1718Page
26   Click   Reports                                                       tab

          COD Respor
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                                                                                                                                                                                                                                                                                                                        Origination

                         r Award                                             Status


                                                                                                   Set                  Award                                   Status                                  to            I                                                                                                                                 H    for    Resposse       Code   IA                                          Update




                                     Award Usage                                                                   Limits Update




                                                                                                                                                                                                                                                                                                                                        Kale Usage                   Limits




                                                                                                                                                                                                                                          Report                                   Summary




                                                                                                                                                                                                                                                                                                                                                            Print




27   Set the         new Award                                                                                   Status                                                    = ORIGINATED                                                                                                       for                       COD Response Code= A approved                                                                                           and then          click


     Update to set the Award Status                                                                                                                                                                        in Financial                                                                       Aid                          > Maintenance                                          > Award

28   Click   Report = Detail and Print




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             82




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             USA001091
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Step 2       Disburse

COD Export           the disbursement date                               in   Award     have to be within 7 days from the day you are exporting

Step   1    Originate will                be repeated                with selecting            a few      options for Disbursement



       1   Tools > Export > Financial                                Aid > COD Export



           cop   Export




                                        WI    CAMS          Enterprise




                           Criteria



                 Criteria
                                                                                                                                                                                                     LJ Help   jg Cancel




                    COD Setup

                                              Routing      113
                                                                 69569953                                                                      Address                            Type              Home


                    COD Export         Criteria




                            Academic      Year 1201720181v                                                 Financial   Aid   Years                    I I I I I I I I I I I I I I I I I I I I I I




                                Program Year 12018Iv             I   Schema Version      40c


                                   Destination     1COD                       IY                         Destil        F       ii

                                                                                                                                       100000001

                                                                                                             Disbursement           Date
                                       Mailbox
                     lestination
                                                   ifo1900                                                                          From



                          Single    Student   ID                                                         Disbursement        Date     To




                                                                                                            Documents        Must be
                     Must be Registered            Official                                                                                         Yes                 II                    No
                                                                                                                           Complete
                                                     1EIZIOIF11




                                        Include                                                          Disbursement        Release       15
                             HeaderFooter                                                                                  Indicator
                                                                                                                                           I    I




                                                                                                                                           IN       PROGRES
                    Limit to    Award Types        ROG                                                              Award     Status

                                                   ACTIVITY                                                                                PEND             NG AFFRDVAL

                                                   SP 18
                             Limit to Terms                                                                        Tenn Freshmen           CONTINUING
                                                                     V
                                                                                                           First

                                                   SU17                                                                                    KU EXCHANGE



                           First   Term   Grad     CONTINUING
                                                   KU EXCHANGE

                    Student      Must Accept
                                                   11
                                         Award

                    Updates      to   COD Award on Export
                                      Disbursement        Date                     CI   Match Academic       Year Dates      to Financial           Aid Year Dates




            Field                                                                         Entry

            Routing        ID                                                             65969953           default

           Address         Type                                                            Home default

           Academic            Year                                                       select   appropriate             year ie 20172018
            Select        Financial       Aid Years                                       select   all     appropriate              finaid          years ie FA17SP18                                                      FA 17

            Program         Year                                                          2018 or select appropriate year

            Schema Version                                                                40c default




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    Destination                                                                              COD default
    Destination          Routing          ID                                                 00000001             default
    Destination          Mailbox                                                             TG71900 default

    Disbursement Date From                                                                   Distribution              start      date      from   Pell    Schedule

    Single Student          ID                                                               Optional to leave blank or select                                a     student

    Disbursement Date To                                                                     Distribution              end date from Pell Schedule

    Must be Registered                                                                       Unofficial           if   in    adddrop          period          If    after select               Official

    Disbursement Release                       Indicator                                     Check       the      box

    Limit   to Award        Types                                                            PELL

    Award       Status                                                                       ORIGINATED

    Limit   to Terms                                                                         FAYY or SPYY or SUYY
2   Click Initiate         button

3   The    Awards tab shows
                                                                                                                NeanoVievirli

          COD ExpoJ          trri          E12




                                                      CAMS Lnterprise


                                                                             Awards                      Iv

                    ard                                                                                                                                                                                             Cancel

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                                                                                                         Awards        to    be Exported


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                                                                                                                                                                            Pell


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                                                                                                                                                                            Pell

                                                                                                                                                                            Pell




                                                                 Student     Nanie




                  NOTE You        can      remove       avardis from           this     COD Export by selecting the record                     you wish            to   remove          then   press the     H et 11tqn
                  on your keyboard             You     can       also manually change                the   Disbursement             Number and          Disbursement           Sequenc e Number M t7e
                  above   grid   by doubleclic<              no    that cali    lin    each row you            vOsh   change However this should
                                                                                                                       to                                                  only be done  you started using
                                                                                                                                                                                                 if



                  CAMS COD Expor                 ir   the   Ti   Mlle   of   an award         year and need            make the data work with awards you may aiready nave at COD
                                                                                                                        to


            1     Once    the dilisbursenent nirroer has                     been        changed         you    must maintain  for any disbursements by the same student
                                                                                                                                       it                                that are not

                  shown The       first    disbursement             indicator         coliumn     will   be adjusted         if   necessary   when      you        leave   this     tab


    This    tab   will    show        all      the students                    being exported                          You may remove students                                     if    needed and

    check       the BYOR report to match the number of records                                                                    in   the export




                                                                                                                                                                                                                  84




                                                                                                                                                                                                                  USA001093
Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 180 of 215




4   Click   COD Exp tab

     k   COD   Export
                          Internet
                                      Explorer




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               COD Expo                                                                                                                                                           Cancel
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                                                                   File   Name   INameYourFileHerel




                                                                                         Validlateil3uild   XML



5   Enter    the   File        Name then click ValidateBuild XML CAMS will verify                                                       all    required      information for

    submittal to          COD        is    included        on each        record    in   the export file                   If   there     is
                                                                                                                                               any missing

    information a report displays with corrections                                       that      need to be               made The            export       file   will    be

    created once           all   corrections              are    made The          export       file    will        be saved       to    the Document               Directory

    defined     in   your CAMS User Profile                        Navigate to this directory to upload the                                      file   to   COD via your
    SAIG mailbox

         a      Name your text file                       here   recommend               to   be consistent                 with    naming convention                      such as

                5P18           15 translates to TermYY 15 disbursement                                         It   will    export your file to              CACAMS
                EnterpriseExport

6   COD Export message will show when completed                                               The       message shows the location                            of the


    exported       file        CACAMS EnterpriseExport
7   Import the          file    exported            from CAMS to EdConnect

8   Open and login to EdConnect




9   Select     the following                   criteria   in   the Transmission            Queue




                                                                                                                                                                                                   85




                                                                                                                                                                                                   USA001094
Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 181 of 215




           F        Send                                      1718 Data            1718 Pell Spec   1718 AY Csiso   Input




                a          Transmit                           =check           the box

                b          Activity                           =Send

                c          Project                            =COD

                d          Cycle                              =1718 Data

                e          Description                        =1718            Pell     Spec 1718 AY Spec Input
                f          Message                Class       =CRPG18IN

                g          File    Name                       =click      here and find the                      file   your exported            to   CACAMS
                           EnterpriseExporttxt                                             make           sure you have           the   file      type set to   All   Files

                h          Click       Transmission                 >   Now
                i          Log out of EdConnect

                j          Wait from 10 mins to 24 hours for response file

10 Log back                     into    EdConnect for Response                             file     and enter the following                      in   Transmission    Queue

E   file   Id   Ps                141     Tools    Window


                                                          I                       rAr                  171




                     Act   ty           Notes                     CyI      I                           ription


                                                                                                                                    tDrinetWer
                                                                                                                             It




                a          Transmit                           =check           the box




                b          Activity                           =Request

                c          Project                            =All

                d          Cycle                              =All




                                                              =
                e          Description                        =All      Data      All    Messages

                f          Message                Class


                g          File    Name                       =   Ciamdata
                h          Click       Transmission                 >   Now
                i          File    > Close > OK


                j          File    >    New > Activity Log > OK
                k          You     will     see a colored                 screen




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Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 182 of 215




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                               I     Look        in    Activity                              column where you see Receive                                                                                                    Project                        column = COD and Message

                                     Class =          crpgop                                                          This                          is    the response                                       file     from COD

                                              i         See second arrow above bottom                                                                                                                        row
                                            ii         The                   first              arrow is the send                                                                  file           that            occurred                       in         step               11
                               m Go       to         C     iam data to get the file                                                                                           crpgop
                               n     Connect to OpenVPN on your computer

                               o     Import to CAMS

11 CAMS home > Tools > Financial                                                                                              Aid > COD Import >

12   Click                         Browse        to find                      your file                             from EdConnect                                                           COD Response text file
                               a     Find your text                                   file            on            C iamdata
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                                              L Load                                                             Students                                                       Suailmao v                                       AL111Zild$                                                                                     o Reports
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                                    Load    Criteria                                                                                                                                                                                                                                                                     LI Kelp                   Cancel




                                     r Read       New Document



                                                                                                                                                                                                                                 Browse



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                                                                                                                                                                               7             Parse XML document




13   Click                         Upload        Document                                      button




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Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 183 of 215




14   Click   Parse XML document                          button        to   format the document for import and automatically

     increment the Disbursement                               Sequence Number for awards                              in   this file

15   Click   Students           tab

               Response




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              Students           in   Document



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        The window shows the                                  of    records from the COD Export so it should                            match again here

     NOTE Click Counsel                    Import to import a DL EntranceExit                                   Counseling         and Financial Awareness

     Counseling       message class file                       Not    in    use but may be used in the future
     NOTE     Entrance Counseling                        may also be imported along with DL PLUS borrower information by

     importing the CRCxxOP                         message class file            Not   in       use but may be used in the future
16 Review the students included                                in   the Import file




                                                                                                                                                                88




                                                                                                                                                                USA001097
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17   Click   Summary tab

      S COD                                                                                                                                                                                          1            111001000000001111111111111111111111111111111111111111111111111111
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              Summary Information                                                                                                                                                                                                                                                                                                                          ZI Help   Cancel




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18   Provides a one line summary of Response data from COD




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Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 185 of 215




19   Click   Awards tab

        COD Response     Import Internet
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              Awards



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                Update Contact                 Information

                 Contact       Address Field                                Contact                                      Phone           ierd to                                                                                                                                                    Codutar            mad Addr ess
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                                                                                                         7                      Update    Contact    Into




20 View shows the Awards                               being   imported              The data                                      grid      displays                                                                200 rows per page                                                                                                       if                 the                                                   awards                                            in   the

     grid   exceed    200        click             Next   to   go to the next page of the grid
21   Click   Disb tab

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22 Shows the award                 distribution             amounts        to        be imported                                           Click        the                                                          plus sign                                                                             next         to              each                           row to view the

     Response    Error     Codes The error codes                                 will                         also display                     on the COD Response                                                                                                                                                                Detail                        report                                                                                          The data       grid




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   90




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   USA001099
Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 186 of 215




     displays      200 rows per page                     if   the disbursements                         in            the   grid   exceed                                  200                               click                Next                  to           go to the next page
     of the grid

     Example of Response                       Error   Code after you click                            the             + next to record number
              COD Response
     11112p                  lonii                                                                                                                                                                  111

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23 You may check the COD Reference                                            Site to look                            up the error messages at

     httpscodedgovcodTechRef1718Page
24   Click      Reports       tab

              COO Response    irripTerfreerne
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                                                CAMS          Enterprise



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                  Reports                                                                                                                                                                                                                                             Help      Cancel




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                                                                                                       Disbursed

                                                                                           Orisilessian
                     Aware       Status


                                     Sul   Award       Status   to




                                                                            Report   0Summarr




25   Set the      new Award               Status        = DISBURSED                  for        COD Response Code= A approved                                                                                                                                        and then      click


     Update to set the Award Status                              in Financial         Aid              > Maintenance                           > Award

26   Click      Report = Detail and Print

27   Check        a few      records to ensure their award status changed to DISBURSED or run the BYOR report

     with DISBURSED as the criteria




                                                                                                                                                                                                                                                                                                            91




                                                                                                                                                                                                                                                                                                            USA001100
   Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 187 of 215




Pell   Award Transfer
   1    Navigate             to Financial            Aid > Transfer
                                                                                                                                                            II         W
                          7
                                                                                                                                               1374               Ai          AirMINNYA




                  10110
             I
                              Home                11   CAMS Enterprise

                                     Criteria                                                                                                  Transfoi




                     Award Selection                                                                                                                                                                                                          Help           Reset




                                        Transfer        Terms SP 19                                                                                                                       Single   Student   ID
                                                              EGNG


                               Distribution Date             From                                                 1
                                                  Award      Type                                                      ACG                                                                    Award    Status      APPROVED
                                                                                                                       ACTIVITY                                                                                    CANCEL


                                              Credit Status                                                            APPROVED                                                                       Code     1
                                                                                                                       PENDING APPROVAL


                                                                                                                                                                                                      Must be
                                                         Code                                    2                                                                                                                 Official
                                                                                                                                                                                                   Registered
                                                                                                                                                                                                                   UnOfficial



                                     Documents           Must be
                                                                                                                                  Yes           e     No                           Students         Accepted       No
                                                       Complete
                                                                                                                                                                                                                   Yes




        Enter         the following               parameters


        Field      Names                                                                               Values

        Transfer          Terms                                                                        Select                          term              e FAYY SPYY SUYY

        Disbursement Date                   From                                                       Date of expected                                          transfer      see your distribution schedule                            Date from and

                                                                                                       to should                               be the same date

        To                                                                                             Date of expected                                          transfer      see your distribution schedule                           Date    from and

                                                                                                       to should                               be the same date

        Award Type                                                                                     PELL

        Award Status                                                                                   Disbursed




        Click      Transfer tab

        Click      Transfer button

                 Financial    Aid Tranfer         Internet   Explorer




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                                                                                                                                                                  E        Transfer




        You      will     see only the dates you entered                                                                                            in     From and To Distribution Dates




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Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 188 of 215




6   Click Print    to    view   the   list   of students    that    will   transfer


7   Click   Transfer   button
                                                                                                                                            111111111111




                                                                    Three   Rivers     Demo System

                                                                    Financial Aid      Transfer   Report


                  Name                         Student ID   Term           Dist Date     Award    Type   Description                                       Dist   Amt
                                                            SP 17          03132017      PELL            Federal   PELL Grant14                            $290700


                                                                                                                                                    $290700

                                                            SP 17          03132017      PELL            Federal   PELL Grant 14                           $290700


                                                                                                                                                    $290700

                                                            SP 17          03132017      PELL            Federal   PELL Grant 14                           $290700


                                                                                                                                                    $290700

                                                                                                                         Grand     Totals           $872100



8   Enter   Batch Description         name




                                                                                                                                                            93




                                                                                                                                                           USA001102
      Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 189 of 215




               zinca      Aid    Tarlfer     Interiet   Eplorer




                                             V CAMS Enterprise




                       Billing    Batch Information



                         Awards              insferred    deleted   by user     Iprior       to   c    IPletion   of transfer   process   populated   after   transfer




                                   0




                         Transfer Options


                                               Botch    Descritotion   ITest   tlf    Pell   lA


                                   Effective   Transaction     Gate    I637i42017                 El




                                                                                      Transfer                             Cancel




      9    Enter      Effective        Transaction         Date = date of transfer

      10   Click   Transfer button


            VBScript




              Transfer     Successfull




                                        OK



      11   Click   OK
                  a     Now the batch             is    created     in   the         Billing          module

      12 Example         of   Pell     Distribution        Schedule            httpwwwhaskelledufinancialaiddisbursement




Adjustments
The   process of adjustment may occur at any time during the financial                                                          aid   process by increasing              or


decreasing    the award           amounts         or cost of        attendance                    based on direct cost type change



Update COA Cost of Attendance
      1    Find    student       at Financial           Aid > Maintenance                         >




                                                                                                                                                                              94




                                                                                                                                                                              USA001103
Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 190 of 215




       inancial   Aid    Student                    Maintenance                                            Internet   Explorer


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            Financial               Status                                                                                                                                                       Save      El Help         4 Cancel

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                  COD
                                View MPN                                                              View EntranceExit      Counseling              View CreditPLUS App            Info    Award Usage            Limits




                                                                                                                                        student       MPN


                           ID                                                                 lOwnerUID                PNIedicater     IMPNID               I   MPNStatusCc     IMPNLinkIndic        IMPNExpDate       I   COD




   Select   Award Year

   Doubleclick            record                                    in                  the top grid in the Status




                                                                                                                                                                                                                                      95




                                                                                                                                                                                                                                      USA001104
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        Financial Aid Status


                                    Academic        Year   I
                                                                                            Financial     Aid Year     IT

                                  Package        Status    117ALr6Ei                        Direct Cost Type           ITYR On Campus         Other



                                          Primary    EEC $1                 060              Secondary          EEC    SI


                Primary    EFC for Remaining
                                                                           100               Alt   Primary EEC         $1            000
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                            Dependent            Status                                          Auto Zero EEC
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                    Prey Bachelors             Degree      IFb7                           Enrolled      GradProf

                                Initial    Package    Dc   1102912017       2             Last    Package       Date




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                          FISAP       Total   Income       $1           798690            Packaged        for   Load   Full   Time    I
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                                      9 Nlonth      COA $1                 8230


                                                                                   Verification
            VerificationN                                                                                                                        Re sokv ad
                  Code      V

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            Verification                                                          Pell   Lifetime
                                                                                                        No Problem
       Tracking    Flag                                                                    Limit




                  Note



                                                                                    Remaining                                                 Need    Updated   on
            Total Costs                                                                             c
                                                                                          Need                                                AddUpdate       Only




                            17 Update                                   Delete
                                                                                                 MI Page 2                       17 Cancel

                                                           J ViewHide     Costs          ViewHide         COD    Extras



4   Click   ViewHide Costs option to expand




                                                                                                                                                                     96




                                                                                                                                                                     USA001105
   Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 192 of 215




                            StatUS



        Financial                Aid Status Detail



                                              Initial   Package        Of        10292717            a                 Last Package         Date


                                        Fl    SAP Total          Income          I             798600                  Packagedl        for LoadRI


                                                    9   Month         COA $                          8230


               Verification                                                                                   Verification      r
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               Verification

          Tracking              Flair
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                                Note




                                                                                                                Remaining                                                  Need   Updated    on
               Total       Costs             3                              0
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                                                                                        7a      Delete                                  Page 2                      17 Cancel

                                                                                   ViewHide         Costs              ViewHide         COD Extras
          Cost of Attendance

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   5   Doubleclick                      line        item in Cost of Attendance                                   window             to edit or add a                 new   line   item

   6   Click    Update when finished


Pell Award Adjustment

   1   Find    student                  at Financial                   Aid > Maintenance                            > Find student                 >   doubleclick          record    to    open




                                                                                                                                                                                                   97




                                                                                                                                                                                                   USA001106
Case 2:21-cv-02113-JAR-TJJ Document 29-4 Filed 07/19/21 Page 193 of 215




       inancial   Aid    Student                    Maintenance                                            Internet   Explorer


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            Financial               Status                                                                                                                                                       Save      El Help         4 Cancel

                                                                                                                           Academic Year
                                                                                                                                                      20172018
                                                                                                                                                      20162017
                           Fin          id        Year                                                  PackagedFer      DirectCest7
                                                                                                                                                      20152016                COA               RemainingNe         Need

                                                                                                                                                II
                                                                                                                                                      20142015                                          MERIN
                                                                                                                                                                                                          NULL
                                                                                                                                                                                                          NULL
                                                                                                                                                                 L
                                                                                                                                                                                                          NULL
                                                                                                                                                                                                          NULL




                  COD
                                View MPN                                                              View EntranceExit      Counseling              View CreditPLUS App            Info    Award Usage            Limits




                                                                                                                                        student       MPN


                           ID                                                                 lOwnerUID                PNIedicater     IMPNID               I   MPNStatusCc     IMPNLinkIndic        IMPNExpDate       I   COD




   Select   Award Year

   Click   Awards tab




                                                                                                                                                                                                                                      98




                                                                                                                                                                                                                                      USA001107
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    111111111UPP




                                                                                                                               HD
                                                                                                                         10Z
                                                                                                                                                                                                   Awards


     Financial                            Awards
                                                                                                                                                                                                                                                            Saverf               Help




                                                                                                                                           Filter           0 Packige
                       Term                                                                          Distributia     nDi            Lack                                             AwardType                     Award Statu     s   Amount                 Dist       Amount         Orig

                       N11111111111111111111111111111111111111111111111111111111111111111014k                      Ili                          11111111111111111111111111111111111111111111   eauunommunournoto          e    I   $             $2                                    oureinurrii



                   2    FA 17                                                                        12112017                                                                          PELL                        DISBURSED                     5278500                     5278500




                                     I                I




                                                                                                                                                                                                                                           Remaining       Need          $




               COD Award Header
                          AwardType                                                                      11FinancialAwardN                    11CODFinancialAw                                            lAwarciTypelD                I   OriginatianF   eePei      I
                                                                                                                                                                                                                                                                         InterestReaatePe


                                         iiiimo111111111111111111111111111111111111111111111111111
                                                                                                                                               XEM




                                                                                                                                                          13 Sync Header Records
4   Highlight                  and doubleclick                                                                           the record you want to modify

5   The award                                 will                              open > modify and enter the new award                                                                                                         in   Amount field




                                                                                                                                                                                                                                                                                                     99




                                                                                                                                                                                                                                                                                                     USA001108
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                                                                                                                                                                                                                                                                                  v11




      ll1111
                            Status



               Financial     Aid Award              Detail        Ent




                 BFIiiq   References

                                 Sent To BlIllng             No              Bili                                 tch          Name       j
                                                                                                                                                                                   Effective           Data

                 Financial    Award    Entry      Gist amount                calculated                                    after      saving     for   COD awards

                                                                                                              Packaged                   in    Status    I
                                                                                                                                                                 FA 1 7ISF                 I
                                                                                                                                                                                               31
                              Term     JTä                                                                                      Lisuituuuon        DX 111222018                                  17I            Award       Type 11==

                   Award Status        UN PROGRESS                                                                                            Amount              I                    278500                  Dist    Amount        $   I             278500

                      Description          Federal    PELL Grant                                                                                                                                                    Reference        I




                    Credit   Status                                                                                                            Code 1                                                                      Code 2    rcd
                                       r


                           Show On                                                                                                                                                                                    Required
                                                                                                                         Check           Signed    On
                          Statement                                                                                                                                                                                        Hours

                             Student
                                                                                                                                              TransIll                                                              Lock    Award
                                       i




                          Accepted

                                                                                                                               Payment          Period
                            Campus
                                                                                                                                                             i




                                                                                                                                         Start    Gate   l




                                                                       Created By                                   r
                                                                  Changed By                                        r




6   Click          Update

7   Back at the Awards tab you                                               will                    notice                           the change                           Expand                      the plus+ to see the changes as

    well
    1111                                                                                                                         siosettto
                                                                                                                                               J15113113
                                                                                    1111111111111111111111111111111111111111




      Financial              Awards                                                                                                                                                                                                                                      Cancel
                                                                                                                                                                                                                                                119         Help




                                                                                                                Filter           to    Package                                     1   2



                                             C151515151CnE         I   Led                                                       ard     15q             a rdStat          U   5               11111            E          rln                      UI                   r7




                                 djustmentDi            Amount                           AdjComment                                      InsertUserlD                                                   UpdateUserl         UpdateTime          B   illin
                                                                                                                                                                                                                                                             g Lin kID

                                 12V12017                         278500                 Added                             new     816   CMORRIS                      1211201                                               NULLl               NU LW
                                 omarata                               17F    fin          Modified                            award     MHASWOOD                     1   11201                E7                           NU LL1              NULL


                                                                                                                                                                                                       2785                                    27850




                                                                                                                                                                                                                                                                         15


8   Notice the increase amount next to the AdjustmentDate column example                                                                                                                                                                     17500

9   Next export the COD file                                      to     upload to EdConnect

10 Follow             steps for Origination                              and Disbursement                                                                instructions                                   You may choose Single Student or

    by Award                 Status         export options




                                                                                                                                                                                                                                                                                  100




                                                                                                                                                                                                                                                                                   USA001109
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                                                                                                                                                                         C9 Help   Cancel



                       COD   Setup

                                                Routing          ID   p69569953                                                           Address TypelHome



                       COD   Export Criteria

                                                                                                                                                 FA17SP18
                                 Academic Year 120172018                   bd                                    Financial Aid      Yearls       FA17


                                   Program Year 12018 11                   Schema   Version   ItaFT
                                         Destination   1COD                                                    Destination      Routing    ID   100000001



                         Destination        Pitaitiox if 671900                                              Disbursement       Date   From



                             Single Student       ID                                                           Disbursement        Date    To
                                                       V

                                                                                                                   Documents Must be
                          Must be        Registered        Official                                                                                 Yes     S   No
                                                                                                                                 Complete
                                                           UnOlicial



                       Include    HeaderFooter         0                                                       Disbursement        Release
                                                                                                                                  Indicator
                                                                                                                                                    Process Zero Amounts




                        Limit    to Award     Types        ACO                                                             Award       Status   APPROVED
                                                             nvnv                                                                               IN PROCESS



                                                                          A
                                  Limit to    Terms        SP 19                                                 First   Tenn    Freshmen        CONTINUING
                                                           FA18                                                                                  KU EXCHANGE
                                                                          Si




                                 First   Term Grad         CONTINUING
                                                           KU EXCHANGE

                        Student Mast Accept            1     1



    11111111111111mm
                                              Award

                       Updates to COD Award on Export

                                           Disbursement Date                             II   Match   Academic Year Dates       to Financial    Aid Year Dales       I   I




                                                                                                         ImuateI



   The process is two steps

                       Step      One export COD import response file from COD update                                                                  the award              status to


   Originated

                       Step      Two export COD import response file from COD update the award                                                                               status to

   Disbursed

11 Go to Financial                       Aid >Transfer                     to show      the increased amount to Business Office




                                                                                                                                                                                            101




                                                                                                                                                                                            USA001110
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         Financial   Aid Transfer    Internet
                                                              01



                                                  Explorer
                                                                                                                                                                                   mill11110




                                  osmudo




                                                                   111111111
                                                                                         111111111111111111111    111111111111111111111111111111111111111111111111111111111I




                      FIofne               CAMS Enterprise


                               Criteria                                                        Trainee



              Award       Selection
                                                                                                                                                                                                                          ZI Help    Reset




                                                             FA 18
                                 Transfer    Terms           SU13                                                                                                                Single Student        ID                           la
                                                                                 11111111111111111111




                                                          1es
                        Distribution      Date    From                                                           711                                                                                                      711




                                       Award Type         ACG                                                                                                                           Award      Status   APPROVED
                                                          ACTIVITY                                                                                       v                                                  IN PROCESS




                                    Credit       Status   APPROVED                                                                                                                                Code 1
                                                          PENDING APPROVAL


                                                                                                                                                                                                  Must be
                                             Code 2                                                                                                                                                         Official
                                                                                                                                                                                               Registered
                                                                                                                                                                                                            LInOfficial




                                                                                                 1 No
                               Documents Must be
                                                                               Yes                                                                                             Students Accepted            No
                                          Complete
                                                                                                                                                                                                            Yes


12   Look    up Student          by clicking         the folder icon next to the Single Student ID field

13   Enter   Distribution           Date From and To

14 Award      Type = PELL

15 Award      Status      =

16   Click   Transfer tab > Transfer button




                                                                                                                                                                                                                                         102




                                                                                                                                                                                                                                         USA001111
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                   Finarrid    Aid Trarister       Internet       ETIo

                                                                                        1111111114




                                                            CAMS
            1111
                                                   TO                       bile piisc


                                       Criteria




                       Selected          Awards


                              Awards    to Transfer

                                      m Eddie In itia   I        Stude   ntID        Term                I   Dist   Amt            Aw a urine     Tra   n   sDate    Description


                                                                  oe




                                                                 Export File Name           Name Your Batch               File   here




                                                                                 Report         Format Transfer              Edit List




   17 You will see the student                                   record         in   Awards to Transfer                            grid

   18    Click Print to print a report                                   the    report           will   default to               Transfer       Edit List option


   19    Enter        your Batch              name           in     Export           File     Name
   20    Click       Transfer

   21 On the Billing side they will only see the increased                                                                   amount


R2T4
Need documentation here


Tribal    and Private Awards


The common              award types are AICF AICF FullCircle                                                  FWS         Private        1 SEOG Tribal              and Veterans




   1     Navigate             to Financial                  Aid > Maintenance                        > Find Student

   2     Select        Academic              Year           in   drop down              selection              to    appropriate year you are working                              with for the

         award




                                                                                                                                                                                              103




                                                                                                                                                                                                  USA001112
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                               Status



              Financial             Status
                                                                                                                                                 aye               Help




                                                                            Academic Year          7


                              Fir         ear        iPackaaediFer       Directc     FE       IP       ageStatu   9                           perna    irir



                                          152016
                          Fall      2C     OnI                                                I            EC




                              111



                                                                                             Automalion




               r   COD
                                   View   MPN      View EntranceExit         counseling      + View CreditIPLU          S   App   Into   J Award          Usage    Limits




                                                                                     Student IMPN



                          I   ID                   OwnerUID
                                                   OwnerLID          MPNIndicator    MPNID                                    MPNLinkIndic            MPNExpDate




          0


3   IF   no financial               aid     has yet been award to this student                                        and    All         is   the only choice

4   Right click          in    top grid to add a new status

5   The    Financial                Aid Status Detail form will                       appear

6   Enter     required data

7   Click     Awards tab




                                                                                                                                                                            104




                                                                                                                                                                            USA001113
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                                                                            Awards                                            00D00113111111111111
                                                                                                                                                         1111111111   111111111PD




          Financial       Awards                                                                                                                     CdrceI
                                                                                                                  Save        12     Help




                                                 Filter   to   Package      FaSp 201

                          r
                                              Lock               I   AwardType        IAwardSlat   IMmount        Dist Amount                   10   A

                                                                                       APPROVt          $288700            $2 38700




                      I       I




                                                                                                    Remaining   Need




             MD Award Header
                   Awarcrype       IFinancialAwardN       CO DFinancialAw        lAwarciTypelD     jOriginationFeePei    lInterestRebatePe


                                                                                                    MUmanoormeareeno




                                                                     Sync   Header   Records




   Right click   on top data grid to createaccess                     the Financial            Aid Award Detail           Entry form




                                                                                                                                                                                    105




                                                                                                                                                                                    USA001114
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Filter   Award details


    9    The   form below                       will          pop up with some fields default info

                     Enter              Term                                     =       FAYY SPYY or SUYY
                     Enter               Distribution                    Dt          =   it    will         default to                 todays date

                     Award Type                                                  =       Once you select one                                   of these                                                                               options                Tribal    Private AICF etc

                         the other fields will clear out

                     Award Status                                                =       Approved                          In    process          In          progress or pending approval

                     Amount                                                      =       enter amount                             of   award

                     Description                                                 = include                      the check                   number and classification                                                                                                 FSM FSN or Fees
                     only


                                        itus

                                                                                                                                                       IIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIII




               Financial                Aid Award Detail Entry



                   BOIiingReferences




                   Finan
                         Sen ic

                           C   I   al   Award
                                                     llngi   r
                                                       Entry Dist
                                                                         Billg Batch


                                                                        amount calculated
                                                                                              Name          I




                                                                                                           after saving
                                                                                                                                             Effective



                                                                                                                                  for COD awards
                                                                                                                                                                            Date




                                                                                Packaged              in    Status              FaSp 20152016

                                                                                                                                                                                                                                               Award
                                                                                                                                                                                                                                                         1ACT
                                                                                              Difibttion
                           Term            IFA16
                                                                                                                Dt    FEE075                                                                                                                   Type

                           Award           Dor f11PQQ
                                               ira
                                                                                7                Amount               5                       000
                                                                                                                                                                                                                                                 Dist        r         Dim
                           Status                                                                                                                                                                                      Amount

                   Description             Academic                Competitiveness       Grant                                                                                                Reference                                                  r

                           Credit
                                               PENDING APPROVALLYI                                    Code       I                                                                                                                Code               2
                                           r


                           status

                      Show On                                                                          Check                                                                                                        Required
                                               Yes Ki
                    Statement                                                                  Signed           On    I                                                                                                                        Hours

                        munent                                                                                                                                                                                                                  Lock
                                                                                                      FM1111      I
                                                                                                                                                                                                                                               Award
                                                                                                  I                   II


                    ArrvgrdPrIlv



                                                                                                 Payment
                        Campus r                                                              Period Start
                                                                                                            Date


                                                                      Created   By


                                                                     Changed    By                                          On




    10    Click   Add

    11    Click   Save top right                              in   Financial Status                   window


COD Message Views There are three ways to see the messages when they are imported or
downloaded        from     COD on a daily basis


    1     Reconciliation                  and                COD Rebuilds
          a    Navigate                 to Tools >                  Import > Financial Aid > COD Message

                                    COD          places            message      files         in the            institutions Student                                               Aid Internet                                                              Gateway    SAIG   for   various

                                    reasons At present                          PGMRxx0P                        DSDFxx0P                    PGRCxx0P and CODRBFOP                                                                                                 messages can be

                                    imported                  into     CAMS via Tools and viewed                                       in   the   Financial                                                                                    Aid     module where          xx
                                    represents the                      year




                                                                                                                                                                                                                                                                                         106




                                                                                                                                                                                                                                                                                          USA001115
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                       The PGMRxxOP message indicates                                         whether        a student            has applied       for Pell at     multiple

                       institutions          during the              same timeframe The messages                                   will   also   contain   contact      information

                       at    the other           Financial         Aid offices

                       The DSDFxxOP                     message        file      can     be used to print various                    SAS reports used for Direct Loan

                       reconciliation              with      COD
                       The PGRCxxOP                     message        class       can       be   used to print            Pell   reconciliation         reports

                       CODRBFOP              message            class files           are     COD    Rebuild         files    that can       be requested           from COD to

                       verify       and correct awards                      in   CAMS that have inconsistencies                             with   COD information After
                       importing            Rebuild          files    you can then view                   and    link      them to the correct             awards      in the   COD

                       message viewer
      b   Choose file          in   your network                   shared drive

      c   Select      Message Class                 to    import and the Academic                               Year

      d   Click      Import

                       If    successful             you will          see an import was successful message

  2   Open and View in Notepad
                If   the messages do not match                                   in   Reconciliation           and COD Rebuilds                   mentioned         classes such   as

                CRPGxxop CRWBxxop                            PGASxxop                 PGLExxop PGPDxxbk                       PGPExxop PGSMxxop                     PGSNPFop
                PGVRxxop               PGVSxxop or PMESSAGE                             then      view the COD Tech                  Reference       guide     at


                httpsfsadownloadedgov                                 and download                  the     latest    if
                                                                                                                           your document            is   not   updated This

                document            will   let    you know the Data                          Description      for     the     Message Class

          a     Open Notepad Start > All Programs                                               > Accessories


          b     Click       File   >   Open        > go       to   network               shared drive

          c     Select       All    File at       the bottom right to view                            all    fields


          d     Find        and select           file    >   Open       file


          e     View        report > Print or close                         without             saving      changes

          f     Repeat above steps to open each                                          file


  3   Open and View in CAMS COD Import                                                use this option            if
                                                                                                                       you open a text file and notice html

      marking

          a     Navigate            to   Import > Financial Aid > COD Import

          b     Click       Browse button                    and     file     on      network        shared drive

          c     Enter        101295finaid                            + text           file    name > Click Open

          d     Click       Upload Document                        button

          e     Click       Parse        XML document
          f     File will      open         in    Students            tab

          g     Click       Reports tab

          h     Select        Report = Detail

          i     Click Print to             view         report




Reports
  1   HINU    FinAid        ISIR Daily       Report

          a     HINU         FinAid        ISIR     Daily      Report

                               Navigate             to Financial                 Aid > Report > HINU                       FinAid         ISIR   Daily   Report

                               Enter        Year = YYYY                ex 2017 for 20172018                                  isirs

                               Click       Submit

  2   Admission BYOR

          a     Admitted Students                        by Term




                                                                                                                                                                                      107




                                                                                                                                                                                      USA001116
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                        Select    the    following      criteria   on Page      1

                        Exp Entrance Term From                            = select FAYY              SPYY
                        Exp Entrance Term To                              = select FAYY              SPYY
                        Applicant Status                                  = Admitted            Registered      hold down CTRL

                        key+select       multiple

                        Click    Reports tab                              = Select Report            List   by Name
                        Click Print       and print preview            will   show report NOTE Admitted status is when

                        the student      is   admitted     to Haskell         Registered status is when they come to early

                        enrollment and get their course                  schedule         id email etc

        b   Denied Students             by Term

                        Select    the    following      criteria   on Page      1

                        Exp Entrance Term From                            = select FAYY              SPYY
                        Exp Entrance Term To                              = select FAYY              SPYY
                        Applicant Status                                  = Denied

                        Click    Reports tab                              = Select Report            List   by Name
                        Click Print       and print preview            will   show The          report will     be similar to the

                        Admitted Report except Denied                     in the criteria selections            summary
        c   Registered     Students           by Term

                        Click    Reset on Basic report criteria                tab if     you ran previous         reports

                        Select    the    following      criteria   on Academ              Tab      Criteria Page        5
                        Status    Term                                    = select FAYY              SPYY SUYY
                        Student Registered                                = YES

                        Click    Reports tab                              = Select Report            List   by Name
                        Click Print       and print preview            will   show
        d   Registered     Students           by Term Tribe Affiliation             andor Resident            State

                        Click    Reset on Basic report criteria                tab if
                                                                                          you ran previous         reports

                        Select    the    following      criteria   on Academ              Tab      Page 5
                        Status    Term                                    = select FAYY              SPYY SUYY
                        Student Registered                                = YES

                        Registration          Status                      = Registered

                        Click    Demogr Tab               Page     3


                        Religion                                          = select tribal         affiliation

                        Resident State                                    = select state if needed

                        Click    Reports tab                              = Select Report            List   by Name
                        Click Print       and print preview            will   show

3   Financial   Aid   BYOR Reports
        a   Not Registered              Withdrawn

                        Navigate        to Financial     Aid > Report > Report > BYOR

                        Select    and enter Term From and Term To parameters you may enter identical

                        terms
                        Click    Student Criteria tab > Select term                  in   Registration        Status   Term and No to

                        Student     Registered         fields


                        Click Reports tab > select Summary By Student




                                                                                                                                        108




                                                                                                                                        USA001117
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        b      Detail    by Award Type This report                   is   a general    report    where    it   can be viewed     or used   in



               multiple    ways by Award Type Award Status Award                                Distribution     Date etc   It   also shows


               you the total award amount per award term and grand totals

                          Navigate     to Financial       Aid > Report > Report > BYOR

                          Select   and enter Term From and Term To parameters you may enter identical

                          terms or use Academic and                       Financial   Aid Years

                          Select   Award Type and Award                    Status     ie PELL and APPROVED
                          Click   Reports tab > select Detail By Award Type

        c      Student    Packaging           Provides a list        view of all      students    by Academic       and Financial Aid

               Year for budget        awards and remaining need

                          Navigate     to Financial       Aid > Report > Report > BYOR

                          Select   and enter Academic                and Financial Aid Years

                          Select   Award Type and Award                    Status     ie PELL and APPROVED
                          Click   Reports tab > select Financial Aid Student                      Packaging      MC
        d      Pell   Export for Bursars              generally     used at the beginning           of   each semester

                          Navigate     to Financial       Aid > Report > Report > BYOR

                          Select   and enter Academic                and Financial Aid Years

                          Select Award Type and Award                      Status     ie PELL and APPROVED
                          Click   Reports tab > select Export

                          Address Type = Local

                          Click Print


                          Choose bottom option for exporting > Click Export

                          File   exports     to   CACAMS EnterpriseExportFinAidByorExporttxt
                          Open MSExcel            >   FileOpen > Change to All Files

                          Find your     FinAidByorExporttxt                 file


                          Select   and open the Text Document                       > follow    Text Import Wizard      Steps     1   3
                          Click Finish       on Step     3 of 3


                          Modify spreadsheet              and only show 12 columns StudentID StudentSSN

                          LastName           FirstNatme TextTerm TransDate                       Award    AwardStatus       Description

                          Amount       DirectCostType              and TermCredits

                          FileSave      As > hand off file to bursars office

4   Financial   Aid      No Show Student               this   is   maintenance        tool to    remove awards assigned           for a


    specific   term but do not have any academic                          records    either have     not registered     or registered

    and dropped         out or completely withdrew CAMS provides                           a quick and easy process to remove

    awards that have           not been sent to billing             or adjust      awards that have        been sent to     Billing   or


    exported     to   COD to zero amounts

                          Navigate     to Tools >        Process      > Financial      Aid > No Show Remove

                          Enter    Term      FAYY SPYY or SUYY
                          Select   an option from Does                Not have Any Academic               Records   That Are

                          Click   Initiate    button

                          In   Awards tab you will see the                  list   of students    who will     have their awards

                          removed




                                                                                                                                           109




                                                                                                                                           USA001118
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                        If   a students         should    NOT have       an award      removed          for example    a late     start

                        highlight     the appropriate record and click                  Delete This will          keep the award on

                        the student         record

                        Click     Report to print a report of award                 removals

                        Click     Process      to complete the removal

5   Financial   Aid Status         Load     Reports        Enrollment reports with summaries of aid totals by term

    or all   terms selected compare             terms search by credit hours and term gpa and view earned
    credits


         a     Below   Hours

                        Navigate      to Financial       Aid > Report > Report > Status and Load > Enrollment

                        Enter     term    in   Evaluation    Between Term and And fields and 11 in Minimum                             Full


                        time Hrs

                        Click     Reports tab > select Register              List   > Print


         b     Below Term or Cumulative                GPA

                        Navigate      to Financial       Aid > Report > Report > Status and Load > Enrollment

                        Enter     term    in   Evaluation    Between Term and And fields

                        Enter     199     in   Minimum Cumulative             GPA field
                        Click Reports tab > select Register                  List   > Print


         c     Withdrew      or   Not Registered

                        Navigate      to Financial       Aid > Report > Report > Status and Load > Enrollment

                        Enter     term    in   Evaluation    Between Term and And fields

                        Check      the box for Include Fully Withdrawn

                        Click     Reports tab

                        Select     Report Format = Register               List


                        Export report to MSExcel                  Data    Only and name your file            it   TermInclWithdrawn
                        Run the report again and leave the Include Fully Withdrawn uncheck                                      all


                        students

                        Click reports          tab

                        Select     Report Format = Register               List



                        Export report to MSExcel                  Data    Only and name your file            TermwoWithdrawn

                        Open file TermwoWithdrawn                        > insert a    column      next to column A

                        Open file TermInclWithdrawn                      >   copy column A        Name and paste           it   file


                       TermwoWithdrawn
                        Highlight     Column A and B both Names columns

                        On Home tab > select Conditional Formatting >                            Highlight   Cells Rules     > Duplicate

                        Values

                        Scroll    through the rows and find the unhighlighted                           names Those are the
                        withdrawn students

         d     Non Returning

                        Navigate      to Financial       Aid > Report > Report > Status and Load > Enrollment

                        Enter     2 terms       in   Evaluation   Between Term and And                  fields    ie FAYY to SPYY

                        Click     Reports tab > select Non Returning                  List    > Print


         e     Enrollment by Semester

                        Navigate      to Financial       Aid > Report > Report > Status and Load > Enrollment




                                                                                                                                          110




                                                                                                                                          USA001119
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                       Enter     2 terms    in   Evaluation         Between Term and And             fields   ie FAYY to SPYY

                             1    If   one term enter the same term ie FAYY And FAYY or SPYY And                                   SP
                                  YY

                       Click   Reports tab > select Register                    List   > Print


6   Financial   Aid   Document         Tracking          Reports

        a   FIN       Document     Status    Letter


                       Navigate        to Financial        Aid > Report > Document               Tracking   Reports

                       Choose how you want to view                          your final   report single   or all   or group    of

                       students

                       In   this example         we will pull         all   registered    students   for selected      term

                       Doc Status = INCOMPLETE

                       Academic Year = select appropriate YYYYYYYY

                       Fin   Aid Year = will auto             populate

                       Click   Students     tab

                       Select Status       Term       =    SPYY or FAYY and Student Registered                    =   Yes

                       Click   Reports tab

                       Report Format = HINUFIN                      Docs Letter

                       Click Print


                       Export    final   report       is   needed

        b   Students     by Document         By Document                Dates

                       Navigate        to Financial        Aid > Report > Document               Tracking   Reports

                       Doc Date From             =   enter a start date

                       Doc Date To =enter an end date

                       Doc Status = INCOMPLETE

                       Academic Year = YYYYYYYY

                       Fin   Aid Year = will auto             populate

                       Click   Students     tab

                       Select Status       Term       =    SPYY or FAYY and Student Registered                    =   Yes

                       Click   Reports tab

                       Report Format = HINUFIN                      Docs Letter or Students          by Document

                       Click Print


        c   Students     By Document         By Complete Dates                  and Status

                       Navigate        to Financial        Aid > Report > Document               Tracking   Reports

                       Comp      Date    From        =   enter a start date

                       Comp Date         To =enter an end date

                       Doc Status = COMPLETE

                       Academic Year = select appropriate YYYYYYYY

                       Fin   Aid Year = will auto             populate

                       Click   Students     tab

                       Select Status       Term       =    SPYY or FAYY and Student Registered                    =   Yes

                       Click   Reports tab

                       Report Format = Students                    by Document

                       Click Print

        d   All   Students     with Document               Tracking     Items




                                                                                                                                   111




                                                                                                                                    USA001120
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                     Navigate      to Financial          Aid > Report > Document                   Tracking    Reports

                     Doc     Name       = select    multiple       items by using CTRL+each                  docname      ie FIN
                     DataFerpa Form               + FIN Verification            Packet

                     Academic Year = select appropriate YYYYYYYY

                     Fin   Aid Year = will auto             populate

                     Click   Students       tab

                     Select Status        Term      =    SPYY or FAYY and Student Registered                        =   Yes

                     Click   Reports tab

                     Report Format = Students                     by Document

                     Click Print


      e   Single   Student with Document                   Tracking       Item

                     Navigate      to Financial          Aid > Report > Document                   Tracking    Reports

                     Academic Year = select appropriate YYYYYYYY

                     Fin   Aid Year = will auto             populate

                     Click   Students       tab

                     Select   Student       field       lookup    > Find student > select              student

                     Click   Reports tab

                     Report Format = HINUFIN                       Docs Letter or Students              by Document

                     Click Print


      f   Admitted Students with Document                         Tracking       Items

                     Navigate      to Financial          Aid > Report > Document                   Tracking    Reports

                     Doc     Name = select multiple items by using CTRL+each                                 docname      ie FIN
                     DataFerpa Form               + FIN Verification            Packet

                     Academic Year = select appropriate YYYYYYYY

                     Fin   Aid Year = will auto             populate

                     Click   Students       tab

                     Select    Expected Entrance Term                     =   SPYY or FAYY and Appl                Status = ADMITTED        +

                     REGISTERED

                     Click   Reports tab

                     Report Format = Students                     by Document

                     Click Print


      g   Document Tracking              Mail   Merge Export                  view   all   students    with doctracking       items

          attached    to their     records

                     Navigate      to Financial          Aid > Report > Document                   Tracking    Reports

                     Academic Year = select appropriate YYYYYYYY

                     Fin   Aid Year = will auto             populate

                     Click   Students       tab    you may skip this to get                  all   student   for   the academic   year
                     Select Status        Term      =    SPYY or FAYY and Student Registered                        =   Yes

                     Click   Reports tab

                     Report Format = Mail Merge

                     Click Print

                     The   tab   will    show     all    records    before the export it              will   appear duplicate     but its

                     unique      and gets all           records    tied   with doctracking            items
                     Click   Export button




                                                                                                                                         112




                                                                                                                                            USA001121
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                         Wait for reports status to show at the bottom of Reports tab to show as Export

                         Data        saved     to     CACAMS EnterpriseExportADMDocTrackMergetxt
                         Open MSExcel
                         File    >   Open        >   CACAMS EnterpriseExportADMDocTrackMergetxt                                          be sure to
                         click   All Files view              set to     see txt file

                         Select       and open the Text Document                        > follow    Text Import Wizard                 Steps   1   3

                         Click Finish            on Step     3 of 3


                         Now you may view or manipulate any way you would                                           like   to   see the data

                         If
                              you want to view               unique      data > Highlight       and copy columns                  B to Al > paste


                         into a       new sheet

                         Highlight       all     columns       on sheet 2 > Click Data              tab > Click       Remove           Duplicates

                         Click       OK to Remove             Duplicate       dialog    box

                         Click       OK to           of duplicates      found       message

                         Now your record set will                     not have duplicates You                will    have   34 fields with

                         Student        name admission                  and prospect       status     information

7   Registration      Reports

        a   Attendance

                         Navigate        to Registration            >   Attendance        >   Reports > BYOR

                         Report Format = select a report

                        Term         = select a        term

                         You may pull report more than one way                                below        are   some examples

                                 1      Select        Term    +   DateFrom             DateTo   =   will    pull    by date range entered

                                 2      Select        Term    +   Course = will        only pull one course

                                 3      Select        Term    +   Student     = will    only pull one student

                                 4      Select        Term    +   Major or click         multiple     majors = will             pull   majors selected

                         Click Print


        b   Grade Summary                    GPA

                         Navigate        to Registration            >    Reports > Grade Summary

                         Enter       Term

                         Limit Which             GPA to Range            =   Term

                         GPA From            =   enter starting          GPA range
                         GPA To = enter ending GPA range
                         Click       Reports tab

                         Report Type = Grade Summary by Term                                  GPA
                         Address Type = Local

                         Click Print


        c   Grade Summary                    Completion Rate

                         Navigate        to Registration            >    Reports > Grade Summary

                         Enter       Term

                         Click       Reports tab

                         Report Type = Grade Summary by Term                                  GPA
                         Address Type = Local

                         Click Print


8   Financial   Aid     Award Letters




                                                                                                                                                       113




                                                                                                                                                       USA001122
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        a   Standard Award

                      Navigate       to Financial     Aid > Reports > Award       Letters

                      Select      HINUStandard by Award
                      Award Term From = select term
                      Award Term To = select term

                      You may choose single or multiple students

                      If
                           single > find    student    > select   student

                      If   multiple >   choose by Award           Distribution   Dates   or   SSN

                      Click      Reports tab

                      Click Print button

        b   Standard       SEOG Award

                      Navigate       to Financial     Aid > Reports > Award       Letters

                      Select      HINUStandard SEOG Award
                      Award Term From = select term
                      Award Term To = select term

                      You may choose single or multiple students

                      If
                           single > find    student    > select   student

                      If   multiple >   choose by Award           Distribution   Dates   or   SSN

                      Click      Reports tab

                      Click Print button

9   Financial   Aid   Individual     Letters


        a   Standard       Default


                      Navigate       to Financial     Aid > Maintenance      > Find Student         > Select   Student

                      Click      More tab

                      Click      Report option

                      Select      Report = HINULetter         Default


                      Click Print button

        b   Standard       Drug

                      Navigate       to Financial     Aid > Maintenance      > Find Student         > Select   Student

                      Click      More tab

                      Click      Report option

                      Select      Report = HINULetter         Drug

                      Click Print button


        c   Standard       EFC

                      Navigate       to Financial     Aid > Maintenance      > Find Student         > Select   Student

                      Click      More tab

                      Click      Report option

                      Select      Report = HINULetter         EFC

                      Click Print button




        d   Standard       LEU

                      Navigate       to Financial     Aid > Maintenance      > Find Student         > Select   Student

                      Click      More tab

                      Click      Report option




                                                                                                                         114




                                                                                                                         USA001123
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                      Select   Report = HINULetter        LEU

                      Click Print button




         e   Standard   Probation

                      Navigate    to Financial   Aid > Maintenance     > Find Student   > Select   Student

                      Click   More tab

                      Click   Report option

                      Select   Report = HINULetter        Probation

                      Click Print button




         f   Standard   Suspension

                      Navigate    to Financial   Aid > Maintenance     > Find Student   > Select   Student

                      Click   More tab

                      Click   Report option

                      Select   Report = HINULetter        Suspension

                      Click Print button




         g   Standard Warning

                      Navigate    to Financial   Aid > Maintenance     > Find Student   > Select   Student

                      Click   More tab

                      Click   Report option

                      Select   Report = HINULetter        Warning

                      Click Print button




         h   Columns by Package

                      Navigate    to Financial   Aid > Maintenance     > Find Student   > Select   Student

                      Click   More tab

                      Click   Report option

                      Select   Report = Columns     by Package

                      Academic Year = select YYYYYYYY

                      Financial   Aid   Year = select   FAYYSPYY
                      Address Type = Local

                      Click Print

         i   Academic   Progress

                      Navigate    to Financial   Aid > Maintenance     > Find Student   > Select   Student

                      Click   More tab

                      Click   Report option

                      Select   Report = Academic        Progress

                      Click Print

10 COD Report

11 FISAP

12 SAP

13   Reconciliation

14   Scholarships




                                                                                                             115




                                                                                                             USA001124
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      15 IPEDS

      16 SEOG

      17 CollegeBoard

      18 AKIS AIMS

      19 NSLC


Forms          httpwwwhaskelledufinancialaidformsfinancialaid

            Dependent        Student       Verification


            Low Income           Verification


            Satisfactory     Academic            Progress Appeal

            Independent          Student Verification Worksheet

            COA Adjustment Request
            DATAFERPA            Release

            Appeal for Dependency                 Override

            Special    Circumstance          Reevaluation

            Childcare       Budget Adjustment Request



Glossary

ACADEMIC YEAR                The    standard       academic year from July 1 June                   30


EDCONNECT             The    US Department of Educations                      Student Aid Internet Gateway               software that can

send    receive     and manage Federal student                  aid   information electronically



EDEXPRESS           The     software    is   a   PC application       that    processes         packages    and manages        Title   IV financial


aid   records The       US Department of Education provides the software to post secondary institutions to
do Electronic       Data    Exchange         EDE     process


EFC Expected          Family Contribution               The    amount a student and the students                      family   may be reasonably

expected     to contribute          towards the students              postsecondary         education       for   the academic     year



COD Common Origination and Disbursement                                     Federal   Grants and Loans are processed through                     COD
where     federal     aid originated         from institutions        is   exchanged      via    XML files    Federal    awards are exported

from CAMS into COD via the institutions Student Aid Internet Gateway                                        SAIG mailbox          Response       files

including    award      disbursement amounts                  are   created     by COD and are made available                 to institutions

through SAIG

Federal     Loans     include     Stafford       Subsidized    Stafford       Unsubsidized PLUS             Alternative       and Perkins       Federal


Grants include        PELL       ACG SEOG SMART and TEACH

CIP   CODES Classification            of Instructional         Programs           Provides a taxonomic structure that supports                        the

accurate     tracking      and reporting of fields of student                 and program completions activity



CPS Central Processing System                        Processes all         applications    for Federal       Student Aid      FSA calculates
financial    aid   eligibility    and notifies students         and education          institutions        of the   results   of the   eligibility


calculation




                                                                                                                                                      116




                                                                                                                                                         USA001125
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COMMENT          CODES         Codes on a SARISIR drawing                     attention       to specific   issues on        a   students application

Each   code    corresponds         to specific    comment text for the award year The                          last line         in   the   FAA
Information section             on a SARISIR shows          all    the codes           generated        on the record            FAAs must review the

comment codes without                reading every comment to find those that may require action



DOCUMENT TRACKING                     Streamlines common                    documents        by adding to student records and tracking

both incoming        documents        from students        and outgoing                documents        from the Financial Aid Office



FAA      Financial   Aid Administrator



FAFSA       Free Application         for    Federal   Student Aid



FINANCIAL AID YEAR                 Period of   enrollment where                the beginning        date reflects the             first     day of

enrollment



FISAP Fiscal Operations Report and Application                               to   Participate           An electronic        application        where

schools    provide      information        on Campus Based Program                      in   the upcoming      award year



FNA Financial Need Analysis                    An eligible students Cost of Attendance                         minus Expected                 Family

Contribution       EFC minus estimated financial                   assistance           not received       under   Title      IV



FSA Federal        Student Aid             The office within the             US Department of Education that manages the
Federal    Student Aid Programs



ISIR    Individual      Student      Information Record



LEU      Lifetime    Eligibility     Used



PELL      A grant the     US federal         government provides                  to   students    who need        it   to   pay for college They are

limited   to   students       with financial     need who have not earned                       their   bachelors degree or who                      are


enrolled    in   a certain     post baccalaureate          programs through                   participating    institutions




REMAINING NEED                 The   percentage       of a students            Pell    Grant Scheduled Award                 that      has not yet been

disbursed      for an   award      year

SAR Student Aid Report                 A report provided               to   an applicant        by the Department showing                     the applicants

FAFSA information and the amount of his or her EFC SARs are the paper or electronic                                                       eSAR output
documents        that are     sent to students        or printed from the FAFSA on the                      Web and FAA Access                   to   CPS

Online    Web sites SARs and ISIRs               contain   the same processed student                       information           in   different      formats



SAIG Student         Aid Internet       Gateway         This      is   a    mailbox that holds information                   such as response              files



and award        disbursement amounts



VERIFICATION            The    process under which an applicants FAFSA information                                 is   selected          by the     US
Department of Education               or a school     and determined to be accurate                       true and complete                  within    certain


parameters        or inaccurate




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Terminology for glossary developed   from   httpsifapedgovifaphelpGlossaryjspvalue=V




ToolsTips

Federal Pell Grant Program Payment Schedule                You may find and download   the   Federal Pell Grant

Program Payment Schedule for Determining            via   an MSExcel   spreadsheet Go to httpsifapedgovifap

> Worksheets    Schedules     Tables   > YYYYYY Pell Grant Payment and Disbursement           Schedules   This


shows you the EFC COA       Pell   Maximum amount by StudentLoad


Federal Student Aid FSA        httpsifapedgovifap


COD Technical Reference      Guide     httpscodedgovcod


FSA Downloads       Software and Manuals          httpsfsadownloadedgovindexhtm


Flowchart Process References

Current Practice




                                                                                                                  118




                                                                                                                  USA001127
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     Haskell             Financial Aid                       High Level Overview                      current               CAMS Pell with Award status                                       September     2   2017




                                                                                         Award Type=      PELL
                                                                                                                                                                                      =Starts a   file


             IHaskell    reciees          and imports           student        LIP                                                                                                    =Ends a file
                                                                                         Award   Status   = IN   PROGRESS
                           Student                                                                                                                                                    =Award
             Individual                      inFormation          Record                                                                                                                       status


             download          from EdConnect                   LIS    Dept     of


                          Eduzationj a pp hcation


                 lnroortd          in    CAMS      on    a   dab basis




                                                                                          YES              student        must   nave    2 items    IISIR   from IFAFSA

        Admissruens        Office         pr °vides an Acceptance                                           and 4dmission
                                                                                                                                    Acceptance       Letter    >   start



                         paper form
        Letter      in                            hand       de4ivered         to                                                               folder
                                                                                                                                 paper   file



        IFinanciall      Aid    Office          IFAOi



                                                                                          NO               No file   is   started




        Document           Tracking         items are           automatically


                          attached          to isir     imports




        Document           verification            collect      and     process
                                                                                         IiI                                        Verification




        doctracking            and      physical        paperwork

                                                                                          NO                                     Non   verification




                 Students

             document
                                   file




                           tracking are
                                           completed when

                                                       received
                                                                         all



                                                                      followed
                                                                                     H     B                                         Budgeting
                                                                                                                                                                             Award   status    AP PRUVEI




                 by budgeting             151   and     packaging         P
                                                                                                                                                                             Award   status    AP PRUVEI
                                                                                                                                     Packaging




                                                                                                           FAO Director approves award


        IFAO     sends     award letter            to    student

                                                                                                           FAO vommunkates                 with    student      by haskell

                                                                                                          email only



        COD Common                   Origination


        Msbursement                  verifies     if   student        attended

        a Rather uniiversity




        Origination            0          disbursement            IDi setup
                                                                                     Ho                    Origination           COD     export      from    CAMS
                                                                                                                                                                             Award   Status=   ORIGINATED




                                                                                                                                    COD export from CAMS
                                                                                                 HDiEsbursement                                                              Award   Status=   DISBURSED




        Pell Award transferr




        List    of awarded              sal der ts      given    to   Bursars

        Office     based        on distribution              schedule




        It   ursart Office disburses                    Pen Awards




Technical      Flowchart




                                                                                                                                                                                                                       119




                                                                                                                                                                                                                       USA001128
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                                                                                          Haskell   °Indian   Nalions   Unierdr                      242t17    428117Rec       2i1418Reut

        Grant Process
                                                                                                                                             April

Pe111




           Student     IS IR    import from
                                                                                                                                  Budget         Package      Award
           EdConnect

           CAMS>EdExpress




                                                                                                                                  Send Award         Letter   to   Student

           Admission        provides paper

           Acceptance          Letters to Financial

           Aid    Office



                                                                                                                                  Export COD fie         from      CAMS




                           Acceptepue                                                                                             Import   COD response file            to

                           Letter     +                              No   fie   slanted                                           CAMS
                           ISIIR




                                                                                                                                  Provide Pen        het to   Bursars    toi


                           Yes
                                                                                                                                  order Vendor        Codes for first
                                                                                                                                  timenew        FAFSA students
           Start   physilical    files          based      on

           OM screens from CAMS or
           EdExpress        batch         report



                                                                                                                                  Transfer    Pelt    Awards       in

                                                                                                                                  CAMS




                           Add ijor       uii                   No
                                                n
                                                                                                                                  Provide CAMS Transfer report

                                                                                                                                    filiorsars




           Request documents                        from

           studentiparent          using            Document
           Tracking     DT       in   CAMS




           Fite   penring




           IReceivaiReview            DT from
           Stud enliParent




                                                                          Resend     D7




                                                                                                                                                                                            120




                                                                                                                                                                                            USA001129
